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                                   UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF TEXAS
                                        HOUSTON DIVISION

IN RE: BP p.l.c.                                         §        MDL NO.: 10-md-2185
SECURITIES LITIGATION                                    §
                                                         §       Civil Action No. 4:10-md-2185
                                                         §
                                                         §       HON. KEITH P. ELLISON
                                                         §


                                       MEMORANDUM AND ORDER

           On April 20, 2010, the Macondo well blew out, costing the lives of eleven rig workers,

and setting off a chain of events that eventually sank the Deepwater Horizon rig operated by

Defendant BP plc. The blowout spilled over four million barrels of oil into the Gulf of Mexico.

In the months that followed, lawsuits raising a variety of claims, including securities fraud

claims, were filed across the country. The Comptroller of the State of New York and the

Attorney General of Ohio—representatives of a group of plaintiffs later identified as the New

York and Ohio Plaintiffs—filed suit in the Southern District of New York. (Transfer Order, Doc

No. 1.)1 A group later identified as the Ludlow Plaintiffs filed an action in the Western District

of Louisiana.         (Id.)   By Order dated August 10, 2010, the Judicial Panel on Multidistrict

Litigation transferred all cases involving shareholder derivative claims, securities claims, and

ERISA actions to the Southern District of Texas. (Id.) Claims involving personal injury,

wrongful death, and property damage were centralized in a separate docket in the Eastern

District of Louisiana. The claims of both the New York and Ohio Plaintiffs and the Ludlow

Plaintiffs were included in the group transferred to the Southern District of Texas.




1
    All docket references are to Multi-District Litigation No. 10-md-2185.
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        On December 28, 2010, this Court consolidated all of the securities class actions pending

in the Court,2 appointed the New York and Ohio Plaintiffs as lead plaintiffs, and appointed the

Ludlow Plaintiffs as lead plaintiffs of a subclass. 3 (Order, Doc. No. 79.) In its decision, this

Court expressed its expectation that “the lead plaintiffs work together as needed to prevent

inefficiencies” and its hope that the two lead plaintiffs would file a joint complaint, if possible.

(Id.) That did not happen. Instead, the two lead plaintiffs filed two separate and extremely

lengthy consolidated amended complaints.

        On February 14, 2011, the New York and Ohio Plaintiffs filed a Consolidated Class

Action Complaint (hereinafter “Complaint”) against three corporate defendants, BP plc, BP

America, Inc., and BP Exploration & Production, Inc., and against ten individual defendants

(collectively “Defendants”). (Complaint (“Compl.”), Doc. No. 113.) The Ludlow Plaintiffs filed

a separate complaint on February 11, 2011. (Doc. No. 112.) On March 4, 2011, this Court set a

briefing schedule for Defendants’ motions to dismiss after deciding that, by necessity, briefing in

this case had to be directed separately to each complaint. (Doc. No. 120.)

        On May 6, 2011, Defendants filed two separate motions to dismiss the New York and

Ohio Plaintiffs, distinguishing between the claims of the purchasers of BP ordinary shares

(“Ordinary Share Purchasers”) (Doc. No. 153) and the remaining claims of the purchasers of BP

American Depositary Shares (“ADSs”) (“ADS Purchasers”) (Doc. No. 149).4 The Ordinary


2
  The seven securities class actions consolidated into the instant case include: Ludlow v. BP PLC, Case No. 10-cv-
3043, Johnson Inv. Counsel Inc. v. BP PLC, Case No. 10-cv-3044, Yuen v. BP PLC, Case No. 10-cv-3049,
Greenfield v. BP PLC, Case No, 10-cv-3448, McClurg v. BP PLC, Case No. 10-cv-3449, Oklahoma Police Pension
& Ret. Sys. V. BP PLC, Case No. 10-cv-3452, and Safe v. British Petroleum, Case No. 10-cv-4675.
3
  The Court created a subclass in part because the competing lead plaintiffs advanced different theories of the case.
Whereas the Ludlow Plaintiffs’ claims center on BP’s statements about the safety of its drilling operations in the
Gulf of Mexico in the thirteen months leading up to the Deepwater Horizon explosion, the New York and Ohio
Plaintiffs argue more generally that BP made fraudulent statements over a much longer period, between 2007 and
2010, about safety precautions both in the Gulf of Mexico and elsewhere. (Doc. No. 79 at 10, 18–19.)
4
  Defendants also filed a motion to dismiss the Ludlow Plaintiffs’ claims (Doc. No. 151). Given the separate
briefing in this case and the diversity of allegations, defendants, and legal issues, the Court will issue a separate

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Share Purchasers and ADS Purchasers then filed separate responses to the motions to dismiss.

(Doc. Nos. 175 & 186.) Defendants filed replies in support of their respective motions to

dismiss on June 21, 2011. (Doc. Nos. 216 & 220.) After briefing concluded, the Court heard

oral argument on the motions to dismiss on November 4, 2011.

         Pending before the Court are Defendants’ Motion to Dismiss the Claims of BP ADS

Purchasers in the New York and Ohio Plaintiffs’ Consolidated Class Action Complaint (Doc.

No. 149) and Defendants’ Motion to Dismiss the Claims of Purchasers of BP Ordinary Shares

(Doc. No. 153). Having considered the parties’ pleadings, arguments and the applicable law, the

Court finds that Defendants’ Motion to Dismiss the Claims of BP ADS Purchasers (Doc. No.

149) must be GRANTED IN PART and DENIED IN PART. Defendants’ Motion to Dismiss

the Claims of BP Ordinary Share Purchasers (Doc. No. 153) must be GRANTED in its entirety.

         I.       DEFENDANTS’ MOTION TO DISMISS THE CLAIMS OF BP ADS
                  PURCHASERS IS GRANTED IN PART AND DENIED IN PART

         What follows is a description of the parties, a summary of the allegations in the

Complaint, the standards applicable to the motion, and the Court’s conclusions with respect to

the adequacy of the allegations of false and misleading statements, materiality, and scienter.

                  A. The Parties

         Lead Plaintiffs are Thomas P. DiNapoli, Comptroller of the State of New York, as

Administrative Head of the New York State and Local Retirement Systems and sole Trustee of

New York State Common Retirement Fund, and four Ohio systems. They are the Ohio Public

Employees Retirement System, the State Teachers Retirement System of Ohio, the School

Employees Retirement System of Ohio, and the Ohio Police & Fire Pension Fund, along with

their statutory litigation counsel, Ohio Attorney General Mike DeWine (collectively, the


ruling on the Ludlow Plaintiffs’ claims.

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“NY/OH Plaintiffs” or “Plaintiffs”). (Compl. ¶¶ 31–32.) The NY/OH Plaintiffs bring their

consolidated class action on behalf of the following proposed plaintiff class: (1) all persons and

entities who purchased or acquired BP ADSs (the “ADS Purchasers”) between January 16, 2007,

and May 28, 2010 (the “Class Period”), and (2) all persons and entities who purchased or

acquired BP ordinary shares in domestic transactions executed on foreign exchanges (the

“Ordinary Share Purchasers”) during the Class Period.5 (Compl., at 1.)

            Defendants include BP plc, BP America, Inc., and BP Exploration & Production, Inc.

(collectively “BP” or “the Company”) and ten of BP’s present and former officers and directors.

BP plc is a U.K. corporation with its principal executive offices located in London, England.

BP’s ADSs trade on the New York Stock Exchange (“NYSE”), and BP is the largest non-U.S.

company listed on the NYSE. (Compl. ¶ 33.) BP’s ordinary shares are also listed on the NYSE

in connection with BP’s ADS program. BP America, Inc. and BP Exploration & Production,

Inc. (“BP E&P”), both wholly-owned subsidiaries of BP, are Delaware corporations with their

principal places of business in Houston, Texas. (Id. ¶¶ 34–35.)

            The ten individual defendants were directors and officers of BP prior to and during the

Deepwater Horizon spill. They are Anthony B. “Tony” Hayward, executive director of BP since

2003 and BP’s Chief Executive Officer (“CEO”) from May 2007 to October 2010 (“Hayward”);

Lord Edmund John Philip Browne, BP’s CEO from 1995 to April 2007 (“Browne”); Andrew G.

“Andy” Inglis, Chief Executive of Exploration and Production and an executive director of BP

from 2007 to October 2010 (“Inglis”); Bryon E. Grote, a member of BP’s executive

management, serving as a director since 2000 and the Company’s Chief Financial Officer

(“CFO”) since 2002 (“Grote”); Douglas Suttles, BP’s Chief Operating Officer for Exploration

and Production from January 2009 to at least January 2011 (“Suttles”); Iain Conn, Chief
5
    This suit has not yet been certified as a class action.

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Executive for BP Refining and Marketing (“Conn”); David Rainey, BP’s Vice President of

Exploration for the Gulf of Mexico (“Rainey”); Robert “Bob” Dudley, an executive director of

BP since April 2009 and Group Chief Executive since October 2010 (“Dudley”); Robert “Bob”

Malone, Chairman and President of BP America from July 2006 to February 2009 (“Malone”);

and H. Lamar McKay, the Chairman and President of BP America, since January 2009

(“McKay”) (collectively, the “Individual Defendants”). (Id. ¶¶ 36–45.)

                 B. Factual Allegations and Claims

        In a Rule 12(b)(6) motion to dismiss, the court must accept as true a plaintiff’s well-

pleaded factual allegations. FED. R. CIV. P. 12(b)(6). The court does not, however, “accept as

true conclusory allegations, unwarranted factual inferences, or legal conclusions.”                       Cent.

Laborers’ Pension Fund v. Integrated Elec. Servs. Inc., 497 F.3d 546, 550 (5th Cir. 2007)

(citation omitted) (internal quotation marks omitted). Accordingly, the Court will set forth the

relevant facts as alleged by Plaintiffs.

        The NY/OH Plaintiffs, both the ADS Purchasers and Ordinary Share Purchasers, assert

violations of section 10(b) of the Securities and Exchange Act of 1934 (the “Exchange Act”) and

Rule 10b-5 of the Securities and Exchange Commission (“SEC”) against all Defendants.6 They

also assert violations of section 20(a) of the Exchange Act against the Individual Defendants. In

addition, the Ordinary Share Purchasers assert both New York common law and English law

claims against BP.         Plaintiffs seek certification as a class action pursuant to Rule 23,

compensatory and punitive damages against Defendants, jointly and severally, pre-judgment

interest, costs, and attorneys’ fees.




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  For simplicity’s sake, the Court will refer to Plaintiffs’ claims arising under section 10(b) and Rule 10b–5 as
“section 10(b)” claims.

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       Plaintiffs seek damages stemming from their stock losses following the explosion of BP’s

Deepwater Horizon rig in the Gulf of Mexico on April 20, 2010. BP was unable to stop the

resulting oil spill for eighty-seven days following the explosion, costing the Company

somewhere between $20 and $40 billion dollars. (Compl. ¶ 26.) From the date of the Deepwater

Horizon explosion through May 28, 2010, the last day of the Class Period, BP’s securities fell in

value by 48%, wiping out over $91 billion in market capitalization, and causing Plaintiffs to lose

as much as 40% of their investments. (Id. ¶¶ 6, 26.)

                                1. BP and Its Safety Record

       BP is the third-largest energy company in the world. BP operates in over eighty countries

and is engaged in every facet of the oil and gas industry, including drilling, exploration and

production, refining, distribution and marketing, petrochemicals, and power generation and

trading.   (Compl. ¶ 48.)    BP’s profits exceeded $10 billion per quarter in 2008, and the

Company’s quarterly profits remained in the billions throughout the Class Period. (Id. ¶ 49.)

Despite these record profits, BP has struggled to overcome a corporate image tarnished by an

unfortunate record of safety failures and catastrophic incidents that have adversely affected both

the individuals and the environments that have come into contact with BP’s operations

worldwide.

       Plaintiffs trace BP’s troubled safety record back to 2000, when, following “life

threatening incidents” at a BP refinery in Scotland, an investigation by the U.K.’s Health and

Safety Executive (“U.K. HSE”) revealed a number of deficiencies in BP’s operational control

and maintenance of process systems. (Id. ¶ 10.) From that time forward, similar safety failures

occurred with some regularity, touching both BP’s land and offshore operations. In 2002, one of

the rigs operated by BP in the Gulf of Mexico—the Ocean King—experienced two separate



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blowout incidents. (Id. ¶¶ 54–57.) The incidents prompted the U.S. Department of the Interior

Minerals Management Services (“MMS”) to issue a Safety Alert to all companies drilling in the

Gulf. (Id. ¶ 58.) The Safety Alert warned of the serious risk of a blowout associated with failed

cementing jobs. (Id.) Despite the warnings, blowouts continued to occur in BP’s operations.

The Transocean Enterprise, a rig BP contracted in the Gulf, suffered a blowout in 2003. (Id. ¶

59.) Another blowout occurred in 2004 on a rig BP operated as part of a joint consortium in the

Nile delta. (Id. ¶ 60.)

        These safety failures occurred regularly, in fact yearly, up until 2005, when an explosion

at BP’s Texas City refinery prompted the U.S. Chemical Safety Board (“CSB”) to order an

investigation. (Id. ¶ 11.) At the CSB’s prompting, BP also established its own independent

panel—the “Baker Panel,” headed by former Secretary of State James Baker—to review and

improve the Company’s safety procedures. (Id.) Even while the panel was conducting its

investigation, safety-related incidents continued to occur in BP’s operations. In early 2006, an

oil spill occurred off the coast of Alaska after a leak in a corroded pipeline in BP’s Prudhoe Bay

operations went unnoticed for weeks. (Id. ¶ 68.) BP pleaded guilty to criminal negligence in

connection with the Prudhoe Bay spill and paid a fine of twenty-two million dollars. (Id. ¶ 70.)

                                2. The Baker Report

        The Baker Panel released its final report—the “Baker Report”—in January 2007. (Id. ¶

74.) The report cited organizational problems as the root cause of BP’s failure to respond to

major incidents and concluded, among other things, that “BP management had not distinguished

between occupational safety . . . and process safety” and “ha[d] not adequately established

process safety as a core value.” (Id.) The Baker Report also included the following ten

recommendations that it urged BP to implement expeditiously:



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   RECOMMENDATION # 1 – PROCESS SAFETY LEADERSHIP – The Board
   of Directors of BP p.l.c., BP’s executive management (including its Group Chief
   Executive), and other members of BP’s corporate management must provide
   effective leadership on and establish appropriate goals for process safety. Those
   individuals must demonstrate their commitment to process safety by articulating a
   clear message on the importance of process safety and matching that message
   both with the policies they adopt and the actions they take.

   RECOMMENDATION # 2 – INTEGRATED AND COMPREHENSIVE
   PROCESS SAFETY MANAGEMENT SYSTEM – BP should establish and
   implement an integrated and comprehensive process safety management system
   that systematically and continuously identifies, reduces, and manages process
   safety risks at its U.S. refineries.

   RECOMMENDATION # 3 – PROCESS SAFETY KNOWLEDGE AND
   EXPERTISE – BP should develop and implement a system to ensure that its
   executive management, its refining line management above the refinery level, and
   all U.S. refining personnel, including managers, supervisors, workers, and
   contractors, possess an appropriate level of process safety knowledge and
   expertise.

   RECOMMENDATION # 4 – PROCESS SAFETY CULTURE – BP should
   involve the relevant stakeholders to develop a positive, trusting, and open process
   safety culture within each U.S. refinery.

   RECOMMENDATION # 5 – CLEARLY DEFINED EXPECTATIONS AND
   ACCOUNTABILITY FOR PROCESS SAFETY – BP should clearly define
   expectations and strengthen accountability for process safety performance at all
   levels in executive management and in the refining managerial and supervisory
   reporting line.

   RECOMMENDATION # 6 – SUPPORT FOR LINE MANAGEMENT – BP
   should provide more effective and better coordinated process safety support for
   the U.S. refining line organization.

   RECOMMENDATION # 7 – LEADING AND LAGGING PERFORMANCE
   INDICATORS FOR PROCESS SAFETY – BP should develop, implement,
   maintain, and periodically update an integrated set of leading and lagging
   performance indicators for more effectively monitoring the process safety
   performance of the U.S. refineries by BP’s refining line management, executive
   management (including the Group Chief Executive), and the Board of Directors.

   RECOMMENDATION # 8 – PROCESS SAFETY AUDITING – BP should
   establish and implement an effective system to audit process safety performance
   at its U.S. refineries.



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        RECOMMENDATION # 9 – BOARD MONITORING – BP’s Board should
        monitor the implementation of the recommendations of the Panel . . . and the
        ongoing process safety performance of BP’s U.S. refineries. The Board should,
        for a period of at least five calendar years, engage an independent monitor to
        report annually to the Board on BP’s progress in implementing the Panel’s
        recommendations . . . . The Board should also report publicly on the progress of
        such implementation and on BP’s ongoing process safety performance.

        RECOMMENDATION # 10 – INDUSTRY LEADER – BP should use the
        lessons learned from the Texas City tragedy and from the Panel’s report to
        transform the company into a recognized industry leader in process safety
        management. The Panel believes that these recommendations . . . can help bring
        about sustainable improvements in process safety performance at all BP U.S.
        refineries.

(Compl. ¶ 74.)

        Two other reports echoed the findings of the Baker Panel and made BP aware of

deficiencies in its corporate governance structure that directly contributed to the Company’s

safety failures.   First, following the Prudhoe Bay spill, BP retained an independent consulting

firm, Booz Allen Hamilton (“Booz Allen”), to identify organizational, process, and governance

issues that contributed to the spill. (Id. ¶ 72.) The Booz Allen report found that (1) BP’s

management culture was consumed with cost-cutting and meeting financial targets at the expense

of safety and maintenance issues, and that (2) BP’s internal communication culture failed to

elevate critical risk data to senior leadership, thereby stymieing corrective action on the safety

front. (Id.) Second, the CSB’s report on the Texas City explosion, released in March 2007,

identified similar weaknesses. The report criticized BP management, finding that management

provided “ineffective leadership and oversight,” failed to “focus on controlling major hazard

risk,” “did not effectively evaluate the safety implications of major organizational, personnel,

and policy changes,” and “did not implement adequate safety oversight, provide[] needed human

and economic resources, or . . . model adherence to safety rules and procedures.” (Id. ¶ 67.)




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       Such findings, especially those in the Baker Report, prompted BP to make a concerted

effort to address its previous safety shortcomings and rebuild its corporate image. Following the

release of the Baker Report, BP repeatedly promised investors that it would be a different

company going forward. (Id. ¶ 16.) BP took advantage of every opportunity to reiterate the

Company’s renewed commitment to process safety reforms across its operations. (Id. ¶ 18.)

These assurances included representations that BP was prepared to contain and adequately

address any oil spill that might occur in the Gulf of Mexico. (Id. ¶ 24.)

                                    3. BP’s Gulf of Mexico Operations

       BP America, BP’s largest division, is the largest producer of oil and gas in the United

States. (Id. ¶ 48.) BP’s Exploration and Production business segment undertakes activities

around the world, including deepwater operations in the Gulf of Mexico. (Id. ¶ 51.) BP

promoted its Gulf operations throughout the Class Period. (Id.) As President of BP America,

Defendant Malone explained that the Gulf of Mexico accounted for one-sixth of all oil produced

in the United States and repeatedly touted the Gulf region as a key “profit centre” and “high

margin” production area for BP. (Id.) According to Plaintiffs, the alleged misrepresentations

acquired added significance for investors when viewed against the backdrop of BP’s profitable

forecast for its Gulf operations.

                                    4. False and Misleading Statements Made Prior to the
                                       Deepwater Horizon Disaster

       Plaintiffs select January 16, 2007, the “same day when BP [first] professed its

commitment to becoming an industry leader in process safety,” as the start of the Class Period.

(Id. ¶ 15.) The Complaint describes the allegedly false and misleading statements that BP

disseminated to investors through public filings and through verbal and written statements made

by the Individual Defendants throughout the Class Period. These include statements made

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during a press conference in January 2007 following the release of the Baker Report (Compl. ¶¶

256–57); statements made during calls with investors and analysts, including general conference

calls (Id. ¶¶ 258–60, 267) and a strategy presentation call in early 2008 (Id. ¶ 281); statements

published in BP’s Annual Review in 2006, 2007, 2008, and 2009 (Id. ¶¶ 261, 277, 294, 319);

BP’s Form 20-F Annual Report filings with the SEC for years 2006 through 2009 (Id. ¶¶ 264,

283, 302, 324); statements contained in BP’s 2006 Sustainability Report (Id. ¶ 266) and 2007

and 2009 Sustainability Review publications (Id. ¶¶ 287, 334); testimony given by BP executive

officers before both House (Id. ¶¶ 269, 297) and Senate Committees (Id. ¶ 316); statements made

by BP representatives and executive officers as participants at industry conferences, including

the Sanford Bernstein 4th Annual Strategic Decisions Conference (Id. ¶ 271), the Houston

Forum (Id. ¶ 275), the HRH Prince of Wales 3rd Annual Accounting for Sustainability Forum

(Id. ¶ 289), Microsoft’s Global Energy Forum (Id. ¶ 291), the Cambridge Energy Research

Association Executive Conference (Id. ¶¶ 292, 326), the Howard Weil Energy Conference (Id. ¶¶

308, 328), and an event hosted by the Peterson Institute for International Economics, in

Washington, D.C. (Id. ¶ 330); statements made in BP press releases, both prior to and after the

Deepwater Horizon explosion (Id. ¶¶ 273, 337–52); and statements made by BP executives

during interviews and speeches (Id. ¶¶ 312, 353–56).

       Plaintiffs present the alleged misrepresentations chronologically in their Complaint. For

ease of reference, the Court has assigned numbers to the alleged misrepresentations and, in some

cases, combines multiple statements made on the same date or by the same speaker. These

numbers do not correspond to the numbered paragraphs in the Complaint; however, the

corresponding paragraphs in the Complaint are referenced as well.                  The specific

misrepresentations are described as follows:



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       On January 16, 2007, BP held a press conference to discuss the release of the Baker

Report. At the press conference, Browne assured investors of BP’s commitment to improving its

process safety programs, stating:

   -   “If I had to say one thing which I hope you will all hear today it is this ‘BP gets
       it.’ And I get it too.”

   -   “I recognize the need for improvement and that my successor, Tony Hayward,
       and I need to take a lead in putting that right by championing process safety as a
       foundation of BP’s operations.”

   -   “Finally, in its executive summary, the Panel says it believes that BP’s workforce
       is ready, willing and able to participate in a sustained Group-wide effort to move
       BP towards excellence in process safety. I wholeheartedly agree. And I would
       like to make clear that the tone is indeed being set at the top.”

(Misrep. No. 1; Compl. ¶ 256.) According to Plaintiffs, Browne’s promises were false from the

beginning, as BP continued to expand its deepwater operations without implementing adequate

safety procedures for well testing during deepwater drilling. (Compl. ¶ 257(a).) Shortly after

Browne’s announcements at the press conference, BP held a conference call with analysts and

investors. Browne, Grote, Hayward, Dudley, and Inglis participated in the call, which took place

on February 6, 2007. Hayward made the following statement during the call:

   -   “I would now like to give you new guidance for our expected future production
       rates. Relative to our projections of February last year, our production forecast
       has been impacted by five things. Firstly, we further increased our focus on
       safety and operational efficiency and will in some cases deliberately slow the pace
       of our activity in order to improve its safety and efficiency.”

(Misrep. No. 2; Compl. ¶¶ 258–60.) Plaintiffs contend that Hayward’s projections were false

because BP continued to expand its deepwater drilling operations without implementing safety

protocols. Further, claim Plaintiffs, BP always placed expediency over safety, rendering false

Hayward’s promises to “deliberately slow the pace” of operations. (Compl. ¶ 260(b).)




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   On February 23, 2007, BP released its 2006 Annual Review, which contained the following

statements:

   -   “What does the world expect of an energy company today? We believe it is to
       provide energy to customers now and in the future in a safe, sustainable and
       environmentally responsible way. BP strengthened its commitments to these
       principles in 2006.”

   -   “Safety has always been one of our core priorities. When the safety of people and
       of BP operations is at stake, actions matter far more than words. We continued to
       make significant investment and took numerous actions to improve the three
       dimensions of safety – personal safety, process safety, and the environment – and
       the monitoring of all our operations in 2006.”

(Misrep. No. 3; Compl. ¶ 261.) The document also contained the following statements by

Browne, as part of the “Group chief executive’s review”:

   -   “We have been urgently addressing operational issues and matters related to our
       safety performance.”

   -   “Safety has always been one of our core priorities.”

   -   “BP aspires to be an industry leader in the three dimensions of safety – personal
       safety, process safety and the environment.”

(Misrep. No. 4; Compl. ¶ 262.) Browne also represented that BP’s current aim was “to develop a

timely and intelligent plan of action in order to transform BP into an industry leader in process

safety management.” (Id.) Plaintiffs point to BP’s continued expansion of its deepwater drilling

operations without implementing environmental safety protocols as evidence of the falsity of

these statements. (Compl. ¶ 263(a)–(b).)

       BP filed its 2006 Annual Report, Form 20-F, with the SEC on March 6, 2007.

Defendants Browne and Grote signed the report, which highlighted the Gulf of Mexico as one of

BP’s new “profit centres.” (Id. ¶ 264.) The Report contained relevant statements such as the

following:




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   -   “Profit centres are, or are expected to become, areas that provide significant
       production and income for the segment. Our new profit centres are in . . . the
       deepwater Gulf of Mexico . . . where we believe we have competitive advantage
       and which we believe provide[s] the foundation for volume growth and improved
       margins in the future.”

   -   “Deepwater Gulf of Mexico is one of our new profit centres and our largest area
       of growth in the US. In 2006, our deepwater Gulf of Mexico crude oil production
       was 195mb/d and gas production was 323mmcf/d.”

   -   “A risk of increased environmental costs and impacts is inherent in particular
       operations and products of the group and there can be no assurance that material
       liabilities and costs will not be incurred in the future. In general, the group does
       not expect that it will be affected differently from other companies with
       comparable assets engaged in similar businesses.”

(Misrep. No. 5; Compl. ¶ 264.) Plaintiffs claim that BP’s comparison to its industry peers was

misleading in that BP’s focus on high-risk deepwater operations, coupled with its failure to

implement industry best practices, actually increased BP’s risk profile beyond that of its industry

peers. (Compl. ¶ 265(d).)

       In its 2006 Sustainability Report, released in April 2007, BP first referenced its

Operational Management System (“OMS”), the program that would serve as the foundation for

the changes to BP’s process safety procedures. The Sustainability Report represented that, as

part of OMS, BP “document[s] and rigorously follow[s] procedures for safe and effective

operating.” (Misrep. No. 6; Compl. ¶ 266.) Plaintiffs contend this statement was false because

BP did not have adequate documented procedures for its operations, particularly for its drilling

operations. (Compl. ¶ 266.)

       On April 24, 2007, BP held a conference call with analysts and investors. During the

call, Defendant Grote, BP’s CFO at the time, stated the following:

   -   “2007 will represent a year of consolidation. We are stabilizing our operations
       and beginning to build momentum as Texas City continues its recommissioning
       and we focus on delivering major E&P projects like Atlantis and Thunder Horse.



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       Our strategy is unchanged and our current focus remains on safe and reliable
       operations and the delivery of improved performance.”

(Misrep. No. 7; Compl. ¶ 267.) Plaintiffs claim that Grote’s statement misled investors because

BP continued expanding its deepwater drilling without implementing safety procedures and

failed to disclose multiple safety failures and near-failures in its deepwater operations. (Compl. ¶

268(a)–(b).)

       On May 16, 2007, Malone testified before the U.S. House of Representatives Committee

on Energy and Commerce, Subcommittee on Oversight and Investigations. In both verbal and

written testimony, Malone stated:

   -   “Today, I want to assure you that we get it. We have learned the lessons of the
       past.”

   -   “BP America is committed to safety, and the expectation of our management is
       that budget guidelines should never result in a compromise in safety performance.
       That is and has long been our philosophy . . . .”

   -   “I continue to meet with employees to reinforce my expectations of them: that
       they must ensure that our operations are safe, that they understand that they have
       both a right and responsibility to shut down any process they feel is unsafe or
       operationally unsound, and that they are encouraged to raise concerns on any
       issue.”

   -   “BP does not tolerate retaliation against workers who raise safety concerns.”

(Misrep. No. 8; Compl. ¶ 269.) In addition to Plaintiffs’ contention that BP expanded its

deepwater drilling operations without implementing safety procedures, Plaintiffs also allege that

Malone falsely represented that BP did not retaliate against workers who raised safety concerns.

(Compl. ¶ 270(c).) According to Plaintiffs, BP was aware that substantiated complaints of

retaliation had been submitted to the Company through numerous avenues, including the

Ombudsman’s office. (Id.)




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       On September 25, 2007, Inglis gave a speech at the Sanford Bernstein 4th Annual

Strategic Decisions Conference. His remarks included the following statements:

   -   “One aspect of our focus on safe and reliable operations that I mentioned earlier is
       our new standardized Operating Management System (OMS). This will provide a
       blueprint for safety and all aspects of operations throughout BP, making sure
       operations are undertaken to a consistently high standard worldwide.”

   -   “By taking and managing risks in frontier regions we have established an
       unrivaled asset base in some of the world’s most prolific basins. Management of
       those assets has given us a resource base of nearly 60 billion barrels, with a
       significant portion in conventional resources. We are developing strong growth in
       deepwater and tight gas through a spread of major projects around the world.”

(Misrep. No. 9; Compl. ¶ 271.) Plaintiffs again cite BP’s expansion of deepwater drilling, lack

of safety protocols, and string of near-failures as evidence of the falsity of Inglis’s statements.

Plaintiffs also allege that BP’s OMS program in fact did not provide a “consistently high

standard worldwide” because BP continued to vary its safety practices and standards depending

on the particular country in which it operated. (Compl. ¶ 272.)

       On October 25, 2007, BP announced in a press release the resolution of various

investigations, including those into the Texas City explosion and the Prudhoe Bay spill. The

press release included the following statements by Malone:

   -   “In the months and years since these violations occurred, we have made real
       progress in the areas of process safety performance and risk management.”

   -   “BP America is in the midst of a comprehensive effort to improve its safety
       culture and to strengthen and standardize process safety and risk management
       programs at all BP-operated facilities.”

(Misrep. No. 10; Compl. ¶ 273.) Malone’s representations were allegedly false because, in

addition to the reasons outlined above, BP did not standardize its process safety programs.

Instead, BP implemented budget cuts and staff reductions aimed specifically at its safety

programs. (Compl. ¶ 274.)



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   A few weeks later, Hayward, too, spoke of BP’s commitment to process safety.                  On

November 8, 2007, at the Houston Forum, Hayward made the following representation:

   -   “We continue to implement the roadmap provided to ourselves and the industry
       by the excellent work of the Baker Panel. BP remains absolutely committed to
       taking these lessons and becoming a world leader in process safety.”

(Misrep. No. 11; Compl. ¶ 275.)       As with their allegations regarding Inglis’s statements,

Plaintiffs claim that Hayward misled investors with regard to BP’s OMS program because the

OMS program permitted BP to meet the minimum local requirements in each country where it

operated, as opposed to industry best practices. (Compl. ¶ 276(d).)

       BP published its 2007 Annual Review on February 22, 2008. The Annual Review

contained many statements specifically related to BP’s process safety efforts. These included:

   -   “Throughout 2007, BP continued to progress the process safety enhancement
       programme initiated in response to the March 2005 incident at the Texas City
       refinery. We have made progress across the group on all the recommendations.”

   -   “Leadership – We have consistently communicated that safe and reliable
       operations are our highest priority. Our safety and operations audit group was
       strengthened and completed 28 audits in 2007.”

   -   “Management systems – Implementation of our operating management systems
       began at an initial group of sites, which included all five US refineries.”

   -   “Knowledge and expertise – We established an executive level training
       programme, ran process safety workshops and launched an operations academy
       for site-based staff to enhance process safety capability. Specialists have been
       deployed at our US refineries to accelerate priority improvement programmes.”

   -   “Culture – To reinforce the need for a stronger safety culture, we undertook in-
       house assessments of BP’s safety culture, supported by communication from
       leadership.”

   -   “Indicators – Progress has been made in developing leading and lagging
       indicators, building on metrics already reported to executive management. We
       are working with the industry to develop indicators and this includes progress to
       agree a [sic] metric covering loss of primary containment.”




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(Misrep. No. 12; Compl. ¶ 278.) The 2007 Annual Review also contained a section titled,

“Group chief executive’s review.” In this section, Hayward elaborated on BP’s prioritization of

safety, stating that, “When I took over as group chief executive, the immediate task was to

restore the integrity and efficiency of BP’s operations. I set out three priorities: safety, people

and performance.” (Misrep. No. 13; Compl. ¶ 279.) Plaintiffs cite the same facts—including

cost cutting measures by BP, expansion of deepwater drilling operations, and an accumulation of

undisclosed safety failures—as evidence of the falsity of the statements in the 2007 Annual

Review. (Compl. ¶ 280.)

       BP conducted its 2008 Strategy Presentation during a conference call with investors and

analysts on February 27, 2008. Individual Defendants Hayward, Inglis, Dudley, Conn, and

Grote participated in the call.      Several of the Individual Defendants underscored BP’s

commitment to safety as a top priority. For example, Hayward explained that:

   -   “2007 saw further improvement in [BP’s] overall safety performance. Over the
       last eight years, our safety performance, measured by Recordable Injury
       Frequency Rate, the standard measure of safety in our industry, has improved
       three-fold. As you can see on this chart, our performance is amongst the best in
       our industry.”

   -   “[O]ur intense focus on process safety continues. We are making good progress
       in addressing the recommendations of the Baker Panel and have begun to
       implement a new Operating Management System across all of BP’s operations.
       Integrity-related incidents have fallen significantly over the last three years, and
       oil spills of more than one barrel continue a strong downward trend.”

   -   “Safe and reliable operations remain our number one priority.”

   -   “We are taking action to close the competitive gap through a focused effort on
       three priorities of safety, people and performance. We are determined to operate
       safely and reliably, to develop the capability of our people and to drive
       performance through restoring operational momentum. At the same time we are
       rigorously reducing complexity and cost. In Exploration and Production, we
       continue to see the benefits of our strategy.”

Defendant Inglis made similar statements during the conference call:

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   -   “Our top priority continues to be the safety and reliability of our operations. In
       2007, we saw both an improvement in personal safety and increased reliability.”

   -   “[I]n the Gulf of Mexico, our priorities are clear – grow revenues near term
       through the safe startup and ramp-up of Atlantis and Thunder Horse. . . . We’re on
       track in executing that strategy. We’ve established a highly competitive position
       through our extensive lease-holding and track record in exploration.”

(Misrep. No. 14; Compl. ¶ 282.) Plaintiffs allege that all of these representations were false,

citing BP’s expansion of deepwater drilling without appropriate safety protocols, its cost-cutting

and staff reduction initiatives, variation in BP’s OMS program by country, and a string of

allegedly undisclosed safety mishaps. (Compl. ¶ 282.)

       BP followed the February conference call with the filing of its 2007 Annual Report, Form

20-F, on March 4, 2008. The Annual Report touted BP’s “strong portfolio of assets” and

referred to the Gulf of Mexico as one of BP’s “current areas of major development” where BP

believed it had a “competitive advantage.” (Id. ¶ 283.) The Annual Report also discussed BP’s

risk assessment efforts, including OMS, as follows:

   -   “We have completed 50 major accident risk assessments (MARs). The
       assessments identify high-level risks that, if they occur, would have a major effect
       on people or the environment. Many of these risks, such as a loss of containment
       from our operations, are common across the industry. Mitigation plans to manage
       and respond to identified risks form part of the MAR analysis.”

   -   “[T]he OMS ‘is the foundation for a safe, effective, and high-performing BP.’”

   -   “A continuous improvement process drives and sustains improvement of these
       elements at a local level.”

   -   “A risk of increased environmental costs and impacts is inherent in particular
       operations and products of the group and there can be no assurance that material
       liabilities and costs will not be incurred in the future. In general, the group does
       not expect that it will be affected differently from other companies with
       comparable assets engaged in similar businesses.”

(Misrep. No. 15; Compl. ¶ 283.) Although BP referenced mitigation plans, Plaintiffs allege that

BP failed to reveal that BP’s plans left the Company ill-equipped to deal with an oil spill in the

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Gulf of Mexico.     Plaintiffs claim that BP falsely represented both that it had completed

mitigation plans and that the plans would have provided adequate oil spill response protocols.

(Compl. ¶ 284.) In addition, while BP described OMS as the foundation for BP’s safety efforts,

OMS actually allowed BP to use different safety practices and standards in different countries.

(Id. ¶ 272(b).)

        On April 17, 2008, BP held the Company’s 2008 Annual General Meeting.                BP

subsequently posted transcripts of speeches given by Hayward and BP Chairman Peter

Sutherland at the meeting. Hayward’s remarks included the following:

    -   “Safety is our number one priority and in 2007 our overall safety record continued
        to improve. Over the last eight years our safety performance according to the
        standard industry measure has improved threefold and is now among the best in
        our industry.”

    -   “Our intense focus on process safety continues. We are making good progress in
        addressing the recommendations of the Baker Panel and have begun to implement
        a new Operating Management System across all of BP’s operations. This is
        aimed at ensuring that our operations across the world look and feel the same
        everywhere – and perform to the same high standard.”

(Misrep. No. 16; Compl. ¶ 285.)       In addition to the reasons demonstrating falsity already

discussed above, Plaintiffs contend that BP misrepresented its professed commitment to safety in

that it failed to disclose that BP was implementing safety budget cuts and staff reductions which

impacted the Company’s ability to drill safely in the Gulf. (Compl. ¶ 286.)

        On May 28, 2008, BP issued its 2007 Sustainability Review, which included a “Group

chief executive’s introduction” section signed by Hayward. The section contained the statement,

“We are also now introducing our new operating management system (OMS), designed to bring

greater consistency to our operations.” (Misrep. No. 17; Compl. ¶ 287.) This statement was

allegedly misleading because BP had no intention of implementing consistent practices

throughout the Company. (Compl. ¶ 272.) In addition, BP continued to receive citations from

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U.K. authorities. The Company received at least one-hundred non-public citations over a four

year span, belying its supposed commitment to consistent and safe operations. (Id. ¶ 97.)

       Hayward also gave a speech at the HRH Prince of Wales’s 3rd Annual Accounting for

Sustainability Forum on December 17, 2008. BP subsequently posted a transcript of Hayward’s

speech on its website. During the speech, Hayward spoke of BP’s continued effort to improve its

process safety practices following the Texas City refinery explosion, and stated that:

   -   “One of the many consequences for [BP] has been to develop and embed a new
       Operating Management System right across BP – and we operate in 100 countries
       – so that is no mean feat.”

   -   “The critical aspect of this system is that it actually translates words into action.
       It starts out as a set of requirements which are the platform for safe, reliable,
       responsible operating activities. And then we continuously improve what we do,
       every day, every month, every year – in pursuit of sustainable operating
       excellence.”

(Misrep. No. 18; Compl. ¶ 289.)        In addition to the inconsistent practices and numerous

regulatory citations from both U.S. and U.K. agencies, an internal December 2008 strategy

document warned BP executives of major process safety concerns in the Gulf of Mexico.

(Compl. ¶ 19.)     The warnings contained in the internal document severely undermined

Hayward’s portrait of BP’s safety efforts.

       During a presentation at the Microsoft Global Energy Forum in February 2009, BP stated

that, as part of the OMS program, “We [BP] document and rigorously follow procedures for safe

and effective operating.” (Misrep. No. 19, Compl. ¶ 291.) Shortly thereafter, in a speech at the

Cambridge Energy Research Association (“CERA”) Executive Conference on February 10,

2009, Hayward again touted BP’s safety procedures. Hayward opined that, because “[BP] ha[s]

the know-how and technology to tap these resources safely and with minimal impact to the

environment,” the U.S. should allow drilling on the outer continental shelf and “support the



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hydrocarbon resources here in the US.” (Misrep. No. 20; Compl. ¶ 292.) Plaintiffs assert that

these statements were false because BP was unprepared to deal with the Deepwater Horizon oil

spill in the Gulf of Mexico. (Compl. ¶ 293.)

       BP’s 2008 Annual Review, issued on February 24, 2009, provided additional assurances

to investors of the Company’s commitment to safety. The Annual Review stated, in part:

   -   “Our forward agenda focus on safety, people and performance is paying off. BP
       is in the leading group for safety performance in the industry.”

   -   “Safety, both personal and process, remains our highest priority. 2008 was one of
       our best years ever for personal safety, with our performance expected to remain
       among the best in the industry. During the year we began migrating to the new
       BP OMS, which has an increased focus on process safety and continuous
       improvement. The majority of our operations in North America Gas, the Gulf of
       Mexico, Colombia and the Endicott field in Alaska all completed the migration to
       the OMS in 2008.”

   -   “Safety is our top priority . . . We continue to work to establish a strong safety
       culture, developing deep knowledge within every employee and sharing
       learning.”

(Misrep. No. 21; Compl. ¶ 294.) The document also included a “Group chief executive’s

review” section signed by Hayward. In a Q&A section discussing Hayward’s priorities for BP,

Hayward explained that:

   -   “Our number one priority was to do everything possible to achieve safe,
       compliant and reliable operations. . . . Safety must inform every decision and
       every action. The BP operating management system (OMS) turns the principle of
       safe and reliable operations into reality by governing how every BP project, site,
       operation and facility is managed.”

(Misrep. No. 22; Compl. ¶ 295.) These statements were allegedly false and misleading for the

reasons already set forth above. (Compl. ¶ 296.)

       On February 25, 2009, McKay testified before the U.S. House of Representatives

Committee on Natural Resources. In the written testimony he submitted, McKay represented

that “[t]he track record of BP and the industry generally in the Western and Central Gulf of

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Mexico (GOM) demonstrates that when areas are opened, they can be leased, explored and

developed to the highest environmental and operational standards in the world.” (Misrep. No.

23; Compl. ¶ 297.) McKay’s representations allegedly were false because, as president of BP

America, McKay was aware of the safety deficits discussed above, including multiple safety

failures that BP had experienced, but not reported, in its deepwater drilling operations. (Id.) He

also allegedly was aware of the internal strategy document warning of major process safety

concerns in the Gulf. (Id.)

       In March 2009, BP held its 2009 Strategy Presentation for investors.           Defendants

Hayward, Inglis, and Conn participated. BP released a transcript of the presentation, which

contained the following statements:

   -   From Hayward: “2008 was another year of progress on our number one priority of
       safe and reliable operations.”

   -   “We remain focused on process safety and asset reliability. We have begun the
       implementation of [OMS], which covers everything from employee competencies
       to risk assessment, and we’re already seeing the benefits.”

   -   From Inglis: “There is one important caveat: safe and reliable operations come
       first whatever cost efficiency measures we undertake, and we continue to advance
       the safety and reliability of our operations through implementing OMS.”

(Misrep. No. 24; Compl. ¶ 300.) These statements were allegedly false and misleading because

BP was in fact implementing budget cuts and staff reductions in key areas impacting the

Company’s ability to keep its professed commitment to safety. (Compl. ¶ 301(e).)

       Following its Strategy Presentation, BP filed its 2008 Annual Report, Form 20-F, with

the SEC. Hayward and Grote signed the form. Plaintiffs identify numerous statements in the

2008 Annual Report as false and misleading, including:

   -   “During 2008, we continued to pursue our three strategic priorities of ‘Safety’,
       ‘People’ and ‘Performance’, which underpin BP’s ‘forward agenda’.”



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   -   “Our first priority will always be to ensure the safety and integrity of our
       operations.”

   -   “Throughout 2008, senior leadership across the group continued to hold safety as
       their highest priority.”

   -   “All operated businesses plan to transition to OMS by the end of 2010. Eight
       sites completed the transition to OMS in 2008; . . . four Exploration and
       Production sites, North America Gas, the Gulf of Mexico, Colombia and the
       Endicott field in Alaska. . . . A core aspect of OMS implementation is that each
       site produces its own ‘local OMS’, which takes account of relevant risks at the
       site and details the site’s approach to managing those risks.”

(Misrep. No. 25; Compl. ¶ 302.) These statements were allegedly false and misleading because

Defendants misrepresented that the Gulf of Mexico site had completed the transition to OMS and

had produced a “local OMS” but failed to disclose that BP’s Gulf operations lacked adequate

operational protocols and safety procedures necessary to reduce the risk of catastrophic failure.

(Compl. ¶ 303.)

       On March 10, 2009, BP’s initial exploration plan (“IEP”) for the Mississippi Canyon

Block 252—the site of the Macondo well—was marked “submitted” by the MMS. Plaintiffs

allege that the IEP was initially received by the MMS on February 23, 2009 and was available to

the public no later than March 10, 2009. (Id. ¶ 304.) Plaintiffs claim that the IEP falsely

certified “that BP Exploration & Production Inc. has the capability to respond, to the maximum

extent practicable, to a worst-case discharge, or a substantial threat of such discharge, resulting

from the activities proposed in our Exploration Plan,” that is, the development of the Macondo

well site. (Misrep. No. 26; Compl. ¶ 304.) The IEP also made specific representations about

BP’s ability to respond to a blowout, stating that:

   -   “In the event of an unanticipated blowout resulting in an oil spill, it is unlikely to
       have an impact based on the industry wide standards for using proven equipment
       and techonology for such responses, implementation of BP’s Regional Oil Spill
       Response Plan which address [sic] available equipment and personnel, techniques
       for containment and recovery and removal of the oil spill.”

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(Id.) According to Plaintiffs, these representations in BP’s IEP were revealed to be false when

BP proved unable to respond to the blowout on the Deepwater Horizon. Following the spill, a

group of U.S. Senators wrote a letter to Attorney General Eric Holder, stating that BP’s response

and implementation of spill control efforts “appear[ed] to be taking place on an ad hoc basis.”

(Compl. ¶ 307(a).) BP later acknowledged that the techniques it relied on in its containment

efforts “involve[d] significant uncertainties because they ha[d] not been tested in these

conditions before.” (Id.)

          On March 25, 2009, McKay gave a speech at the Howard Weil Energy Conference in

New Orleans, in which he discussed BP’s Gulf operations. In the speech, McKay explained

“that managing costs down does not mean BP will be skimping when it comes to ensuring our

operations remain safe, reliable and compliant in the years ahead.” He further assured the

audience that “[s]afety will continue to have first call on the company’s resources.” (Misrep. No.

27; Compl. ¶ 308.) Shortly thereafter, in April 2009, Hayward spoke at BP’s 2009 Annual

General Meeting and stated that “[BP’s] number one priority of safe and reliable operations has

been vital to the underpinning of our restored competitive performance.” (Misrep. No. 28;

Compl. ¶ 310.) In May 2009, BP’s Group Head of Research and Technology, David Eyton, gave

a speech at Cambridge University in England. During his speech, Eyton discussed BP’s ability

to operate at the “frontiers,” including the Gulf region, and claimed that “[t]echnology has

continuously improved the safety and environmental footprint of our industry.” (Misrep. No. 29;

Compl. ¶ 312.) These statements were allegedly false and misleading for the same reasons set

forth above, including BP’s failure to implement safety protocols in the Gulf, its cost-cutting

measures undermining the safety of its operations, and undisclosed prior safety failures. (Compl.

¶ 311.)

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       On June 30, 2009, BP filed its revised Oil Spill Response Plan for the Gulf of Mexico

(“Regional OSRP”). Like BP’s IEP, the Regional OSRP provided estimates of the amount of oil

BP could recover during a spill. Specifically, the Regional OSRP stated that “[t]he company

[BP] and its subcontractors could recover approximately 491,721 barrels of oil per day (or more

than 20.6 million gallons) in the event of an oil spill in the Gulf of Mexico.” (Misrep. No. 30;

Compl. ¶ 314.) This estimate was allegedly false and misleading given that BP was unable to

contain the spill from the Deepwater Horizon, which spilled only about 60,000 barrels of oil per

day. (Compl. ¶¶ 315, 5.)

       On November 19, 2009, Rainey testified before the U.S. Senate Committee on Energy

and Natural Resources, providing both oral and written testimony. Rainey’s testimony included

the following representation: “Releases from oil and gas operations are rare, and the application

of technology has enabled a dramatic reduction of releases from our industry over the last 30

years.” Rainey then elaborated on these technologies, providing the following examples of

“technologies which have helped to reduce accidental releases”: down hole flow control valves

that shut down the well automatically if damage to the surface equipment is detected; blowout

preventer technology including redundant systems and controls; new and improved well control

techniques; sensors to monitor subsurface and seabed conditions for pressure changes; and BP’s

fiber optic network in the Gulf “which allows [BP] to monitor well pressures in real time, both at

the facility and in [BP’s] offices in Houston.” (Misrep. No. 31; Compl. ¶ 317.) Rainey’s

statements were allegedly false and misleading because BP had purposefully removed redundant

systems in its drilling operations in the Gulf of Mexico, alterations that included removal of one

of the blind shear rams on the Deepwater Horizon’s blowout preventer. (Compl. ¶¶ 94, 318.)




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       BP released its 2009 Annual Review on February 26, 2010. The document included

statements praising the success of BP’s Gulf operations and its commitment to safety, such as:

   -   “In Exploration and Production our strategy is to invest to grow production safely,
       reliably and efficiently by strengthening our portfolio of leadership positions in
       the world’s most prolific hydrocarbon basins, enabled by the development and
       application of technology and strong relationships based on mutual advantage.”

   -   “Safety, both personal and process, remains our highest priority.”

(Misrep. No. 32; Compl. ¶ 319.) The “Chairman’s letter” section of the Annual Review further

espoused BP’s commitment to safety, proclaiming that “the board will strive to set high

expectations of how risk is managed and remain vigilant on oversight.” (Id.) Finally, Hayward’s

statements in the Annual Review, included as part of the “Group chief executive’s review,”

contained additional alleged misrepresentations, including:

   -   “Our priorities remained absolutely consistent – safety, people and performance –
       and you can see the results of this focus with improvements on all three fronts.”

   -   “We continue to show our ability to take on and manage risk, doing the difficult
       things that others either can’t do or choose not to do.”

(Misrep. No. 33; Compl. ¶ 320.) The foregoing statements were allegedly false and misleading

for the same reasons set forth above. (Compl. ¶ 321.)

       On March 2, 2010, BP conducted its 2010 Strategy Presentation. Hayward, Inglis, and

Conn participated in the event. During the presentation, Defendants again assured investors that

safety was BP’s top priority. Such assurances included the following statements:

   -   By Hayward: “Our focus on safe and reliable operations is now strongly
       embedded in our business; we are continuing to build the core capabilities of our
       people; . . . Safety remains our number one priority and we can see clear
       progress.”

   -   By Hayward: “In summary, we are strengthening the safety culture throughout
       our business, and building a track record that we intend to become industry
       leading.”



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   -    By Hayward: “We will vigorously drive cost and capital efficiency whilst at the
        same time maintaining our first priority of safe and reliable operations.”

   -    By Inglis: “Our strategy is clear. We invest to grow production safely, reliably
        and efficiently.”

   -    By Inglis: “There is one important caveat: safe and reliable operations always
        come first, whatever cost efficiency measures we undertake.”

   -    By Conn: “Safe and reliable operations remain the no. 1 priority. In 2009 we had
        one of the best years in terms of safety performance, with many of our personal
        and process safety measures comparing favorably with industry peers and no
        workforce fatalities.”

(Misrep. No. 34; Compl. ¶ 322.) These statements allegedly falsely represented that BP’s safety

performance compared favorably with that of its competitors when, in fact, BP’s focus on and

expansion of high-risk deepwater operations and its failure to adopt industry best practices for

safety increased the Company’s potential liabilities beyond those of its competitors. (Compl. ¶

323.)

        On March 5, 2010, BP filed its 2009 Annual Report, Form 20-F, with the SEC. Hayward

and Grote signed the report. The report allegedly contained numerous false statements. For

example, the report addressed BP’s reliance on OMS as a “systematic framework for safe,

reliable and efficient operations” and a “common framework for all BP operations.” (Misrep.

No. 35; Compl. ¶ 324.) Additionally, the report repeatedly emphasized safety as BP’s priority

and claimed that BP had “continued to strengthen [its] processes for managing compliance” with

a variety of regulations.   (Id.) It also referenced the Ombudsman’s office and noted that

“employees and contractors c[ould] contact him confidentially to report any suspected breach . . .

including safety concerns.” (Id.) Finally, the Annual Report made specific reference to the

Texas City incident and BP’s subsequent progress on the safety front, stating that:

   -    “Following the tragic incident at the Texas City refinery in 2005 the [Safety,
        Ethics, and Environment Assurance] committee has observed a number of key

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       developments, including: the establishment of a safety & operations (S&O)
       function with the highest caliber of staff; development of a group-wide operating
       management system (OMS) which is being progressively adopted by all operating
       sites; the establishment of training programmes in conjunction with MIT that are
       teaching project management and operational excellence; the dissemination of
       standard engineering practices throughout the group . . . . Throughout this time
       the group chief executive has made safety the number one priority.”

(Misrep. No. 35; Compl. ¶ 324.) The foregoing statements in the Annual Review were allegedly

false and misleading for all of the reasons discussed above. (Compl. ¶ 325.)

       In March 2010, Defendants Hayward and Inglis gave several speeches that included

additional misrepresentations. On March 9, 2010, Inglis spoke at the CERA Week conference in

Houston, Texas. A transcript of Inglis’s speech, posted on BP’s website, included the following

representation:

   -   “[BP has] developed the capability to create advanced floating production
       facilities, complex riser systems, and subsea equipment with the ability to
       integrate the elements to cope with extreme temperatures, pressures, and
       oceanographic conditions. And that has enabled BP to become the leading
       deepwater IOC.”

(Misrep. No. 36; Compl. ¶ 326.) At the Howard Weil Energy Conference in New Orleans, held

on March 22, 2010, Inglis again praised BP’s competitiveness in the Gulf region, claiming that

“we are now the leading deepwater producer and a lot of our deepwater experience has, of

course, been gained in the Gulf of Mexico.” (Misrep. No. 37; Compl. ¶ 328.) Inglis’s statements

were allegedly false and misleading when made because, in addition to the reasons discussed

above, BP’s Senior Vice President for Drilling Operations in the Gulf of Mexico, Kevin Lacy

(“Lacy”), had informed Inglis directly of his concerns that BP lacked a commitment to

improving process safety in the Gulf region and that the Company’s reorganization was placing

BP’s offshore operations at risk. (Compl. ¶ 119.) Lacy allegedly spoke to Inglis in December

2009. (Id.)



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       Hayward, too, delivered a speech in March 2010, in which he discussed BP’s changes to

its safety program following the Texas City refinery explosion. During the speech, which was

held at the Peterson Institute for International Economics in Washington, D.C., Hayward claimed

that the “tragic accident has changed in a profound and fundamental way our approach to safety

and operations integrity – providing a safe working environment is a paramount responsibility,

and our first and foremost priority.” (Misrep. No. 38; Compl. ¶ 330.) Plaintiffs allege that this

statement was misleading for all the reasons set forth above. (Compl. ¶ 331.)

       On April 15, 2010, BP held its 2009 Annual General Meeting and also released its 2009

Sustainability Review. Hayward gave a speech during the General Meeting, stating:

   -   “Our focus on safe and reliable operations is now strongly embedded in all our
       businesses; . . . we have started to see the benefits of improved operational
       performance flowing through to the bottom line.”

   -   “Safety remains our number one priority and I’m pleased to report we can see
       clear progress.”

(Misrep. No. 39; Compl. ¶ 332.)        The 2009 Sustainability Review, too, reiterated BP’s

commitment to safety by specifically referencing OMS:

   -   “BP’s operating management system (OMS) provides a single framework for all
       BP operations to follow, covering all areas from process safety, to personal
       health, to environmental performance.”

   -   “Providing an integrated and consistent way of working, the OMS helps ensure
       that a rigorous approach to safe operations continues to be taken.”

(Misrep. No. 40; Compl. ¶ 334.) These statements were allegedly false because BP was on

notice that there were major process safety concerns in the Gulf of Mexico, that its “framework”

did not require consistent practices worldwide, and that a 2009 audit of the Deepwater Horizon’s

blowout preventer revealed overdue maintenance jobs serious enough to lead to “loss of life,

serious injury or environmental damage.” (Compl. ¶¶ 62, 333–34.)



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           The Complaint alleges that all of the statements described above were false

representations and empty promises.                The reality—as revealed in the Deepwater Horizon

catastrophe—was that BP had deceived investors as to BP’s true risk profile in deep sea drilling

because “the Company failed to conduct the process safety overhaul it represented to investors it

would implement.” (Id. ¶¶ 24–25.) According to Plaintiffs, not only was the Deepwater Horizon

disaster a predictable consequence of BP’s failure to implement safety reforms, but BP possessed

actual knowledge of serious equipment failures, maintenance delays, and authorized changes that

reduced the safety redundancies on the Deepwater Horizon to such an extent that the Company

was on notice that just such a disaster was likely to occur. (Id. ¶ 62.) While the Deepwater

Horizon disaster shocked investors, Plaintiffs claim that it should have come as no surprise to

BP.

                                        5. The Deepwater Horizon Explosion

           The Macondo well site sits almost fifty miles off the coast of Louisiana and is believed to

hold as much as 2.1 billion gallons of producible oil. (Compl. ¶ 152.) The well is part of the

Mississippi Canyon Block 252, a nine square-mile plot in the Gulf of Mexico. BP paid $34

million for the exclusive drilling rights on the plot, and the Macondo well was to be BP’s first

well there. (Id.) Before a company can undertake deepwater drilling operations in the Gulf of

Mexico, the MMS requires the company to file an oil spill response plan (“OSRP”). By law, an

OSRP must contain very specific details of a Company’s strategy for responding to a potential

spill.7 For example, MMS regulations require that an OSRP include: (1) an emergency response

action plan; (2) disclosure of the equipment available to combat an oil spill; (3) any oil spill

response contractual agreements with third-parties; (4) calculations of worst-case discharge



7
    The required contents of an OSRP are set out in the Federal Register. See 30 C.F.R. § 254.23.

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scenarios; (5) a plan for dispersant use in case of a spill, (6) an in-situ oil burning plan, and (7)

information regarding oil spill response training and drills. (Id.)

         BP publicly filed its first Regional OSRP for the Gulf of Mexico on December 1, 2000.

The most recent revision, titled “BP’s Regional OSRP for the GOM,” was filed on June 30,

2009. (Id. ¶ 155.) BP’s Regional OSRP estimated the “total worst case discharge” scenario for

the Gulf of Mexico at a range of between 28,033 barrels of oil per day to up to 250,000 barrels

per day.8 (Id. ¶ 156.) The Regional OSRP also stated that BP and its subcontractors had the

capacity to recover approximately 491,721 barrels of oil per day, well over the projected total

worst case discharge scenario for the Gulf of Mexico. (Id.)

         In addition to this Regional OSRP, BP also filed an IEP for the Mississippi Canyon Block

252 on March 10, 2009. (Id. ¶ 157.) BP’s IEP provided an additional estimate of the worst case

spill scenario specific to Block 252. The IEP estimated that worst case scenario at approximately

162,000 barrels of oil per day. The IEP reiterated that “BP . . . ha[d] the capability to respond to

the appropriate worst-case scenario included in its regional OSRP” of 250,000 barrels per day.

(Id. ¶ 159.) Therefore, since the scenario at Block 252 produced a lower estimate of 162,000

barrels per day, BP’s IEP “certified” that BP had the ability to respond to the worst case

discharge at Block 252, where the Macondo well was located. (Id.)

         BP first began drilling the Macondo well with the Marianas rig, which it leased from

Transocean. (Id. ¶ 161.) Following a hurricane, BP replaced the Marianas with the Deepwater

Horizon, a rig also on lease from Transocean. (Id. ¶ 162.) The Deepwater Horizon came with a



8
  The wide variations in the estimated spill amounts correlate to the spill’s distance from shore. The amount of the
spill increases progressively the further out a spill occurs. As BP’s Regional OSRP explained, an oil spill occurring
less than ten miles from shore could create a worst case discharge of 28,033 barrels per day. A spill greater than ten
miles could increase the possible discharge to 177,400 barrels per day. Finally, a spill caused by a mobile drilling
rig—such as the Deepwater Horizon— drilling an exploratory well could generate a spill of up to 250,000 barrels
per day. (Compl. ¶ 156.)

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troubled safety history of its own. As early as 2005, an independent audit of the blowout

preventer (“BOP”) on the Deepwater Horizon suggested maintenance problems. (Id. ¶ 61.) In

September 2009, a BP audit of the Deepwater Horizon revealed serious concerns that could “lead

to loss of life, serious injury or environmental damage as a result of inadequate use and/or failure

of equipment.” (Id. ¶ 62.) Specific problems identified included overdue maintenance jobs

related to well control issues, BOP maintenance, alarm systems, and stabilization systems on the

rig. (Id.)

        A BOP is a five-story device set on the ocean floor at the mud line, that is, beneath the

riser connecting a rig to the sea floor but on top of the cement surface casing that seals the rig in

place. (Id. ¶ 85.) If closed properly, a BOP can prevent an uncontrolled oil or gas release from a

well. (Id. ¶ 84.) To activate a BOP, rams must be closed to seal the area around the drill pipe in

the well, thereby locking any unwanted oil and gas into the well. (Id. ¶ 86.) “Blind” or

“annular” rams are used if no pipe has been laid in the well. (Id.) If the rams cannot be closed,

operators must activate a BOP’s blind shear rams, which are intended to cut through any drill

pipe in the well and then seal in the oil below the BOP. (Id.) In a worst case scenario, an

operator may activate all rams, both annular and blind shear, which will completely disconnect

the BOP from the riser and prevent oil and gas from rising up to the rig above. (Id.) As early as

2001, analysts recommended that companies operating deepwater rigs in the Gulf of Mexico

equip their BOPs with two blind shear rams instead of one, as blind shear rams carry a

significant risk of failure. (Id. ¶ 88.) Over the next several years, BP conducted several other

tests on the reliability of BOPs, including the BOP on the Deepwater Horizon. (Id. ¶¶ 89–93.)9


9
  The Complaint insinuates, but does not explicitly allege, that BP was in possession of two specific reports from
independent expert groups casting doubt on the safety of the Deepwater Horizon’s BOP. First, in April 2000, EQE
International conducted an analysis of the BOP to be installed on the Deepwater Horizon. That analysis revealed
that there was a particular component on the BOP—the “shuttle valve”—that had no backup. Thus, if the shuttle

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         On April 20, 2010, after several disruptions in the drilling process, BP prepared to place

the Macondo well into “temporary abandonment,” a process by which a drilling rig—such as the

Deepwater Horizon—removes its own BOP and riser from the well so that a production rig can

take its place and begin production. (Id. ¶ 188.) Part of the temporary abandonment process

involves placing a cement plug, a three-hundred-foot cap, over the well and filling the area

below the plug with heavy drilling mud to keep downward pressure on the hydrocarbon zone in

the well. (Id.) Prior to abandonment, a negative-pressure test is performed to assess whether any

leaks allow hydrocarbons to flow into the well. (Id. ¶ 189.) According to Plaintiffs, BP had no

established procedure or protocol for conducting the negative pressure test, and pressure tests the

BP crew did perform failed three times, indicating that a leak—or at least a “very large

abnormality”—existed in the well. (Id. ¶¶ 193–94.) After finally receiving a successful test

result on the fourth attempt, the BP crew removed 3,300 feet of drilling mud from the well and

replaced it with sea water. At this point in the process, the only barriers left between the rig and

the hydrocarbons in the well were the remaining drilling mud at the bottom of the well and the

cement plug, which BP had placed further down in the well than MMS regulations allowed. (Id.

¶¶ 196–97.)

         At 9:01 p.m. on the evening of April 20, 2010—after the markets had closed for the

day—pressure measurements in the Macondo well increased dramatically, signaling a crisis. (Id.

¶ 200.) Although the pressure data were immediately available in BP’s Houston office, a

subsequent investigation found that there was “nobody in that B.P. Macondo well office that


valve failed, it would render all remaining redundancies built into the BOP useless. While Plaintiffs tie this report to
the Deepwater Horizon, they do not allege explicitly that BP possessed the report, only that it “was not publicly
disclosed until June 20, 2010.” (Compl. ¶ 91.) Second, Det Norske Veritas, an independent consulting group,
analyzed past BOP performance generally and produced a report, commissioned by Transocean and released in July
2009. The report found that blind shear rams in BOPs have a failure rate of 45%. While Plaintiffs allege that the
“existence of this report was first disclosed to the investing public on June 20, 2010,” they do not allege that BP
possessed it before that date. (Id. ¶ 93.)

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night” and “everybody had gone home.” (Id. ¶ 201.) In addition, the BP crew on the rig did not

respond until 9:30 p.m., a half hour after the first problematic pressure readings occurred. (Id.)

At 9:38 p.m. the first hydrocarbons passed through the BOP and spewed up onto the floor of the

rig. (Id. ¶ 202–06.) The crew attempted to activate the BOP’s annular preventer, but it had

ruptured four weeks earlier and had not been repaired. (Id.) At 9:49 p.m., the deck of the rig

ignited, causing a cascade of liquid to shoot twenty stories above the main deck of the rig. (Id.)

After the explosion, workers should have deployed the rig’s Emergency Disconnect System

(“EDS”), but rig workers later explained that they had not been trained in how to do so. (Id. ¶

207.) A BP employee eventually attempted to activate the EDS, which in turn should have

activated the blind shear ram, but the ram failed to respond. (Id. ¶ 208.) The BOP’s deadman

switch, an automatic response mechanism, also failed to trigger the blind shear ram because its

battery had not been charged properly following maintenance and inspection delays. (Id. ¶ 209.)

With no escape plan, crew members leaped off the rig, 100 feet down, into the ocean. Eleven

crew members died and seventeen were injured. The Deepwater Horizon continued to burn for

thirty-six hours before finally sinking into the Gulf on the morning of April 22, 2010. (Id. ¶

211.) Even after the rig sank, oil continued to gush from the open well into the Gulf.

                                 6. False and Misleading Statements Following the Deepwater
                                    Horizon Disaster

       Plaintiffs claim that BP continued to issue false and misleading statements following the

Deepwater Horizon explosion by misrepresenting both the estimated amount of the spill and

BP’s ability to respond to it. BP issued its first two press releases about the incident on April 21,

2010. The first confirmed a previous statement issued by Transocean reporting a fire aboard the

Deepwater Horizon. The second offered BP’s support to Transocean, stating that BP “stood

ready to assist” in responding to the fire. (Misrep. No. 41; Compl. ¶ 337.) Plaintiffs allege these

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press releases were intended to keep BP securities trading at inflated prices because BP failed to

acknowledge that oil was already leaking from the Macondo well. (Compl. ¶ 338.) In addition,

Plaintiffs assert that the multiple errors in BP’s Regional OSRP undermined any representation

that BP stood “ready to assist.” (Id.)

        By April 26, 2010, additional leaks were discovered in the riser and it was clear that oil

continued to spill into the Gulf. This news caused BP ADSs to fall $1.97 per ADS, or more than

3%. (Id. ¶ 340.) On April 28, 2010, BP held a joint press conference with the U.S. Coast Guard.

Speaking at the press conference, Defendant Suttles calculated BP’s “best estimate” for the spill

at 1,000 barrels of oil per day. (Misrep. No. 42; Compl. ¶ 342.) Suttles also added the

following:

    -   “Late this afternoon, while monitoring the blowout preventer area, which we have
        done continuously since the event began, we discovered a new point of leak. This
        leak is just beyond the top of the blowout preventer in the pipe work called the
        riser. Given the location, we do not believe this changes the amount currently
        estimated to be released.”

(Id.)   Suttles’s estimates were allegedly false and misleading because he was actually in

possession of much higher spill estimates. (Compl. ¶ 346.) The next day, April 29, 2010, Suttles

conducted additional media interviews and discussed the rate of the oil spill. On The Early

Show, for example, Suttles stated: “I think that somewhere between one and five thousand

barrels a day is probably the best estimate we have today.” (Misrep. No. 43; Compl. ¶ 344.)

        During the U.S. House of Representatives’ post-spill investigation, Representative

Markey revealed various internal BP documents that the Company possessed during the spill.

These included: (1) a BP internal document dated April 27, 2010, marked “Confidential,”

showing BP’s low estimate of the spill at 1,063 barrels per day, its “best guess” at 5,758 barrels

per day, and its high estimate at 14,266 barrels per day and (2) a BP internal document dated



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April 26, 2010, reflecting a 5,000 barrel per day spill estimate. (Id. ¶ 346.) These internal

estimates, available to BP at least a day before Suttles provided estimates to the public, reveal the

falsity of Suttles’s announcements. Suttles cited the 1,000 barrel figure despite knowing that

BP’s “best estimate” was actually greater than 5,000 barrels per day. (Id.) Plaintiffs contend

that Suttles intentionally lowballed the estimates to keep the price of BP securities up. (Id. ¶

346.)

        On April 29, 2010, Janet Napolitano, U.S. Secretary of Homeland Security, designated

the spill a “spill of national significance.” (Id. ¶ 343.) Following this announcement, BP

securities fell from $57.34 per ADS on April 28 to $52.56 per ADS on April 29, a decline of

almost $5 per share. (Id. ¶ 345.) Plaintiffs contend that even these amounts were artificially

inflated as a result of Suttles’s inaccurate spill estimates. (Id. ¶ 346.) BP’s ADSs fell almost

another 4%, dropping to $50.19 per ADS over the weekend of April 30, 2010. (Id. ¶ 350.) On

May 5, 2010, Suttles again appeared before the public during a press conference in Robert,

Louisiana. The subject of the press conference was BP’s planned use of a cofferdam to stop the

spill. As Suttles explained:

   -    “Over the weekend, then, we’ll be attaching that dome to the drillship Enterprise
        with a riser pipework assembly, which will allow the oil to flow up to the surface
        and be processed. So if all goes to plan, we should begin to start that operation,
        the beginning of trying to process the fluids on the surface and stop the spilling to
        the sea, on Monday.”

(Misrep. No. 44; Compl. ¶ 351.) Suttles’s statement was allegedly misleading because BP knew

that the cofferdam was highly likely to fail and had never been used in a deepwater environment.

(Compl. ¶ 352.)

        Also on May 5, 2010, Hayward conducted an interview with journalists from the Houston

Chronicle. In the interview, Hayward stated that: “A guesstimate is a guesstimate. And the



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guesstimate remains 5,000 barrels a day.” (Misrep. No. 45; Compl. ¶ 353.) Plaintiffs allege that

Hayward, like Inglis, was in possession of internal BP documents disclosing that the best

estimate was actually 5,758 barrels per day and as high as 14,266 barrels per day. As with

Suttles’s statements, Plaintiffs assert that Hayward’s “guesstimate” misrepresented the spill rate

in order to keep BP securities prices from falling further. (Id. ¶ 354.)

       On May 6, 2010, Dudley spoke at the Chief Executives’ Club in Boston, Massachusetts.

BP posted a transcript of Dudley’s speech on its website. During his speech, Dudley specifically

discussed the Deepwater Horizon and BOPs, stating:

   -   “At the time of the explosion, the Deepwater Horizon drilling rig had been
       working for BP for almost nine years. . . . The rig had handled some of the
       industry’s greatest technical challenges, and her safety record had been excellent
       and had recently won awards.”

   -   “A Blowout Preventer is used on every oil and gas well drilled in the world today
       – onshore and offshore.”

   -   “These mechanisms are regularly inspected and tested. If they don’t pass the test,
       drilling operations are made safe and the system is replaced or repaired and
       retested.”

   -   “BOPs are designed to be fail-safe. This Blowout Preventer was not. It failed to
       close, or to close completely.”

(Misrep. No. 46; Compl. ¶ 355.) These statements were allegedly false and misleading because

(1) the Deepwater Horizon’s BOP was not regularly inspected, given the large backlog of

maintenance jobs revealed by the internal audit in 2009; (2) BP had actually modified the

Deepwater Horizon’s BOP by removing the second blind shear ram, further reducing the safety

redundancies on the rig; (3) four weeks before the explosion, chunks of the BOP’s annular

preventer had broken off, indicating operational problems with the BOP; and (4) on March 10,

2010, a little over a month before the explosion, BP sought and obtained a postponement of the

MMS’s inspection of the BOP. (Id. ¶ 356.)

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          On June 1, 2010, Attorney General Holder announced that the U.S. Department of Justice

(“DOJ”) had opened formal criminal and civil investigations into BP following the spill.

Following a New York Times article titled, “Documents Show Early Worries About Safety of

Rig,” published on May 28, 2010, BP’s ADSs fell from $42.95 per share to $36.52 per share by

June 1, 2010, a decline of approximately 15%. (Id. ¶ 359.) On June 9, 2010, fears that BP

would suspend dividends caused further decline in the value of BP’s securities. (Id. ¶¶ 361–63.)

On June 14, 2010, BP’s Board of Directors met to discuss suspending dividend payments. On

receipt of this news, BP ADSs plunged almost 10%. (Id. ¶ 378.) In total, BP’s securities fell in

value by almost 48% from the date of the Deepwater Horizon explosion through June 2010. (Id.

¶ 379.)

                 C. Legal Standard

                                 1. Rule 12(b)(6)

          To survive a motion to dismiss, a complaint must contain sufficient factual allegations,

accepted as true, to state a claim for relief that is plausible on its face. Ashcroft v. Iqbal, 129 S.

Ct. 1937, 1949 (2009). A claim has “facial plausibility when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant is liable for the

misconduct alleged.” Id. It follows that, where the well-pleaded facts do not permit the court to

infer more than the mere possibility of misconduct, the complaint has alleged—but has not

shown—that the plaintiff is entitled to relief. Id. at 1950; see also FED. R. CIV. P. 8(a)(2). Well-

pleaded factual allegations must be taken as true, but the court does not “accept as true

conclusory allegations, unwarranted factual inferences, or legal conclusions.” Cent. Laborers’

Pension Fund v. Integrated Elec. Servs., Inc., 497 F.3d 546, 550 (5th Cir. 2007).




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       In considering a Rule 12(b)(6) motion to dismiss, a court must limit itself to the contents

of the pleadings, with two exceptions. First, the Fifth Circuit allows the courts to consider

certain documents attached to the motion to dismiss. Collins v. Morgan Stanley Dean Witter,

224 F.3d 496, 498–99 (5th Cir. 2000).         The Fifth Circuit restricts such consideration to

documents that are referenced in the complaint and are central to the plaintiffs’ claim. Scanlan v.

Tex. A&M Univ., 343 F.3d 533, 536 (5th Cir. 2003). Second, in securities cases, courts may take

judicial notice of the contents of public disclosure documents that the law requires be filed with

governmental agencies, such as the SEC, and that are actually filed with the agency. Lovelace v.

Software Spectrum. Inc., 78 F.3d 1015, 1018 n.1 (5th Cir. 1996). However, these documents

may be considered only for the purpose of determining what statements they contain, not for

proving the truth of their contents. Id.

       As is required for Rule 12(b)(6) analysis, the court must draw all reasonable inferences in

favor of the plaintiff. However, for scienter only, in keeping with the requirements of the Private

Securities Litigation Reform Act (“PSLRA”), the court must take into account plausible

inferences opposing as well as supporting a strong inference of scienter. Tellabs, Inc. v. Makor

Issues & Rights, Ltd., 551 U.S. 308, 314 (2007). Accordingly, for purposes of a Rule 12(b)(6)

motion to dismiss, a strong inference of scienter is one at least as compelling as any opposing

inference of non-fraudulent intent. Id.

                                 2. Section 10(b)

       Under section 10(b) of the Securities Exchange Act of 1934,

       It shall be unlawful for any person, directly or indirectly, by the use of any means
       or instrumentality of interstate commerce or of the mails, or of any facility of any
       national securities exchange . . . (b) To use or employ, in connection with the
       purchase or sale of any security registered on a national securities exchange or
       any security not so registered, . . . any manipulative or deceptive device or
       contrivance in contravention of such rules and regulations as the [SEC] may

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        prescribe as necessary or appropriate in the public interest or for the protection of
        investors.

15 U.S.C. § 78j(b). SEC Rule 10b–5, promulgated pursuant to section 10(b), implements section

10(b) by forbidding, among other things, the making of any “untrue statement of a material fact”

or the omission of any material fact “necessary in order to make the statements made . . . not

misleading.” 17 C.F.R. § 240.10b–5. The Supreme Court has implied from the text of section

10(b) that it affords a right of action to purchasers or sellers of securities injured by its violation.

Tellabs, 551 U.S. at 318. To state a private claim under section 10(b), a plaintiff must allege the

following: (1) a material misrepresentation or omission by the defendant; (2) scienter; (3) a

connection between the misrepresentation or omission and the purchase or sale of a security; (4)

reliance upon the misrepresentation or omission; (5) economic loss; and (6) loss causation.

Stoneridge Inv. Partners, LLC v. Scientific-Atlanta, Inc., 552 U.S. 148, 157 (2008); R2 Invs.

LDC v. Phillips, 401 F.3d 638, 641 (5th Cir. 2005).

                        a. Material Misrepresentations and Omissions

        Because Plaintiffs assert securities fraud claims, they must satisfy the heightened

pleading requirements of Rule 9(b) and the PSLRA. See Lormand v. U.S. Unwired, Inc., 565

F.3d 228, 239 (5th Cir. 2009); see also Tellabs, 551 U.S. at 322 (noting that the PSLRA’s twin

goals are to curb frivolous, lawyer-driven litigation, while preserving investors’ abilities to

recover on meritorious claims). Rule 9(b) requires that, “[i]n alleging fraud or mistake, a party

must state with particularity the circumstances constituting fraud or mistake.” FED. R. CIV. P.

9(b); see also Rosenzweig v. Azurix, 332 F.3d 854, 866 (5th Cir. 2003) (noting that the PSLRA’s

particularity requirement incorporates, at a minimum, the pleading standard for fraud under Rule

9(b)). The PSLRA enhances the requirements of Rule 9(b) in two ways. First, plaintiffs must

“specify each statement alleged to have been misleading, [and] the reason or reasons why the

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statement is misleading.” 15 U.S.C. § 78u–4(b)(1). Second, for each act or omission alleged to

be false or misleading, plaintiffs must “state with particularity facts giving rise to a strong

inference that the defendant acted with the required state of mind.” Id. at § 78u–4(b)(2).

       In order to meet these additional requirements of the PSLRA, a plaintiff must, therefore:

(1) specify each statement alleged to have been misleading; (2) identify the speaker; (3) state

when and where the statement was made; (4) plead with particularity the contents of the false

representation; (5) plead with particularity what the person making the misrepresentation

obtained thereby; and (6) explain the reason or reasons why the statement is misleading, i.e., why

the statement is fraudulent. ABC Arbitrage Plaintiffs Group v. Tchuruk, 291 F.3d 336, 350 (5th

Cir. 2002). These allegations constitute the “who, what, when, where, and how” required under

Rule 9(b) and the PSLRA. Id. What constitutes particularity will necessarily differ with the

facts of each case. Guidry v. Bank of LaPlace, 954 F.2d 278, 288 (5th Cir. 1992). A dismissal

for failure to plead fraud with particularity as required by Rule 9(b) is a dismissal on the

pleadings for failure to state a claim. Southland Sec. Corp. v. INSpire Ins. Solutions, Inc., 365

F.3d 353, 361 (5th Cir. 2004).

       General allegations, which lump all defendants together and fail to segregate the alleged

wrongdoing of one from those of another, do not meet the requirements of Rule 9(b). The court

will reject the “group pleading” approach and instead look to the state of mind of the individual

corporate official or officials “who make or issue the statement (or order or approve it or its

making or issuance, or who furnish information or language for inclusion therein, or the like)

rather than generally to the collective knowledge of all the corporation’s officers and employees

acquired in the course of their employment.” Indiana Elec. Workers’ Pension Trust Fund IBEW

v. Shaw Group, Inc., 537 F.3d 527, 533 (5th Cir. 2008).



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       To be actionable, a misrepresentation of a fact, or an omission of a fact, must be material.

The Supreme Court recently reaffirmed that there is no bright-line rule for determining whether

information withheld from a company’s filings is materials as a matter of law.                Matrixx

Initiatives, Inc. v. Siracusano, 131 S. Ct. 1309, 1318–23 (2011). Unwilling to allow materiality

to be reduced to a test of “statistical significance,” the Court held instead that assessing

materiality involves a “fact-specific inquiry . . . that requires consideration of the source, content,

and context” of the allegedly omitted information. Id. at 1321. The misrepresentation of a fact is

material if there is a substantial likelihood that a reasonable shareholder would consider it

important in making an investment decision. Basic Inc. v. Levinson, 485 U.S. 224, 231 (1988).

For an omission to be material, there must be a substantial likelihood that the disclosure of the

omitted fact would have been viewed by the reasonable investor as having significantly altered

the “total mix” of information made available. Id. at 232; see also Krim v. BancTexas Group,

Inc., 989 F.2d 1435, 1445 (5th Cir. 1993) (explaining that the appropriate inquiry is whether the

statement or omitted fact is significant, “such that it alters the total mix of information available

about the proposed investment”). Materiality is not judged in the abstract, but in light of the

surrounding circumstances. Rubinstein v. Collins, 20 F.3d 160, 168 (5th Cir. 1994).

       With regard to misstatements, the PSLRA establishes a “safe harbor” protecting a

forward-looking statement from liability where such a statement is made by a natural person,

unless plaintiffs prove that it was made with actual knowledge that the statement was false and

misleading. 15 U.S.C. § 78u–5(c)(1)(A). A statement is forward looking if it is:

       (A) a statement containing a projection of revenues, income (including income
       loss), earnings (including earnings loss) per share, capital expenditures, dividends,
       capital structure, or other financial items;
       (B) a statement of the plans and objectives of management for future operations,
       including plans or objectives relating to the products or services of the issuer;
       (C) a statement of future economic performance, including any such statement

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       contained in a discussion and analysis of financial condition by the management
       or in the results of operations included pursuant to the rules and regulations of the
       Commission;
       (D) any statement of the assumptions underlying or relating to any statement
       described in subparagraph (A), (B), or (C); [or]
       (E) any report issued by an outside reviewer retained by an issuer, to the extent
       that the report assesses a forward-looking statement made by the issuer[.]

15 U.S.C. § 78u–5(i)(1)(A).

       The safe harbor provision protects individuals and corporations from liability for

forward-looking statements that prove false if the statement is “accompanied by meaningful

cautionary statements identifying important factors that could cause actual results to differ

materially from those in the forward-looking statement” or where the forward-looking statement

is immaterial. Id. at § 78u–5(c)(1)(A)(i)–(ii). Where the forward-looking statement is not

accompanied by cautionary language, a plaintiff must demonstrate that the defendant made the

statement with “actual knowledge” as to its falsity. Id. at § 78u–5(c)(1)(B).

       Vague, optimistic statements are not actionable. Allegations that amount to little more

than corporate “cheerleading” are puffery, projections of future performance not worded as

guarantees, and are not actionable under federal securities law because no reasonable investor

would consider such statements material and because investors and analysts are too sophisticated

to rely on vague expressions of optimism rather than specific facts. Krim, 989 F.2d at 1446.

Additionally, “it is well-established that generalized positive statements about a company’s

progress are not a basis for liability.” Nathenson v. Zonagen Inc., 267 F.3d 400, 419 (5th Cir.

2001). Statements that are predictive in nature are actionable only if they were false when made.

Shushany v. Allwaste, Inc., 992 F.2d 517, 524 (5th Cir. 1993).

                      b. Scienter

       Section 10(b) and Rule 10b–5 do not protect investors against negligence or corporate



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mismanagement.     Shaw Group, 537 F.3d at 535.         Under the PSLRA, it is not enough to

particularize false statements or fraudulent omissions made by a defendant; rather, for “each act

or omission alleged” to be false or misleading, plaintiffs must “state with particularity facts

giving rise to a strong inference that the defendant acted with the required state of mind.” 15

U.S.C. § 78u–4(b)(2). To establish a section 10(b) claim, a private plaintiff must prove that the

defendant acted with scienter. Tellabs, 551 U.S. at 319.

       Tellabs outlined a three step approach to reviewing scienter allegations in a motion to

dismiss a federal securities fraud case pursuant to the PSLRA. Id. at 323. First, the allegations

must, as in federal pleadings generally, be taken as true. Id. Second, courts may consider

documents incorporated in the complaint by reference and matters subject to judicial notice. Id.

The facts must be evaluated collectively, not in isolation, to determine whether a strong inference

of scienter has been pleaded. Id. at 324; see also Barrie v. Intervoice-Brite, Inc., 397 F.3d 249,

260 (5th Cir. 2005) (“While [the Fifth Circuit] will view a complaint in toto when considering

whether a complaint has adequately pled scienter . . . each allegation of fraud must individually

meet the particularity requirements of the PSLRA.”) (citation omitted). Third, a court must take

into account plausible inferences opposing as well as supporting a strong inference of scienter.

Tellabs, 551 U.S. at 324. The inference of scienter must ultimately be “cogent and compelling,”

not merely “reasonable” or “permissible.” Id.; see also Shaw Group, 537 F.3d at 533–34

(adopting Tellabs’ three step approach).

       In the context of federal securities fraud, scienter is “defined as ‘an intent to deceive,

manipulate, or defraud or that severe recklessness in which the danger of misleading buyers or

sellers is either known to the defendant or is so obvious that the defendant must have been aware

of it.’” Flaherty & Crumrine Preferred Income Fund, Inc. v. TXU Corp., 565 F.3d 200, 207 (5th


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Cir. 2009) (quoting R2 Invs. LDC v. Phillips, 401 F.3d 638, 643 (5th Cir.2005)); see also Plotkin

v. IP Axess Inc., 407 F.3d 690, 697 (5th Cir. 2005) (“[A] securities fraud plaintiff must prove that

the defendant either consciously misbehaved . . . or was so severely reckless that it demonstrates

that the defendant must have been aware of the danger of misleading the investing public.”).

Severe recklessness is “limited to those highly unreasonable omissions or misrepresentations that

involve not merely simple or even inexcusable negligence, but an extreme departure from the

standards of ordinary care, and that present a danger of misleading buyers or sellers which is

either known to the defendant or is so obvious that the defendant must have been aware of it.”

Rosenzweig, 332 F.3d at 866.

       For a complaint to adequately plead scienter, “Congress require[s] plaintiffs to plead with

particularity facts that would give rise to a ‘strong’— i.e., a powerful or cogent—inference.”

Tellabs, 551 U.S. at 323. The inference need not be “irrefutable, i.e., of the ‘smoking gun’

genre, or even the most plausible of competing inferences.” Id. (citation omitted) (internal

quotation omitted).     Nonetheless, the “inference of scienter must be more than merely

‘reasonable’or ‘permissible’—it must be cogent and compelling, thus strong in light of other

explanations.” Id. In addition, “[t]he strength of an inference cannot be decided in vacuum. . . .

To determine whether the plaintiff has alleged facts that give rise to the requisite ‘strong

inference’ of scienter, a court must consider plausible nonculpable explanations for the

defendant’s conduct, as well as inferences favoring the plaintiff.” Id. at 323–24. “[O]missions

and ambiguities count against inferring scienter, for plaintiffs must ‘state with particularity facts

giving rise to a strong inference that the defendants acted with the required state of mind.’” Id. at

326 (quoting 15 U.S.C. § 78u–4(b)(2)).

       Although circumstantial evidence can support a strong inference of scienter, allegations


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of motive and opportunity standing alone will not suffice. Abrams v. Baker Hughes Inc., 292

F.3d 424, 430 (5th Cir. 2002). Appropriate motive and opportunity allegations may, however,

“meaningfully enhance the strength of the inference of scienter.” Southland, 365 F.3d at 368

(quoting Nathenson, 267 F.3d at 412). Corporate officers are not liable for acts solely because

they are officers, even where their day-to-day involvement in the corporation is pleaded. Id.

However, corporate statements can be connected to a particular officer if plaintiffs allege the

officer signed the document in which the statement appears or they adequately allege the officer's

involvement in creating the document. Fin. Acquisition Partners LP v. Blackwell, 440 F.3d 278,

287 (5th Cir. 2006).

       The Fifth Circuit has rejected the group pleading approach to scienter. Shaw Group, 537

F.3d at 534. Instead, a court must look to the state of mind of the individual corporate official or

officials making or issuing the statement “rather than generally to the collective knowledge of all

the corporation’s officers and employees acquired in the course of their employment.”

Southland, 365 F.3d at 366. As the Fifth Circuit explained, “[c]onsistent with our rejection of

the ‘group pleading’ doctrine, we do not construe allegations contained in the Complaint against

the ‘defendants’ as a group as properly imputable to any particular individual defendant unless

the connection between the individual defendant and the allegedly fraudulent statement is

specifically pleaded.” Southland, 365 F.3d at 365. Therefore, when pleading fraud claims

against individuals under section 10(b) and Rule 10b–5, plaintiffs must distinguish among

defendants and allege the role of each. Id.

                                3. Section 20(a) claims

       Under section 20(a) of the Exchange Act, “Every person who, directly or indirectly,

controls any person liable under any provision of this chapter or of any rule or regulation


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thereunder shall also be liable jointly and severally with and to the same extent as such

controlled person to any person to whom such controlled person is liable . . . .” 15 U.S.C. §

78t(a). Section 20(a) is a secondary liability provision, and plaintiffs must therefore establish a

primary violation under section 10(b) before liability arises under section 20(a). ABC Arbitrage,

291 F.3d at 348 n. 57 (noting that “control person” liability is “derivative, i.e., such liability is

predicated on the existence of an independent violation of the securities laws”). Accordingly, if

a plaintiff fails to state a claim for a primary securities fraud violation under section 10(b) or

Rule 10b-5, they necessarily fail to state a claim for control person liability under section 20(a).

Fin. Acquisition Partners, 440 F.3d at 288.

               D. Analysis

                                 1. Plaintiffs Have Alleged False and Misleading Statements

       In order to adequately plead a misleading statement or omission under the PSLRA, a

plaintiff must (1) specify each statement alleged to have been misleading; (2) identify the

speaker; (3) state when and where the statement was made; (4) plead with particularity the

contents of the false representation; (5) plead with particularity what the person making the

misrepresentation obtained thereby; and (6) explain the reasons why the statement is misleading,

i.e., why the statement is fraudulent.      ABC Arbitrage, 291 F.3d at 350.         By the Court’s

calculation, and combining alleged misstatements made in the same document or by the same

speaker on the same date, Plaintiffs allege that BP, or its officers or directors, made forty-six

misrepresentations over the course of a three and a half year period. Notwithstanding the volume

and breadth of the allegations, Plaintiffs cite almost identical facts—indeed, the same paragraph

appears in the Complaint, almost verbatim, over twenty times—as evidence of the falsity of each

statement. Specifically, Plaintiffs allege that the majority of the statements were false for some



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combination of the following five reasons: (1) BP was not committed to process safety because

the Company continued to expand its deepwater operations without implementing adequate

process safety procedures (Compl. ¶¶ 256(a), 260(a), 263(a), 268(a), 270(a), 272(a), 274(a),

276(a), 280(a), 282(a), 296(b), 301(a), 303(b), 309(a), 311(a), 321(b), 323(a), 325(a), 329(a),

331(a), 333(b)); (2) BP misrepresented its risk profile by failing to disclose the “multiple safety

failures and near-failures” that BP experienced in its deepwater drilling operations (Compl. ¶¶

265(c), 268(b), 270(b), 272(c), 274(b), 276(b), 280(b), 282(b), 284(a), 286(a), 296(c), 299(b),

301(c), 303(c), 309(b), 311(c), 312(b), 318(c), 321(c), 325(c), 333(d)); (3) BP represented that it

did not retaliate against workers who raised safety concerns with the Company when, in fact, BP

was aware that numerous, substantiated complaints of retaliation had been submitted to the

Company (Compl. ¶¶ 270(c), 284(f), 290(b), 323(d)); (4) BP implemented budget cuts and staff

reductions which undermined the Company’s ability to drill safely in the Gulf of Mexico

(Compl. ¶¶ 274(c), 280(d), 282(d), 286(c), 290(d), 296(e), 299(f), 301(e), 303(d), 309(d), 311(e),

313(d), 321(e), 323(e), 325(f), 331(d), 333(f)); (5) BP’s safety program, of which OMS was a

key component, failed to require uniform process safety policies, instead allowing BP to

implement practices that varied country by country (Compl. ¶¶ 257(b), 272(b), 276(d), 280(c),

282(c), 286(b), 288, 290(c), 296(d), 299(d), 301(d), 303(e), 309(c), 311(d), 321(d), 325(e),

329(e), 331(b), 333(e), 335(c)).

       Plaintiffs support these allegations of falsity with citations to the alleged facts. Because

Plaintiffs rely on the same descriptions and facts to demonstrate the falsity of nearly all of the

identified misrepresentations, the Court will address the substance of Plaintiffs’ proffered

support only once. The Court will address separately the few instances where Plaintiffs offer




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         additional, unique factual support for their allegations.10                     The following chart lists in

         chronological order each source alleged by Plaintiffs to contain false and misleading statements,

         identifies the numbered paragraph of the Complaint in which the allegations are made, identifies

         any Individual Defendants to whom the statement is attributed, identifies the “Misrepresentation

         Number” the Court has assigned to each group of statements, and identifies by “X” the category

         of factual support Plaintiffs rely on to demonstrate the falsity of the statement.



Source              Compl.    Speaker     Misrep #   Expanding     Failure to   Systemic      Budget     Variation   Other
                    ¶                                deepwater     disclose     retaliation   cuts and   among
                                                     drilling      prior        against       layoffs    safety
                                                     without       safety       workers                  practices
                                                     safety        incidents                             by
                                                     procedures                                          country
Jan. 16, 2007       256-57    Browne      1          X                                                   X
Press Conference
Feb. 6, 2007        258-60    BP,         2          X                                                               X
Conference call               Browne,
with investors                Grote,
                              Hayward,
                              Dudley,
                              Inglis
Feb. 23, 2007       261-63    BP,         3, 4       X                                                               X
2006 Annual                   Browne
Review
Mar. 6, 2007        264-65    BP,         5          X             X
2006 Annual                   Browne,
Report, Form 20-F             Grote
April 2007          266       BP          6                                                                          X
Sustainability
Report (2006)
April 24, 2007      267-68    Grote       7          X             X
Conference call
with investors
May 16, 2007        269-70    Malone      8          X             X            X
Testimony, U.S.
House of
Representatives
Sept. 25, 2007      271-72    Inglis      9          X             X                                     X
Sanford Berstein
4th Annual
Strategic
Decisions
Conference


         10
           In their response to Defendants’ motion to dismiss, Plaintiffs attached an appendix, Appendix A, which offers a
         summary of their allegations and an explanation of why the statements were false and misleading. In the
         explanation section, Plaintiffs attempt to rely on some additional factual support—such as the various Defendants’
         membership on BP’s Group Operations Risk Committee—not included in their Complaint. The Court does not
         consider allegations not included in Plaintiffs’ Complaint in its analysis here.

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Oct. 25, 2007       273-74   Malone       10       X    X       X
BP Press Release
Nov. 8, 2007        275-76   Hayward      11       X    X               X
Houston Forum
Feb. 22, 2008       277-80   BP,          12, 13   X    X       X       X
2007 Annual                  Hayward
Review
Feb. 27, 2008       281-82   BP,          14       X    X       X       X
2008 Strategy                Hayward,
Presentation                 Inglis,
conference call              Dudley,
with investors               Conn,
                             Grote
Mar. 4, 2008        283-84   BP,          15       X        X                  X
2007 Annual                  Hayward,
Report, Form 20-F            Grote
April 17, 2008      285-86   Hayward,     16       X    X       X       X
2008 Annual                  Sutherland
General Meeting
May 20, 2008        287-88   BP,          17                            X
Sustainability               Hayward
Review (2007)
Dec. 17, 2008       289-90   Hayward      18                X   X       X      X
HRH Prince of
Wales 3rd Annual
Accounting for
Sustainability
Forum
Feb. 2009           291      BP           19                                   X
Microsoft Global
Energy Forum
Feb. 10, 2009       292-93   Hayward      20                                   X
Cambridge Energy
Research Assoc.
(CERA) Executive
Conference,
Houston, TX
Feb. 24, 2009       294-96   BP,          21, 22   X    X       X       X
2008 Annual                  Hayward
Review
Feb. 25, 2009       297-99   McKay        23            X       X       X      X
Testimony before
U.S. House of
Representatives
Mar. 3, 2009        300-01   BP, Conn,    24       X    X       X       X      X
2009 Strategy                Inglis,
Presentation                 Hayward
Mar. 4, 2009        302-03   BP, Grote,   25       X    X       X       X      X
2008 Annual                  Hayward
Report, Form 20-F
Mar. 10, 2009       304-07   BP           26                                   X
Exploration Plan
for Macondo well
Mar. 25, 2009       308-09   McKay        27       X    X       X       X      X
Howard Weil
Conference, New
Orleans, LA
April 16, 2009      310-11   Hayward      28       X    X       X       X      X
2009 Annual
General Meeting



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May 8, 2009          312-13   Eyton        29             X                    X                    X
Cambridge
University speech
June 30, 2009        314-15   BP           30                                                       X
Revised Regional
OSRP for GOM
Nov. 19, 2009        316-18   Rainey       31                                                       X
Testimony before
U.S. Senate
Committee
Feb. 26, 2010        319-21   BP,          32, 33   X     X                    X          X
2009 Annual                   Hayward
Review
Mar. 2, 2010         322-23   BP, Conn,    34       X     X         X          X                    X
2010 Strategy                 Inglis,
Presentation                  Hayward
Mar. 5, 2010         324-25   BP, Grote,   35       X     X                    X          X         X
2009 Annual                   Hayward
Report, Form 20-F
Mar. 9, 2010         326-27   Inglis       36             X                                         X
CERA Week,
Houston, TX
speech
Mar. 22, 2010        328-29   Inglis       37       X     X                               X         X
Howard Weil
Energy
Conference, New
Orleans, LA
Mar. 23, 2010        330-31   Hayward      38       X                          X          X
Peterson Institute
for Int’l
Economics, Wash.
D.C.
April 15, 2010       332-33   Hayward      39       X     X                    X          X         X
2009 Annual
General Meeting
April 15, 2010       334-35   BP           40                                             X         X
Sustainability
Review (2009)
April 21, 2010       337-38   BP           41                                                       X
Press Release
April 28, 2010       342      Suttles      42                                                       X
Press Conference
April 29, 2010       344      Suttles      43                                                       X
Press Conference
May 5, 2010          351-52   Suttles      44                                                       X
Press Conference
May 5, 2010          353-54   Hayward      45                                                       X
Interview
May 6, 2010          355-56   Dudley       46                                                       X
Chief Executive
Club speech,
Boston, MA



                 The Court addresses below whether the facts identified are sufficient to plead with

        particularity the falsity or misleading nature of each alleged misrepresentation or omission.


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                       a. BP expanded deepwater drilling operations without implementing
                          adequate process safety procedures

       As described above, the Complaint alleges that Defendants, including BP and Individual

Defendants Browne, Grote, Hayward, Inglis, Dudley, Malone, and Conn, made false statements

about BP’s commitment to process safety. See, e.g., Compl. ¶ 256 (Browne: “BP’s workforce is

ready, willing and able to participate in a sustained Group-wide effort to move BP towards

excellence in process safety. . . . And I would like to make clear that the tone is indeed being set

at the top.”); Compl. ¶ 261 (“We have acted decisively to address what matters most today and

tomorrow: . . . a clear focus on the three dimensions of safety – personal safety, process safety

and the environment.”); Compl. ¶ 273 (Malone: “BP America is in the midst of a comprehensive

effort to improve its safety culture and to strengthen and standardize process safety and risk

management programs at all BP-operated facilities.”); Compl. ¶ 281 (“2007 saw further

improvement in our overall safety performance. . . . Safe and reliable operations remain our

number one priority.”); Compl. ¶ 291 (“We document and rigorously follow procedures for safe

and effective operating.”); Compl. ¶ 294 (“Safety, both personal and process, remains our

highest priority. . . . During the year [2008] we began migrating to the new BP OMS, which has

an increased focus on process safety . . . .”); Compl. ¶ 295 (Hayward: “Our number one priority

was to do everything possible to achieve safe, compliant and reliable operations.”); Compl. ¶ 300

(Hayward: “2008 was another year of progress on our number one priority of safe and reliable

operations.”) (Inglis: “There is one important caveat: safe and reliable operations come first

whatever cost efficiency measures we undertake . . . .”); Compl. ¶ 302 (“Throughout 2008,

senior leadership across the group continued to hold safety as their highest priority.”); Compl. ¶

310 (Hayward: “Our number one priority of safe and reliable operations has been vital to the

underpinning of our restored competitive performance.”); Compl. ¶ 320 (Hayward: “Our

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priorities have remained absolutely consistent – safety, people and performance – and you can

see the results of this focus with improvements on all three fronts. . . . Achieving safe, reliable

and compliant operations is our number one priority.”); Compl. ¶ 322 (“Safety remains our

number one priority and we can see clear progress.”) (“In 2009 we had one of the best years in

terms of safety performance, with many of our . . . process safety measures comparing favorably

with industry peers . . . .”); Compl. ¶ 324 (“We constantly seek to improve our safety

performance through the procedures, processes and training programmes that we implement in

pursuit of our goal of ‘no accidents, no harm to people and no damage to the environment.’”);

Compl. ¶ 332 (“Safety remains our number one priority and I’m pleased to report we can see

clear progress.”).

       According to Plaintiffs, these statements were false when made because BP represented

that it would place process safety at the foundation of the Company’s operations “when, in fact,

BP was instead expanding its deepwater drilling operations without implementing adequate

process safety procedures.” (Compl. ¶¶ 256(a), 260(a), 263(a), 268(a), 270(a), 272(a), 274(a),

276(a), 280(a), 282(a), 296(b), 301(a), 303(b), 309(a), 311(a), 321(b), 323(a), 325(a), 329(a),

331(a), 333(b).) The Complaint alleges that BP was aware of the specific dangers associated

with cement jobs in deepwater drilling environments and yet took no action to implement

procedures to reduce the risk of accidents occurring on BP-operated rigs like the Deepwater

Horizon. Plaintiffs contend BP was aware of the dangers of cement jobs because, as early as

2003, the MMS released a report calculating that failed cement jobs accounted for thirty-three

blowout or well “kick” incidents between 1973 and 2004. (Compl. ¶ 80.) Specifically, the

MMS report alerted BP to the fact that “annular flow related to cementing surface casing has

been identified as one of the most frequent causes of loss of control incidents in the Gulf of



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Mexico.” (Id.) In fact, BP had experienced the dangers of faulty cementing jobs at one of its

own wells, even prior to the Deepwater Horizon incident. In September 2008, one of the rigs in

BP’s operations in Azerbaijan suffered a blowout, causing gas, water, and mud to shoot onto the

rig floor, although no explosion occurred. (Id. ¶ 82.) Following the incident in Azerbaijan, BP

reported to U.S. officials that they suspected that numerous wells had “bad cement job[s],” but

BP did not disclose the Azerbaijan incident on its Form 20-F for 2008 or any other public

document available to investors. (Id. ¶ 83.)

       The Complaint also alleges that BP disregarded known risks related to its use of BOPs.

BP was aware that blind sheer rams had a high failure rate. (Id. ¶ 84.) The MMS distributed a

report to BP and its industry peers recommending that companies install two blind shear rams in

deepwater drilling rigs instead of just one. (Id. ¶ 88.) Nonetheless, BP permitted the BOP on the

Deepwater Horizon to be equipped with just one blind shear ram. (Id. ¶ 94.) In fact, BP

executed an agreement with Transocean when it contracted to operate the Deepwater Horizon to

allow the rig to operate with only one blind shear ram. Transocean agreed to remove one of the

two blind shear rams (which allowed BP to speed up testing procedures), but only after BP

signed the agreement acknowledging that the removal of the ram would “reduce the built-in

redundancy” of the BOP and raise the rig’s “risk profile.” (Id. ¶ 94.)

       Additional studies revealing common deficiencies in blind shear rams were distributed to

BP managers and directors at industry conferences during the Class Period, including

conferences held in 2009 and in February 2010. (Id. ¶ 90.) Plaintiffs also allege that BP knew of

actual deficiencies on the specific BOP installed on the Deepwater Horizon. Reports from two

different consulting groups—EQE International and Det Norske Veritas—revealed serious flaws

in the design and the shuttle valve of the BOP on the Deepwater Horizon. (Id. ¶¶ 91–93.)



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        Plaintiffs also point to the findings of the Presidential Commission—the Commission

tasked with investigating the cause of the Deepwater Horizon explosion—as evidence that

Defendants knew, or were reckless in not knowing, that BP had not implemented adequate

process safety measures. For example, the Presidential Commission found that BP had no

“comprehensive and systematic risk-analysis, peer-review, or management of change process”

for any of the following decisions made on the Deepwater Horizon: failing to wait for the correct

amount of centralizers, failing to run appropriate tests on the slurry, failing to run a cement

evaluation log, failing to displace mud from the riser before setting the cement plug, failing to

properly place the cement plug at the appropriate level, failing to install additional physical

barriers during the temporary abandonment procedure, and failing to perform additional integrity

diagnostics. (Id. ¶ 78.) The Commission concluded that the evidence did not show that “BP

team members . . . responsible for these decisions conducted any sort of formal analysis to assess

the relative riskiness of available alternatives.” (Id.)

        Defendants counter that all statements about “safety in general,” BP’s commitment to

improving process safety, and statements about BP’s progress in implementing process safety

measures are neither misleading nor material. (Doc. No. 150, at 15–16, App. A.) Defendants

contend that such statements are not actionable because they lack “a standard against which a

reasonable investor could expect them to be pegged.” City of Monroe Employees Ret. Sys. v.

Bridgestone Corp., 399 F.3d 651, 671 (6th Cir. 2004). Defendants characterize all statements

related to BP’s progress on process safety measures “generalized positive statements” and argue,

correctly, that such statements cannot serve as a basis for liability. (Doc. No. 150, at 16); see

also Rosenzweig v. Azurix Corp., 332 F.3d 854, 870 (5th Cir. 2003) (“‘[M]aking steady progress’




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is precisely the sort of generalized positive characterization that is not actionable under the

securities laws.”).

        General statements about corporate “progress” are “too squishy, too untethered to

anything measurable, to communicate anything that a reasonable person would deem important

to a securities investment decision.” Bridgestone, 399 F.3d at 671. The statements listed above

are all in this vein, as they are generalized statements about BP’s “commitment to safety,”

prioritization of “process safety performance,” headway in making “real progress” in the process

safety arena, and desire to become a “world leader in process safety.” (Compl. ¶¶ 269, 273,

275.) Even the very specific facts Plaintiffs allege to show the falsity of the statements cannot

confirm or deny whether “progress” was being made; general “progress” is simply too illusory a

metric from the start. Such statements, therefore, are not actionable.11

        But Plaintiffs also allege statements of a different vein. Many of Plaintiffs’ allegations in

this category are statements that refer to progress in process safety as measured against the

metrics set forth in the Baker Report’s recommendations. These statements make specific

reference to BP’s progress following the Texas City explosion and the Baker Panel’s findings.

See, e.g., Compl. ¶ 273 (Malone: “In the months and years since these violations occurred [at

Texas City refinery], we have made real progress in the areas of process safety performance and

risk management.”); Compl. ¶ 275 (Hayward: “We continue to implement the roadmap provided

to ourselves and the industry by the . . . Baker Panel. BP remains absolutely committed to taking

these lessons and becoming a world leader in process safety.”); Compl. ¶¶ 281, 285 (“[O]ur

intense focus on process safety continues. We are making good progress in addressing the

recommendations of the Baker Panel and have begun to implement a new [OMS] across all of

11
  By the Court’s numbering system, nonactionable statements in this category are included in Misrepresentations 1–
4 (Compl. ¶¶ 256–62), 7–9 (Id. ¶¶ 267–71), 19 (Id. ¶ 291), 21–25 (Id. ¶¶ 294–302), 28 (Id. ¶¶ 310–11), 32–33 (Id. ¶¶
319-20), 34 (Id. ¶ 322), and 39 (Id. ¶ 332).

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BP’s operations.”); Compl. ¶ 289 (“BP had a number of high-profile safety lapses in recent

years, notably at our Texas City refinery, where there was a tragic and unacceptable loss of life. .

. . We opened ourselves up to scrutiny . . . [a]nd we have continuously reported progress against

a response plan and against an independent external report.”); Compl. ¶ 278 (“Throughout 2007,

BP continued to progress the process safety enhancement programme initiated in response to the

March 2005 incident at the Texas City refinery. We have made progress across the group on all

the recommendations: Leadership – We have consistently communicated that safe and reliable

operations are our highest priority. Knowledge and expertise – We established an executive-

level training programme, ran process safety workshops and launched an operations academy for

site-based staff to enhance process safety capability.”); Compl. ¶ 324 (“Following the tragic

incident at the Texas City refinery in 2005 the [Safety, Ethics, and Environment Assurance]

committee has observed a number of key developments, including: . . . development of a group-

wide operating management system (OMS) which is being progressively adopted by all

operating sites; the establishment of training programmes in conjunction with MIT that are

teaching project management and operational excellence; the dissemination of standard

engineering practices throughout the group; and the formation of a highly experienced S&O

audit team formed to assess the safety and efficiency of operations and recommend

improvements. Throughout this time the group chief executive has made safety the number one

priority.”); Compl. ¶ 330 (“That tragic accident [Texas City] has changed in a profound and

fundamental way our approach to safety and operations integrity – providing a safe working

environment is a paramount responsibility, and our first and foremost priority.”).

       The Baker Panel recommendations did not leave BP with a “squishy” mandate. To the

contrary, the Panel’s number one recommendation, titled, “Process Safety Leadership,” required



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BP’s corporate management to “demonstrate their commitment to process safety by articulating a

clear message on the importance of process safety and matching that message both with the

policies they adopt and the actions they take.” (Compl. ¶ 74) (emphasis added). BP clearly

embraced the first portion of the Baker Report’s mandate. In an effort to “articulate a clear

message” with respect to process safety, Hayward, Inglis, and other BP executives reeled off the

“safety is our number one priority” catchphrase at every turn. But Plaintiffs’ allegations raise a

triable issue as to whether BP followed through on the latter portion of the Baker Panel’s

recommendation, which required BP to match the message with policies and actions.

       The Baker Panel’s recommendation on process safety was a response to a string of prior

safety failures in BP’s operations. The incidents included blowouts in the Gulf in 2002 and 2003

and in the Nile delta in 2004. (Compl. ¶¶ 54–59.) These were followed by the explosion at the

Texas City refinery in 2005 and the spill in Prudhoe Bay in 2006. (Id. ¶¶ 11, 68.) All of these

incidents served as evidence for the Baker Panel’s conclusion that BP had not adequately

established process safety as a core value. (Id. ¶ 74.) Following the release of the Baker Report

and the clear roadmap for improvement contained therein, BP launched what effectively

amounted to a public relations campaign to resuscitate the Company’s image with respect to

process safety. The statements that Plaintiffs highlight as false and misleading were part of that

campaign. BP’s statements inundated the market with the image that BP was making significant

progress on process safety. That image was frequent, repeated, and unequivocal. Plaintiffs

suggest it was also necessary to BP’s continued financial success following the findings of the

CSB and the Baker Report. (Id. ¶ 67.)

       According to Plaintiffs, there were stark differences between the image BP projected and

the reality of BP’s operations. Just three years after BP began touting its process safety efforts,



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the Deepwater Horizon disaster occurred. This was a disaster so similar to prior disasters—the

culmination of corner-cutting, overlooked and disregarded warnings, a lack of oversight, a

failure to train employees properly, and long overdue maintenance—that it raises a genuine

question as to whether BP was truly making the progress it claimed.             The Baker Report

recommendation required BP to “match its message” on process safety with policies and actions.

BP itself embraced the recommendation as a metric and frequently cited the Company’s progress

against that metric. For example, BP’s Annual Reports described specific “key developments”

(Compl. ¶ 324), BP claimed to have established training programs and process safety workshops

(Id. ¶ 278), and BP executives made frequent reference to implementing the Baker Report’s

“roadmap” (Id. ¶ 275.) A repeated utterance, even on a promise of progress, can become

misleading where repetition becomes a statement of current and ongoing compliance. See, e.g.,

Reese v. BP Exploration, 643 F.3d 681, 691 (9th Cir. 2011) (noting that even a promise or

forward-looking statement can become an inaccurate assertion as to a matter of past or existing

fact if repeated filing creates an “impression of a state of affairs that differs in a material way

from one that actually exists”) (citation omitted) (internal quotation marks omitted).

       Plaintiffs have alleged sufficient facts to call into question whether BP and its corporate

officers and directors were in fact implementing the process safety reforms as they represented.

BP had a starting point for its mandate: improve process safety beyond where it was at the time

of the Texas City explosion through implementation of the policies, procedures, and

recommendations detailed in the Baker Report. The Deepwater Horizon explosion, subsequent

investigation, and other facts Plaintiffs allege pointing to similarities between the Deepwater

Horizon accident and BP’s history of safety failures support Plaintiffs’ contention that BP

seriously overstated the “progress” it had made in implementing the Baker Panel’s



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recommendations. Where Plaintiffs have tethered their allegations to BP’s statements involving

progress in process safety efforts as measured against the Baker Report recommendations, they

have alleged section 10(b) violations with the particularity required under the PSLRA and Rule

9(b).12

                         b. BP misrepresented its risk profile because it failed to disclose prior
                            safety failures

          The Complaint alleges that BP misrepresented its risk exposure to investors by repeatedly

and falsely downplaying its exposure to risk. See, e.g., Compl. ¶ 267 (Grote: “Our strategy is

unchanged and our current focus remains on safe and reliable operations and the delivery of

improved performance.”); Compl. ¶ 269 (Malone: “BP America is committed to safety, and the

expectation of our management is that budget guidelines should never result in a compromise in

safety performance.”); Compl. ¶ 271 (Inglis: “By taking and managing risks in frontier regions

we have established an unrivalled asset base in some of the world’s most prolific basins. . . . We

are developing strong growth in deepwater and tight gas through a spread of major projects

around the world.”); Compl. ¶ 273 (Malone: “BP America is in the midst of a comprehensive

effort to improve its safety culture and to strengthen and standardize process safety and risk

management programs at all BP-operated facilities.”); Compl. ¶ 281 (“[I]n the Gulf of Mexico,

our priorities are clear – grow revenues near term through the safe startup and ramp-up of

Atlantis and Thunder Horse; grow our resources position through successful exploration and

access, and advance key deepwater technologies to exploit that resource base.”); Compl. ¶ 297

(McKay: “The track record of BP and the industry generally in the Western and Central Gulf of

Mexico (GOM) demonstrates that when areas are opened, they can be leased, explored and

developed to the highest environmental and operational standards in the world.”); Compl. ¶ 312

12
  The actionable misrepresentations are, following this Court’s numbering system, statements included in
Misrepresentations 10-14 (Compl. ¶¶ 273-282), 16 (¶ 285-86), 18 (¶ 289-90), 35 (¶ 324-25), and 38 (¶ 330-31).

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(Eyton: “[I]t is worth emphasizing that throughout this period and despite the extremes of

geography in which we operate, technology has continuously improved the safety and

environmental footprint of our industry.”); Compl. ¶ 332 (Hayward: “There has been a

significant reduction in the frequency of recordable injuries and the number of major incidents

related to integrity failures has also fallen. At the same time we’re reducing containment losses

in our operations.”).

       Only a few of the statements Plaintiffs allege as false and misleading reference BP’s risk

exposure in explicit terms. See, e.g., Compl. ¶ 264 (“A risk of increased environmental costs and

impacts is inherent in particular operations and products of the group and there can be no

assurance that material liabilities and costs will not be incurred in the future. In general, the

group does not expect that it will be affected differently from other companies with comparable

assets engaged in similar business.”); Compl. ¶ 278 (“In safety, we are significantly lowering the

risk profile of our operations.”); Compl. ¶ 319 (“Risk remains a key issue for every business, but

at BP it is fundamental to what we do. . . . We must never shrink from taking on difficult

challenges, but the board will strive to set high expectations of how risk is managed and remain

vigilant on oversight.”); Compl. ¶ 320 (Hayward: “We continue to show our ability to take on

and manage risk, doing the difficult things that others either can’t do or choose not to do.”)

       According to Plaintiffs, the misrepresentations contained in such statements were

twofold. Broadly speaking, BP misrepresented the general risks associated with deepwater

drilling in that it failed to disclose “multiple safety failures and near-failures” that BP

experienced in its deepwater operations. More specifically, BP misrepresented its exposure to

risk by failing to disclose that it was unprepared to contain an oil leak in its Gulf operations.




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       Plaintiffs claim that BP failed to disclose prior safety failures, thereby rendering false any

representation that the Company was in control of its risk exposure. (Compl. ¶¶ 265(c), 268(b),

270(b), 272(c), 274(b), 276(b), 280(b), 282(b), 284(a), 286(a), 296(c), 299(b), 301(c), 303(c),

309(b), 311(c), 312(b), 318(c), 321(c), 325(c), 333(d).) In support of these allegations, Plaintiffs

point to the string of safety incidents preceding the Deepwater Horizon explosion, beginning in

2000 with incidents at BP’s Grangemouth refinery in Scotland and continuing through the Texas

City explosion. (Compl. ¶¶ 53–63.) Plaintiffs also point to correspondence BP received from

the U.K. HSE regarding several of BP’s rigs operating in U.K. jurisdictions that were overdue on

maintenance and repair requirements. (Compl. ¶¶ 98–103.) Nowhere in the Complaint do

Plaintiffs allege that any of the safety incidents between the years 2000 and 2007 remained

undisclosed. In fact, Plaintiffs allege that BP failed to disclose only one incident, a September

2008 gas leak in BP’s Azerbaijan deepwater drilling operations in the Caspian Sea. (Compl. ¶¶

81–83.) “Shortly thereafter” there was a blowout at another rig in the same field; Plaintiffs do

not state whether that rig was part of BP’s operations. (Id.) However, Plaintiffs allege that BP

made no announcement or disclosure of the incident until BP filed its Annual Report, Form 20-F,

for 2008. Plaintiffs suggest that the disclosure in the 2008 Annual Report downplayed the

incident, referring to it as a “subsurface gas release” and omitting references to the blowout on

the nearby rig. (Id.)

       Defendants argue that the allegedly undisclosed risks were actually “well-publicized

safety lapses” already known to the market. (Doc. No. 150, at 27.) According to Defendants,

the incidents in the Nile delta and the Caspian Sea, in addition to the other incidents that

occurred in BP’s U.S. operations, were well-publicized and even prompted the MMS to

investigate BP twice and issue Safety Alerts to all drilling companies in the Gulf. (Id.) Because



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such risks were widely known to the market, Defendants argue any representations related to

BP’s risk management efforts were not misleading or could not have been material. (Id.)

       Statements about the adequacy of risk management operations and capabilities may be

false and misleading where the speaker knows, or should know, that such operations are

inadequate to manage the risks a company faces. See, e.g., In re Fannie Mae Sec. Litig., Nos. 08

Civ. 7831, 09 MD 2013, 2010 WL 3825713, at *14–15 (S.D.N.Y. Sept. 30, 2010) (finding

material misstatements sufficient to survive a motion to dismiss where Fannie Mae’s statements

that its risk management operation was “appropriate” were made despite defendants’ knowledge

that their risk management system was inadequate for the new subprime assets they were

purchasing); see also In re Wash. Mutual, Inc. Sec., Derivative & ERISA Litig., 694 F. Supp. 2d

1192, 1208–09 (W.D. Wash. 2009) (finding that plaintiffs had sufficiently pleaded the falsity of

thirteen statements representing that the defendant company maintained “appropriate policies,

standards and limits designed to maintain risk exposures” where the company “had in fact

weakened its risk management practices in order to increase loan volume”). However, Plaintiffs

do not adequately allege falsity with respect to the statements at issue here. Instead of pointing

to specific flaws in BP’s risk management system, Plaintiffs merely stress BP’s awareness of the

riskiness of its operations.    Plaintiffs’ argument, in simplest form, is that it was false or

misleading for BP to claim that it could “take on and manage risk” or that it was “lowering its

risk profile” when safety-related accidents had previously occurred in some of BP’s operations

worldwide. But demonstrating BP’s knowledge of risk does not demonstrate that its statements

were false or misleading; Plaintiffs’ argument mistakenly equates risk with falsity.

       In Evolution Capital Advisors, the SEC argued that defendants committed securities fraud

in connection with their investments in a loan program administered by the Small Business



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Administration (“SBA”). S.E.C. v. Evolution Capital Advisors, LLC, No. H-11-2945, 2011 WL

6754070, at *1 (S.D. Tex. Dec. 22, 2011). Investors were allegedly defrauded after defendants

misrepresented the nature and risk profile of their involvement in the program by leading

investors to believe the company would invest in the more secure option available under the

program, SBA loans, when it instead invested in the riskier option, SBA “IO strips.” Id. at *1–2.

The court found that “[t]he heart of the case is the difference between the risks of investing in an

SBA loan and investing in an SBA IO strip,” that is, whether or not defendants made

“misrepresentations concerning the nature of the investments that would be made.” Id. at *13.

(emphasis added).

       Here, Plaintiffs have not alleged any misrepresentations concerning “the nature of the

investments” that were made. Id. at *13. In fact, many of the statements Plaintiffs claim are

misleading are actually acknowledgments of BP’s risk exposure. See, e.g., Compl. ¶ 264 (“A

risk of increased environmental costs and impacts is inherent in particular operations and

products of the group and there can be no assurance that material liabilities and costs will not be

incurred in the future. In general, the group does not expect that it will be affected differently

from other companies with comparable assets engaged in similar business.”); Compl. ¶ 319

(“Risk remains a key issue for every business, but at BP it is fundamental to what we do. . . . We

must never shrink from taking on difficult challenges, but the board will strive to set high

expectations of how risk is managed and remain vigilant on oversight.”). The likelihood of kicks

or blowouts in deepwater drilling operations is exactly the type of risk inherent in an investment

in the oil industry. While the risk associated with the oil industry, and deepwater drilling

operations in particular, is obviously a subject matter important—even material—to investors, it

is not one that investors are generally unaware of.



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         Plaintiffs must do more than point to the volatile nature of deepwater drilling operations

in order to plead securities fraud with the particularity required under the PSLRA and Rule 9(b).

Simply citing prior examples of safety failures does not render false or misleading generalized

statements about BP’s risk profile or the riskiness of its operations. Even a company operating

in a risky industry can manage risk, and Plaintiffs have pointed to no facts undermining BP’s

assertions that it intended to do so. Plaintiffs’ reliance on the existence of such risk as proof of

falsity is insufficient to demonstrate the falsity of the statements at issue here.13

         Plaintiffs fare better in their allegations that BP misrepresented its specific ability to

respond to an oil spill in the Gulf, thereby misleading investors as to its risk exposure in its Gulf

operations. Plaintiffs point to specific misrepresentations in BP’s Regional OSRP for the GOM,

which estimated the total worst case discharge scenarios in the Gulf at between 28,033 barrels

and 250,000 barrels of oil per day. (Compl. ¶ 314.) In addition, BP’s Regional OSRP for the

GOM explicitly states that BP and its subcontractors “could recover approximately 491,721

barrels of oil per day (or more than 20.6 million gallons) in the event of an oil spill in the Gulf.”

(Id.) The Regional OSRP also stated that BP possessed “the necessary spill containment and

recovery equipment to respond effectively to spills.” (Id.) Plaintiffs also rely on BP’s IEP for

the Macondo well site and allege that the statement contained therein—that “BP Exploration &

Production Inc. has the capability to respond, to the maximum extent practicable, to a worst-case

discharge,” which BP estimated at 162,000 barrels of oil per day—was false. (Id. ¶¶ 158, 304.)

In addition, a few months prior to the Deepwater Horizon disaster, Defendant Rainey testified

before a Senate Committee and similarly represented that “[a]ll of [BP’s] production facilities

have contingency plans that identify the procedures, response equipment, and key personnel

13
    By the Court’s numbering system, the nonactionable statements in this category are included in
Misrepresentations 5 (Compl. ¶ 264), 7–9 (Id. ¶ 267–71), 10 (Id. ¶ 273), 12 (Id. ¶ 278), 14 (Id. ¶ 281), 23 (Id. ¶ 297),
29 (Id. ¶312), 32–33 (Id. ¶¶ 319–20), and 39 (Id. ¶ 332).

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needed for responding to incidents.” (Id. ¶ 317.) Rainey referred specifically to the capabilities

of BP America’s Houston offices, stating that “BP’s fiber optic network in the US Gulf of

Mexico . . . allows us to monitor well pressures in real time, both at the facility and in our offices

in Houston.” (Id.)

       Plaintiffs assert that all these representations were false because BP proved utterly unable

to respond to the spill following the Deepwater Horizon disaster. Through the IEP and the

Regional OSRP, BP represented that it was prepared to respond to a spill release of somewhere

between 162,000 and 250,000 barrels of oil per day. (Id. ¶¶ 158, 156.) Plaintiffs allege that the

worst case discharge scenarios in BP’s public representations were significantly higher than the

actual amount of the spill, yet BP’s “oil-spill removal organizations were quickly outmatched”

following the Deepwater Horizon explosion. (Id. ¶ 218.) Plaintiffs estimate that 60,000 barrels

of oil per day spilled from the Macondo well following the Deepwater Horizon blowout. (Id. ¶

5.) Yet, even forty-nine days after the spill, BP was recovering oil at a rate of only 15,000

barrels per day. (Id. ¶ 243.)

       Plaintiffs also claim that much of BP’s Regional OSRP was inaccurate: irrelevant

material was copied from other websites, the Regional OSRP “described biological resources

nonexistent in the Gulf,” and the Regional OSRP named as the Company’s “wildlife expert” a

man deceased several years before BP filed its Regional OSRP. (Id. ¶¶ 220–22.) In further

support of the falsity of these statements, Plaintiffs point to post-spill statements by Suttles and

Hayward admitting that BP did not have an oil spill response plan with “proven equipment and

technology” and that the Company was instead “making it up day to day.” (Id. ¶¶ 217, 315.)

Finally, with respect to Rainey’s representations that BP America’s Houston offices allowed for

close monitoring of the Deepwater Horizon rig, Plaintiffs assert that, on the night of the



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explosion, there was “nobody in that B.P. Macondo well office,” and BP was therefore, in

addition to the many other reasons, unprepared to respond to spills in the Gulf. (Id. ¶ 201.)

        Plaintiffs have sufficiently pleaded facts to demonstrate that BP misrepresented the size

of the spill it was prepared to respond to in the Gulf and misrepresented the Company’s general

spill response capabilities. BP stated it was prepared to respond to a spill more than four times

as large as the maximum daily spill amount that resulted from the Deepwater Horizon incident.

Plaintiffs have highlighted the wide disparity between the amount of the actual spill and BP’s

representation as to its preparedness, other falsities in both the Regional OSRP and the IEP, and

the failures of BP America’s Houston office to respond appropriately to emergency warnings

from the Deepwater Horizon. Thus, they have sufficiently pleaded actionable misrepresentations

related to BP’s ability to respond to an oil spill in the Gulf of Mexico.

        Defendants do not challenge the alleged falsity of the statements contained in the

Regional OSRP and the IEP. Instead, because this is a fraud on the market case, Defendants

contend that Plaintiffs have not adequately pleaded reliance on the alleged misrepresentations

contained in the Regional OSRP and the IEP because they do not allege that the documents were

“publicaly disseminated” during the Class Period.14 (Doc. No. 150, at 28.) The fraud on the

market theory allows “a presumption that potentially significant publicly disseminated

information is reflected in the price of stock traded on an efficient market” unless rebutted by a

factual showing that the information at issue did not affect the market price. Nathenson, 267

F.3d at 415. Here, Plaintiffs allege that the IEP was received by the MMS on February 23, 2009,

and was “available to the public” no later than March 10, 2009. (Compl. ¶ 304.) They allege

that the Regional OSRP was “publicly filed” on June 30, 2009. (Id. ¶ 314.) The Court agrees

14
   In subsequent briefing, Defendants withdrew their challenge to Plaintiffs’ pleading of reliance on the IEP.
However, Defendants still contend that allegations related to the IEP fail on scienter grounds. (Doc. No. 220, at 14
n. 11.)

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with Plaintiffs that, for purposes of pleading reliance in a fraud on the market case, there is no

material difference between pleading that the IEP was “available to the public” or “publicly

filed” and alleging that a document was “publicly disseminated.” See Basic Inc. v. Levinson, 485

U.S. 224, 246 n. 24 (1988) (“[W]e need only believe that market professionals generally consider

most publicly announced material statements about companies, thereby affecting stock market

prices.”). Plaintiffs have adequately alleged reliance on the IEP and the Regional OSRP and

have therefore pleaded with particularity misrepresentations stemming from BP’s representations

that it was prepared to respond to a spill in the Gulf of Mexico.15

                         c. BP claimed it did not retaliate against workers for reporting safety
                            concerns while engaging in a systematic pattern of retaliation

        Plaintiffs allege that BP’s representations that the Company was strengthening its safety

culture were false and misleading.          See Compl. ¶ 269 (Malone: “I continue to meet with

employees to reinforce my expectations of them: that they must ensure that our operations are

safe, that they understand they have both a right and responsibility to shut down any process they

feel is unsafe or operationally unsound, and that they are encouraged to raise concerns on any

issue.”) (Malone: “BP does not tolerate retaliation against workers who raise safety concerns.”);

Compl. ¶¶ 283, 302 (“In the US, former US district court judge Stanley Sporkin acts as an

ombudsperson.       Employees and contractors can contact him confidentially to report any

suspected breach of compliance, ethics or the code of conduct, including safety concerns.”);

Compl. ¶ 289 (Hayward: “We opened ourselves up to scrutiny – and we listened more to our

front-line operations people – who, of course, really know what is going on on the ground.”);

Compl. ¶ 322 (“In summary, we are strengthening our safety culture throughout our business,

and building a track record that we intend to become industry leading.”).

15
  By the Court’s numbering system, the alleged misrepresentations that survive in this category are numbered 26
(Compl. ¶ 304), 30 (Id. ¶ 314), and 31 (Id. ¶ 316).

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        According to Plaintiffs, these statements were false and misleading because BP was

systematically retaliating against workers who reported safety violations. As evidence of BP’s

retaliation, Plaintiffs point to BP employee Kenneth Abbott (“Abbott”). Abbott worked as an

engineer on BP’s Atlantis rig, another deepwater drilling rig in the Gulf of Mexico. (Compl. ¶

137.) Abbott became concerned that designs for critical units on the rig were not updated to

reflect changes made during repairs and maintenance. (Id.) Abbott reported his concerns in

August 2008. A few weeks later, another employee who worked with Abbott, BP manager Barry

Duff (“Duff”), wrote a letter to other BP managers corroborating Abbott’s concerns. (Id. ¶

138.)16 Abbott continued to voice safety concerns until January 2009, when BP fired him for his

whistle-blowing activity. (Id. ¶ 139.) After his termination, Abbott raised his concerns with

BP’s Ombudsman. Part of the Ombudsman’s investigation revealed an affidavit from safety

engineer Mike Sawyer, who independently reviewed Abbott’s reports and corroborated Abbott’s

concerns.17 (Id. ¶¶ 140–41.) In April 2010, a week before the Deepwater Horizon explosion,

BP’s Deputy Ombudsman, Billie Garde (“Garde”), sent Abbott a letter affirming that the

Ombudsman’s office had substantiated Abbott’s concerns.18

        Plaintiffs also point to further evidence of retaliation against employees that came to light

following the Deepwater Horizon disaster. The Presidential Commission Report noted that a

survey conducted in March 2010 indicated that 46% of BP crew members—including crew
16
   According to Plaintiffs, Duff’s letter referred to “hundreds of thousands of Subsea documents that have never
been finalized,” which Duff warned was “fundamentally wrong” and could result in “catastrophic operating errors.”
(Compl. ¶ 138.)
17
   Sawyer’s affidavit called it “inconceivable” for BP to justify production on the Atlantis rig without completed
design documentation and warned of the “substantial risk of large scale damage to the deepwater Gulf of Mexico
(GOM) environment and harm to workers” stemming from “unverified design documents” that impeded BP’s ability
to accurately assess risk. The affidavit concluded that “[t]he extent of documentation discrepancies creates a
substantial risk that a catastrophic event could occur at any time.” (Compl. ¶ 141.)
18
   Garde’s letter stated: “Your concerns about the [Atlantis] project not following the terms of its own Project
Execution Plan were substantiated. . . . [BP] did not do a comprehensive documentation audit regarding the
documentation issues on Atlantis. . . . The concerns that you expressed about the status of the drawings upgrade
project were . . . of concern to others who raised the concern before you worked there, while you were there, and
after you left.” (Compl. ¶ 142.)

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members on the Deepwater Horizon—feared retaliation for reporting unsafe situations. (Id. ¶

144.) Another 15% felt there were not enough employees to carry out work safely. (Id.) BP’s

Ombudsman also conducted an extensive investigation into Acuren, BP’s contractor for pipeline

inspection and monitoring in BP’s Alaskan operations. (Id. ¶¶ 145–50.) One of the contractor’s

employees, Marty Anderson (“Anderson”), raised safety concerns with his supervisors and with

BP intermediaries.        (Id.)   In 2009, BP’s Ombudsman eventually investigated Anderson’s

complaints, substantiated his concerns, and concluded that “[the] concerns were serious, and

although people try to downplay the significance of the issues, they reveal a complete

breakdown.” (Id.) BP’s Ombudsman’s office reported the concerns to BP and BP North

America officials and recommended that Anderson’s concerns be reported directly to BP’s Board

of Directors. (Id.) BP’s Ombudsman, Judge Sporkin, communicated the concerns directly to

Defendant Malone, as President of BP North America.19 (Id.)

        The alleged facts cannot serve as evidence that statements about “strengthening BP’s

safety culture” were false or misleading. Generalized statements about corporate culture are too

vague to be actionable. See, e.g., In re Fleming Co. Inc. Sec. & Derivative Litig., MSL-1530,

2004 WL 5278716, at *26 (E.D. Tex. June 16, 2004) (finding that a statement that the company

instituted a “culture of thrift” was simply “too general to constitute a material misstatement as

required under Rule 10b-5”). However, the alleged facts sufficiently, even forcefully, establish

that BP was knowingly retaliating against workers who reported safety concerns, even while

issuing statements explicitly denying any retaliation. Further, the alleged facts call into question

specific statements made by Malone—who, according to Plaintiffs, had direct contact with the

19
   Defendants urge the Court to take judicial notice of a subsequent MMS report finding Abbott’s claim to be
without merit. (Doc. No. 150, at 23 n. 17.) The Court declines to do so at this time. Plaintiffs have made specific
allegations in their Complaint with respect to Abbott’s experience that the Court is bound to accept as true for
purposes of a motion to dismiss. Defendants’ factual disputes are more appropriately left for subsequent
proceedings.

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Ombudsman and was aware of such concerns—and Hayward claiming that BP “listened to

operations people” and encouraged employees to raise safety concerns. (Compl. ¶¶ 269, 289.)

Plaintiffs’ facts support their contention that BP retaliated against workers—both its own and

those of its contractors—who reported safety concerns. Because Plaintiffs have alleged facts

directly contradicting BP’s representations that it did not retaliate against workers for reporting

safety concerns, they have adequately pleaded the falsity of the statements they identify

regarding BP’s retaliation.20

                           d. BP failed to disclose budget cuts and layoffs which impacted the
                              safety of drilling operations in the Gulf

         Plaintiffs claim that BP misrepresented its efforts and intentions to improve safety

performance in its operations because the Company actually implemented safety budget cuts and

staff reductions which impacted BP’s ability to safely drill in the Gulf of Mexico. According to

Plaintiffs, evidence of safety and budget cuts demonstrate the false and misleading nature of

statements about BP’s intended progress in the area of process safety. See, e.g., Compl. ¶ 273

(“BP America is in the midst of a comprehensive effort to improve its safety culture and to

strengthen and standardize process safety and risk management programs at all BP-operated

facilities.”); Compl. ¶ 285 (“Safety is our number one priority and in 2007 our overall safety

record continued to improve.”); Compl. ¶ 295 (Hayward: “Safety, people and performance, these

remain our priorities. Our number one priority was to do everything possible to achieve safe,

compliant and reliable operations.”); Compl. ¶ 302 (“Our first priority will always be to ensure

20
   By the Court’s numbering system, statements contained in Misrepresentations 8 (Compl. ¶ 269) and 18 (Id. ¶ 289)
are actionable and those contained in Misrepresentations 15 (Id. ¶ 283), 25 (Id. ¶ 302), and 34 (Id. ¶ 322) are not. In
addition, Plaintiffs claim that Misrepresentations 6 and 19, both containing BP’s statement that “We document and
rigorously follow procedures for safe and effective operating,” was false and misleading because BP in fact failed to
provide adequate documented procedures for its operations. (Id. ¶¶ 266, 291). Plaintiffs point out that Defendants
never specifically challenged this statement in their briefing and argue that it is, therefore, actionable. (Doc. No.
186, at 13). The Court finds that Plaintiffs’ allegations here concerning BP’s retaliation against employees for
reporting safety concerns specifically related to documentation of procedures is sufficient to plead the falsity of this
statement, making it, too, actionable.

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the safety and integrity of our operations.”); Compl. ¶ 324 (“The priorities that drove our success

in 2009 – safety, people and performance – remain the foundation of our agenda as we build our

momentum and work to further enhance our competitive position.”).

       Plaintiffs also claim that BP’s representations that it would prioritize safety over cost-

cutting efforts were false and misleading. See, e.g., Compl. ¶ 281 (Hayward: “We are taking

action to close the competitive gap through a focused effort on three priorities of safety, people

and performance. We are determined to operate safely and reliably, to develop the capability of

our people and to drive performance through restoring operational momentum. At the same time

we are rigorously reducing complexity and cost. In Exploration and Production, we continue to

see the benefits of our strategy.”); Compl. ¶ 300 (Inglis: “There is one important caveat: safe and

reliable operations come first whatever cost efficiency measures we undertake, and we continue

to advance the safety and reliability of our operations through implementing OMS.”); Compl. ¶

308 (“By the way, let me add that managing costs down does not mean BP will be skimping

when it comes to ensuring our operations remain safe, reliable and compliant in the years

ahead.”); Compl. ¶ 322 (“There is one important caveat: safe and reliable operations always

come first, whatever cost efficiency measures we undertake.”).

       Plaintiffs contend that budget cuts and staff reductions in BP’s operations made it

impossible for BP truly to be prioritizing safety in the manner it represented to investors. In

support of this allegation, Plaintiffs point to Hayward’s October 2007 announcement of BP’s

planned reorganization. (Compl. ¶ 115.) The reorganization was intended to increase efficiency,

simplify the organization, improve productivity, and “bring[] up operating units to enable them

to focus on safe, reliable, and profitable operations.” (Id.) Plaintiffs also point to an alleged

merger whereby BP combined its compliance offices in its Houston and London locations. (Id. ¶



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116.) According to a confidential witness (who was laid off during the merger), the merger

caused “huge staff reductions.” (Id.) Plaintiffs also highlight the experience of BP’s former

senior Vice President for Drilling Operations in the Gulf, Kevin Lacy (“Lacy”). (Id. ¶ 118.)

Lacy allegedly had disagreements with BP over “its lack of commitment to process safety,”

which eventually led to his departure from the Company in late 2009.21 (Id. ¶ 119.) BP also

reshuffled other personnel in the Gulf, which Plaintiffs claim led to a dearth of experience in

regional operations and contributed to the Deepwater Horizon explosion. (Id. ¶ 120.) For

example, David Rich (“Rich”), the employee who held the position of Wells Manager for the

Gulf of Mexico, was promoted to the spot only a few weeks before the incident. (Id.) Plaintiffs

allege that neither Rich nor his immediate subordinate had sufficient experience in well control

operations. (Id.)

         The first collection of statements above suffers from the same shortcoming as the

statements related to general “progress” in the area of process safety: all are too vague to be

actionable. With respect to the second set of statements—those where BP represented that safe

operations would take precedence over cost cutting measures—Plaintiffs fail to adequately allege

falsity. Plaintiffs’ allegations regarding the effect of layoffs and budget cuts on BP’s safety

programs are merely conclusory. Even where Plaintiffs cite facts, the connections they draw

between the alleged facts and BP’s safety programs are too attenuated to support the falsity of

the misrepresentations Plaintiffs identify.                For example, Plaintiffs point to Hayward’s

announcement of reorganization in late 2007, but they do not allege facts that demonstrate how

the reorganization might have affected the safety of BP’s drilling operations. (Id. ¶ 115.) They


21
  The parties dispute the proper characterization of Lacy’s departure. Both parties rely on evidence from the MDL
2179 docket to support their positions. (Doc. No. 226, at 2–3.) This Court will not consider evidence outside the
Complaint in deciding the motion to dismiss and it need not do so here, as the viability of Plaintiffs’ allegations does
not turn on the circumstances of Lacy’s departure.

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merely equate “reorganization” with “numerous layoffs and cuts to safety budgets,” and allege

no facts suggesting that the reorganization directly affected BP’s safety budget. (Id.) Plaintiffs

state that layoffs “hit their height in 2009” when BP merged its Houston and London offices.

(Id. ¶ 116.) Instead of attributing the layoffs to predictable fallout from the merger, an equally

plausible explanation, Plaintiffs ask the Court to assume that such layoffs directly hampered

BP’s safety program. (Id.) The alleged facts, even if taken as true, do not support such

unfounded assumptions. See, e.g., Southland, 365 F.3d at 361 (noting that a court need not strain

to find inferences favorable to the plaintiffs). Finally, the departure or reassignment of a handful

of individual employees does not demonstrate anything about BP’s safety program. Lacy’s

departure from BP—however the parties wish to characterize it—is attributed (by Plaintiffs, at

least) to “disagreements with BP over its lack of commitment to process safety.” (Id. ¶ 118.) As

discussed above, BP’s general commitment to process safety is not actionable in the abstract.

And facts related to Lacy specifically—whose departure is not alleged to be tied to staffing

cuts—does not demonstrate the falsity of BP’s statements about prioritizing safety while

simultaneously cutting costs.

       Further, many of the statements Plaintiffs cite as misrepresentations actually demonstrate

that BP was forthcoming with its plans to enact cost-cutting measures. For example, Hayward

was very clear that BP’s cost-cutting measures were a part of BP’s overarching corporate

strategy. See, e.g., Compl. ¶ 281 (Hayward: “We are taking action to close the competitive gap

through a focused effort on three priorities of safety, people and performance.            We are

determined to operate safely and reliably, to develop the capability of our people and to drive

performance through restoring operational momentum. At the same time we are rigorously

reducing complexity and cost. In Exploration and Production, we continue to see the benefits of



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our strategy.”). As Hayward’s statement suggests, when BP’s strategy of balancing cost-cutting

and safe operations worked, it had the potential to benefit investors.                             There is nothing

fundamentally at odds with BP attempting to both prioritize safety and curb expenses, and

Plaintiffs have alleged no facts to suggest that the two goals were necessarily mutually exclusive

here.    Plaintiffs must allege more than that BP merged offices, promoted employees, and

transferred employees between divisions to allege the falsity of BP’s statements regarding

balancing cost-cutting measures with its safety program.                        Plaintiffs have not pleaded the

statements identified here with sufficient particularity required under the PSLRA and Rule 9(b),

and the alleged misrepresentations related to BP’s cost-cutting measures are not actionable.22

                            e. BP misrepresented that OMS would bring uniformity to BP’s
                               worldwide operations

         Plaintiffs allege that BP falsely represented that it was “championing process safety” and

implementing “consistently high standards worldwide” in connection with its OMS. See, e.g.,

Compl. ¶ 271 (Inglis: “One aspect of our focus on safe and reliable operations that I mentioned

earlier is our new standardised Operating Management System (OMS). This will provide a

blueprint for safety and all aspects of operations throughout BP, making sure operations are

undertaken to a consistently high standard worldwide.”); Compl. ¶ 278 (discussing progress in

process safety: “Management systems – Implementation of our operating management system

began at an initial group of sites [in 2007], which included all five US refineries.”); Compl. ¶ 279

(Hayward: “[BP’s OMS brings] greater consistency to [BP’s] operations.”); Compl. ¶¶ 281, 285

(Hayward: “We are making good progress in addressing the recommendations of the Baker

Panel and have begun to implement a new Operating Management System across all of BP’s


22
   By the Court’s numbering system, this makes statements found in Misrepresentation Nos. 10 (Compl. ¶ 273), 14
(Id. ¶ 281), 16 (Id. ¶ 285), 22 (Id. ¶ 295), 24 (Id. ¶ 300), 25 (Id. ¶ 302), 27 (Id. ¶ 308), 34 (Id. ¶ 322), and 35 (Id. ¶
324) not actionable.

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operations.”); Compl. ¶ 283 (“[OMS] is the foundation for a safe, effective, and high-performing

BP. It has two purposes: to further reduce HSE risks in our operations and to continuously

improve the quality of those operations.”); Compl. ¶ 287 (Hayward: “[W]e are also now

introducing our new operating management system (OMS), designed to bring greater consistency

to our operations.”); Compl. ¶ 289 (Hayward: “One of the many consequences for us has been to

develop and to embed a new Operating Management System right across BP – and we operate in

100 countries – so that is no mean feat.”); Compl. ¶ 294 (“During [2008] we began migrating to

the new BP OMS, which has an increased focus on process safety and continuous improvement.

The majority of our operations in North America Gas, the Gulf of Mexico, Colombia and the

Endicott field in Alaska all completed the migration to the OMS in 2008.”); Compl. ¶ 295

(Hayward: “The BP operating management system (OMS) turns the principle of safe and reliable

operations into reality by governing how every BP project, site, operation and facility is

managed.”); Compl. ¶ 300 (Hayward: “We have begun implementation of our Operating

Management System, which covers everything from employee competencies to risk assessment,

and we’re already seeing the benefits.”), (Inglis: “[W]e continue to advance the safety and

reliability of our operations through implementing OMS.”); Compl. ¶ 324 (“BP’s operating

management system (OMS) provides us with a systematic framework for safe, reliable and

efficient operations.”), (“BP’s operating management system (OMS), which provides a single

operating framework for all BP operations, is a key part of continuing to drive a rigorous

approach to safe operations.    2009 marked an important year in continuing to implement

OMS.”); Compl. ¶ 328 (“Safety and operational integrity underpins everything we do, and we

are now in the final phase of rolling out our operating management system that provides a single,

consistent framework for our operations . . . .”) Compl. ¶ 334 (“Providing an integrated and



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consistent way of working, the OMS helps ensure that a rigorous approach to safe operations

continues to be taken.”).

        The most complete description of BP’s OMS program appeared in BP’s 2008 Annual

Report, Form 20-F. The passage describes OMS as follows:

        When fully implemented, OMS will be the single framework within which [BP]
        will operate, consolidating BP’s requirements relating to process safety,
        environmental performance, legal compliance in operations, and personal, marine
        and driving safety. . . . The OMS establishes a set of requirements, and provides
        sites with a systemic way to improve operating performance on a continuous
        basis. BP businesses implementing OMS must work to integrate group
        requirements within their local system to meet legal obligations, address local
        stakeholder needs, reduce risk and improve efficiency and reliability. A number
        of mandatory operating and engineering technical requirements have been defined
        within the OMS, to address process safety and related risks.

(Compl. ¶ 302.) Plaintiffs contend that all of the above statements relating to OMS were false

and misleading because BP continued to rely on different safety standards in different countries

despite having knowledge that uniform practices would have prevented disasters like the

Deepwater Horizon blowout. Specifically, Plaintiffs allege that BP only met higher standards

where individual countries required the Company to do so. (Id. ¶ 106.) For example, Plaintiffs

point out that Norway, Canada, and the United Kingdom impose more rigorous restrictions on

drilling than does the United States in the Gulf of Mexico.23 (Id.) BP followed higher standards

for wells drilled in those jurisdictions but “took advantage of a lower level of regulation in the

Gulf of Mexico.” (Id. ¶ 106.) According to Plaintiffs, had BP operated under the higher

standards imposed in Norway, Canada, or the United Kingdom, the Deepwater Horizon disaster

would not have occurred. (Id. ¶ 108.)

        Plaintiffs also seek to demonstrate the falsity of BP’s statements on its OMS program by


23
   Specifically, other jurisdictions require “two barriers” to be maintained on top of hydrocarbons during well
completion, that wells in temporary abandonment never be left “underbalanced,” and that two blind shear rams be
installed on all BOPs. (Compl. ¶ 106.)

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comparing BP’s standards to those of its industry peers. For example, Shell’s “Safety Case”

methodology requires employees to “make out a satisfactory ‘case’ for the safety of a particular

operation,” rather than “merely follow regulations,” which is all that BP required. (Id. ¶ 107.)

Plaintiffs also point to testimony provided by executives from Shell, Chevron, and Exxon Mobil

to the House Environment Subcommittee following the Deepwater Horizon disaster. (Id. ¶ 111.)

The collective gist of the testimony was that other companies would not have drilled the

Macondo well as BP did. (Id.) Plaintiffs also contend that BP’s “Drilling Wells Operating

Policy” contained “fewer absolute or imperative rules” than the guidelines of other companies

and allowed managers more discretion in deviating from such rules. (Id. ¶ 112.) Finally,

unnamed “safety personnel and drilling engineers within BP” deemed BP’s OMS manual

“confusing, poorly drafted, and incomplete.” (Id. ¶ 113.)

       Defendants argue that BP’s statements about OMS providing a “consistently high

standard worldwide” are too broad and generalized to be actionable.            They are correct.

Describing OMS as a “consistent” and “systematic” program makes no tangible promise to

investors. Such statements do not represent, or even imply, that the same standard will be

applied worldwide.     Plaintiffs would apparently have consistency defined to mean use of

identical safety standards in each of the eighty or more countries where BP operates. But

Plaintiffs do not allege facts to support the imposition of such a metric.

       Plaintiffs argue that BP described OMS as a foundation for safe and effective

performance but failed to disclose that BP’s OMS actually allowed the Company to implement

different safety standards in different regions, so long as the standards met the minimum

regulations required in each region. (Compl. ¶ 272.) Because the U.S. government’s regulations

were more lax than those of other countries, this enabled BP to set laxer safety standards for its



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operations in the Gulf.        Plaintiffs do not allege that BP’s operations violated U.S. law or

regulations in the Gulf; yet, Plaintiffs would have this Court find that BP’s decision to comply

with U.S. regulations rather than self-impose stricter regulations supports the falsity of general

statements about BP’s OMS program. This Court declines to do so. Even assuming Plaintiffs

correctly argue that the Deepwater Horizon disaster would not have occurred had BP been

operating under Canadian, Norwegian, or British standards, they have not pointed to any

statement by BP representing that OMS required it to select the most rigorous drilling regulation

from around the world and follow it worldwide.24 Plaintiffs may prefer the strictures of drilling

regulations promulgated in other countries, but the leniency of U.S. drilling regulations does not

reflect any falsity on BP’s part as to statements regarding its OMS program.

        The Court turns now to Plaintiffs’ allegations that BP’s failure to follow the standards of

peer companies made its statements about OMS false. Plaintiffs set their own definition for

industry standard, claiming that BP’s procedures for deepwater drilling “contained fewer

absolute or imperative rules . . . than the similar guidelines issued by Shell, Exxon Mobil, and

Chevron, i.e., industry standard.” (Id. ¶ 112.) Simply comparing BP’s OMS system to the safety

programs of BP’s industry peers does not explain why BP’s statements about its own program

are false or misleading. Plaintiffs, like all investors, are free to choose between companies when

making investment decisions. None of the misrepresentations about OMS can be false simply

because BP’s OMS was not identical to safety programs among its industry peers when BP never

made any such comparison to other programs.25


24
   In fact, in some of the statements that Plaintiffs identify BP actually disclosed that the OMS program
contemplated local variations based on local law. See, e.g., Compl. ¶ 302 (“BP businesses implementing OMS must
work to integrate group requirements within their local system to meet legal obligations, address local stakeholder
needs, reduce risk and improve efficiency and reliability.”).
25
   The only statement in which BP compared its record to any industry standard is found in Misrepresentation 14,
BP’s 2008 Strategy Presentation, in which Hayward stated that: “Over the last eight years, our safety performance,
measured by Recordable Injury Frequency Rate, the standard measure of safety in our industry, has improved three-

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        In sum, Plaintiffs fail to focus their factual allegations to the actual statements at hand.

The misrepresentations Plaintiffs allege relate specifically to BP’s OMS program and BP’s

representation of the program as one designed to bring “consistency across all operations.” Yet,

Plaintiffs allege no defect in BP’s OMS program. Nor do they allege that OMS was not properly

implemented or that OMS did not apply to all of BP’s operations.26 Instead, Plaintiffs apparently

challenge the substance of the OMS program, contending that its requirements were not rigorous

enough. Plaintiffs do not allege that BP did not do what it represented; instead Plaintiffs allege

that what BP represented it would do was not good enough, as judged against the laws and

regulations of other countries and the practices of BP’s competitors. Plaintiffs have thus failed to

plead with particularity that BP’s statements related to its OMS program were false or

misleading.27

                          f. BP provided false estimates of the spill amount following the
                             Deepwater Horizon explosion

        Plaintiffs allege that BP knowingly provided false estimates of the spill amount in the

days and weeks immediately following the Deepwater Horizon disaster. On April 21, 2010, less

than twenty-four hours after the Deepwater Horizon explosion occurred, BP issued two separate

press releases. One confirmed that there was a fire aboard the rig; the other offered BP’s support

to Transocean and stated that BP “stood ready to assist.” (Compl. ¶ 337.) Plaintiffs claim that


fold. As you can see on this chart, our performance is amongst the best in our industry.” (Compl. ¶ 281.) Plaintiffs
have not challenged that BP’s record as measured by the “Recordable Injury Frequency Rate” was false, nor do
Plaintiffs allege any connection between this particular metric and any statement BP made about OMS.
26
   Some of the statements Plaintiffs identify do address the implementation of OMS. See, e.g., Compl. ¶ 278
(“Implementation of our operating management system began at an initial group of sites, which included all five US
refineries.”); Compl. ¶¶ 281, 285 (Hayward: “We are making good progress in addressing the recommendations of
the Baker Panel and have begun to implement a new Operating Management System across all of BP’s
operations.”). Yet Plaintiffs do not explain why statements about BP’s implementation of OMS were false or
misleading. Plaintiffs allege the same set of facts—related to differing standards country by country and the failure
of OMS to measure up to BP’s industry peers’ programs—with respect to each statement about OMS instead of
tailoring their allegations to the specific misrepresentations they identify.
27
   The non actionable statements are contained in portions of Misrepresentations 9 (Compl. ¶ 271), 12 (Id. ¶ 278),
13–18 (Id. ¶¶ 279–89), 21–22 (Id. ¶¶ 294–95), 24 (Id. ¶ 300), 35 (Id. ¶ 324), 37 (Id. ¶ 328), and 40 (Id. ¶ 334).

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these press releases were false and misleading because in neither release did BP state that oil was

already leaking from the well. (Id.) Plaintiffs allege that BP was already aware of the leak at the

time it issued the press releases because, as McKay later testified, the “first spill response

portions of [the Gulf of Mexico spill plan] were called in two hours after the explosion.” (Id. ¶

338(a).) Plaintiffs also allege that BP falsely represented that it was “ready to assist,” given the

errors in BP’s Regional OSRP, as discussed above. (Id. ¶ 338(b)-(c).)

       Plaintiffs have not adequately alleged the falsity of these statements. An examination of

BP’s first press release reveals that it simply reprinted a statement originally issued by

Transocean reporting a fire on the Deepwater Horizon rig. (Doc. No. 150-25, Ex. U.) The only

line of the press release written by BP stated that “BP confirms that Transocean Ltd. issued the

following statement today,” followed by a reprinting of Transocean’s statement setoff in

quotation marks with the notation “SOURCE: Transocean Ltd.” at the end. (Id.) Because BP’s

press release did not purport to provide any additional information generated by BP, Plaintiffs

have failed to adequately allege the falsity of the statement.

       Plaintiffs also fail to demonstrate the falsity of the second press release, dated April 21,

2010. In the statement, BP stated that “it stood ready to assist in any way.” (Doc. No. 150-26,

Ex. V.) The release also included a quote from Hayward stating that, “We are also very focused

on providing every possible assistance in the effort to deal with the consequences of the

incident,” and offered condolences to the rig personnel and families involved. (Id.) The general

statement that BP “stood ready to assist” is too vague to be material. See In re Franklin Bank

Corp. Sec. Litig., 782 F. Supp. 2d 364, 385–86 (S.D. Tex. 2011) (categorizing a statement such

as “we can shepherd this institution through this cycle” as non-actionable puffery). In addition, a

statement must be false or misleading at the time it was made. Plaintiffs point to the errors in



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BP’s Regional OSRP, that were subsequently revealed as BP actually took action to assist. But

Plaintiffs do not allege that BP knew of the errors at the time it offered assistance to Transocean.

       The additional statements Plaintiffs contend are false all contained numerical estimates of

the spill in the days following the explosion. On April 28, 2010, Suttles stated that BP’s best

estimate was 1,000 barrels of oil flowing from the well. (Compl. ¶ 342.) Suttles also made

reference to a “new point of leak” in the blowout preventer area but stated that, “[g]iven the

location, we do not believe this changes the amount currently estimated to be released.” (Id.)

On April 29, Suttles conducted an interview on The Early Show and provided the following

estimate: “I think that somewhere between one and five thousand barrels a day is probably the

best estimate we have today.” (Id. ¶ 344.) On May 5, 2010, the Houston Chronicle interviewed

Hayward, who stated that “the guesstimate remains 5,000 barrels a day.” (Id. ¶ 353.) Plaintiffs

contend that these spill estimates were false and misleading because BP was in possession of two

internal documents giving different estimates than those BP provided to the public.

       The first of the two documents is an internal BP document entitled, “Estimation of the Oil

Released from Deepwater Horizon Incident.” The document is dated April 26, 2010, marked

“1200 hrs,” and gives an estimate of “roughly 5000” barrels per day. (Doc. No. 150-27, Ex. W.)

The second document is an internal BP document marked “BP Confidential” dated May 17,

2010, with that date crossed out and “4/27/20” written in. (Doc. No. 150-28, Ex. X.) The

document provided three estimates of the spill amount: a low estimate of 1,063 barrels per day, a

“Best Guess” estimate of 5,758 barrels per day, and a high estimate of 14,266 barrels per day.

(Id.) These two documents sufficiently demonstrate the alleged falsity of the estimates provided

by both Suttles and Hayward. The April 26 document gave an estimate of “roughly 5,000

barrels,” yet on April 28 Suttles pegged BP’s best estimate at only 1,000 barrels. Subsequent



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statements by Suttles and Hayward put the estimate at “somewhere between 1,000 and 5,000” or

at a “guesstimate” of 5,000, while the second document from April 27 clearly shows that BP’s

best estimate was actually over 5,000 and as high as 14,000 barrels per day. The documents

support Plaintiffs’ contention that BP was lowballing the estimate numbers in an attempt to keep

stock prices from falling. Whether the facts will actually establish that BP intentionally gave the

public lower estimates is an issue for trial. See, e.g., Joffee v. Lehman Bros., Inc., No. 04 Civ.

3507, 2005 WL 1492101, at *6 (S.D.N.Y. June 23, 2005) (holding that factual disputes are

inappropriate for disposition on a motion to dismiss). Plaintiffs have alleged facts sufficient to

call into question the truth of these three estimates.

        Plaintiffs also allege that Suttles’s statements regarding BP’s use of the cofferdam were

misleading. See, e.g., Compl. ¶ 351 (“Over the weekend, then, we’ll be attaching that dome to

the drillship Enterprise with a riser pipework assembly, which will allow the oil to flow up to the

surface and be processed. So if all goes to plan, we should begin to start that operation, the

beginning of trying to process the fluids on the surface and stop the spilling to the sea, on

Monday.”). Plaintiffs contend this statement was false because, according to Plaintiffs, the use

of the cofferdam was “highly likely to fail” and had never been used in a deepwater

environment. (Id. ¶ 352.) Plaintiffs identify no factual support for their argument and give no

explanation or source to explain why it was likely to fail. Because Plaintiffs have not adequately

alleged the falsity of this statement, it is not actionable.

        Finally, Plaintiffs allege that Dudley’s statement that the Deepwater Horizon rig “had

handled some of the industry’s greatest technical challenges, and her safety record had been

excellent and had recently won awards,” was false and misleading. (Id. ¶ 355.) Plaintiffs

contend that Dudley’s portrait of the rig’s safety record was inaccurate because it failed to take



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into account that the rig had suffered problems as far back as 2005. (Id. ¶ 356.) Additionally,

even if the Deepwater Horizon was at one point a safe rig, Dudley’s statement omitted the facts

that BP had removed one of the two blind shear rams on the rig after leasing it from Transocean,

the BOP on the Deepwater Horizon failed multiple tests in the week leading up to the explosion,

that there were other indicators of operational problems, and that BP postponed the MMS’s

planned inspection of the BOP on March 10, 2010. (Id. ¶ 356(b)-(e).) Plaintiffs have alleged

sufficient facts to call into question whether Dudley’s statements about the Deepwater Horizon

rig misrepresented the rig’s safety record or omitted key concerns about the rig of which BP was

aware in the months leading up to the explosion.

        With respect to the post-spill statements, Plaintiffs have alleged a sufficient basis to

contend that the post-spill statements were false and misleading only with respect to Suttles’s

statements that provided numerical estimates of spill amounts and Dudley’s representations as to

the Deepwater Horizon rig’s safety record.28

                          g. Other allegations

        Plaintiffs also allege that statements that mentioned deepwater drilling in the Gulf of

Mexico, BP’s leadership in deepwater drilling, the competitive advantage afforded BP by such

operations, and deepwater drilling’s effect on the environment were misleading because of the

risks associated with such operations. See Compl. ¶ 264 (“Profit centres are, or are expected to

become, areas that provide significant production and income for the segment. Our new profit

centres are in . . . the deepwater Gulf of Mexico . . . where we believe we have competitive

advantage.”); Compl. ¶ 271 (“We are developing strong growth in deepwater and tight gas

though a spread of major projects around the world.”); Compl. ¶ 292 (“[W]e have the know-how

28
  Following the Court’s numbering system, the actionable statements are contained in Misrepresentations 42
(Compl. ¶ 342), 43 (Id. ¶ 344), 45 (Id. ¶353), and 46 (Id. ¶ 355). Statements contained in Misrepresentations 41 (Id.
¶337) and 44 (Id. ¶ 351) are not actionable.

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and technology to tap these resources safely and with minimal impact to the environment.”);

Compl. ¶ 297 (McKay: “The track record of BP and the industry generally in the Western and

Central Gulf of Mexico (GOM) demonstrates that when areas are opened, they can be leased,

explored and developed to the highest environmental and operational standards in the world.”);

Compl. ¶ 312 (Eyton: “And, it is worth emphasizing that throughout this period and despite the

extremes of geography in which we operate, technology has continuously improved the safety

and environmental footprint of our industry.”); Compl. ¶ 326 (“We’ve developed the capability

to create advanced floating production facilities, complex riser systems and subsea equipment

with the ability to integrate the elements to cope with extreme temperatures, pressures, and

oceanographic conditions. And that has enabled BP to become the leading deepwater IOC.”);

Compl. ¶ 328 (“Among the majors, we are now the leading deepwater producer and a lot of our

deepwater experience has, of course, been gained in the Gulf of Mexico.”).

         Defendants argue that Plaintiffs have failed to allege the falsity of these statements and

that the statements are “not specific enough to perpetrate a fraud on the market.” Rosenzweig,

332 F.3d at 870 (citation omitted) (internal quotation marks omitted).                           The Court agrees.

Statements about BP’s leadership in the deepwater drilling industry are too vague to be

actionable. See, e.g., Taubenfeld v. Hotels.com, 385 F. Supp. 2d 587, 592 (N.D. Tex. 2004)

(finding immaterial as a matter of law statements “worded as vague optimism, not phrased in

terms of guarantees” because such statements are too vague for investors to rely on). Because

Plaintiffs have not pleaded with particularity the misrepresentations related to deepwater drilling

generally and BP’s position in the industry, these statements are not actionable.29



29
  Using the Court’s numbering system, the nonactionable statements are included in Misrepresentation Nos. 5
(Compl. ¶ 264), 9 (Id. ¶ 271), 20 (Id. ¶ 292), 22 (Id. ¶ 295), 23 (Id. ¶ 297), 29 (Id. ¶ 312), 31 (Id. ¶ 316), and 36 (Id.
¶326).

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                                2. The Adequately Alleged Misrepresentations are Material

       Plaintiffs have pleaded with particularity misrepresentations involving BP’s progress in

implementing the Baker Report’s recommendations, its ability to respond to a spill in the Gulf of

Mexico, reported retaliation against employees who raise safety concern, and post-spill estimates

of the spill amounts. Defendants argue that statements about safety and BP’s progress in

implementing process safety changes are not material. (Doc. No. 150, at 15.) They further claim

that any failure to include details about problems specific to the Deepwater Horizon rig appear

material only in hindsight. (Id., at 21.) Because materiality is judged at the time of the alleged

misrepresentation, Defendants argue that such information could not have been material before

the Deepwater Horizon incident. See, e.g., Shaw Group, 537 F.3d at 541 (considering whether

concealed problems with customer were material to announcement before problems became

public).

       A misrepresentation or omission is material if there is a substantial likelihood that a

reasonable investor would consider the information to have significantly altered the total mix of

information about investing in the company. ABC Arbitrage, 291 F.3d at 361. “[G]eneralized,

positive statements about the company’s competitive strengths, experienced management, and

future prospects” are immaterial. Rosenzweig, 332 F.3d at 869. In addition, “[v]ague, loose

optimistic allegations that amount to little more than corporate cheerleading are ‘puffery,”

projections of future performance not worded as guarantees, and are not actionable . . . because

no reasonable investor would consider such vague statements material and because investors and

analysts are too sophisticated to rely on vague expressions of optimism rather than specific

facts.” In re Sec. Litig. BMC Software, Inc., 183 F. Supp. 2d 860, 888 (S.D. Tex. 2001).




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       Defendants contend that statements about BP’s progress in implementing the Baker

Panel’s recommendations are not material.        The Baker Panel report was unquestionably

important; BP in fact held a press conference to announce the final report and to publicly declare

its commitment to reforming the Company’s process safety efforts. The report was critical in

that it flagged inadequacies in BP’s corporate management structure and urged BP to

expeditiously implement reforms critical to preventing future disasters. (Compl. ¶ 74.) The

report, by its own terms, required BP to provide the public with regular reports on the

Company’s progress in implementing the recommendations. (Id.) This continuous reporting

requirement underscores that the Baker Report did in fact serve as a metric by which investors

could keep tabs on BP’s compliance efforts and progress. BP, too, made the recommendations

material by providing consistent updates on the Company’s progress.

       Defendants also claim that statements in the IEP and the Regional OSRP about BP’s

ability to respond to a spill, as well as post-spill estimates, could not have been misleading to

investors because such statements were either made, or revealed to be inadequate, days after the

Deepwater Horizon explosion, when investors were already aware of the catastrophe. The Court

is not persuaded that the spill estimates were immaterial. Since 2007, BP had claimed that it was

implementing specific process safety reforms, including both policies and practices, to prevent

accidents like those at Texas City and Prudhoe Bay from reoccurring. BP also filed very detailed

documents—the IEP and the Regional OSRP—outlining its ability to prevent and respond to

accidents in the Gulf. Both documents contained specific spill estimates for the region and

assurances that the Company was prepared to respond to a spill of up to 491,721 barrels of oil

per day in the Gulf. (Compl. ¶ 314.) Thus, when Suttles announced that the spill rate after the

Deepwater Horizon explosion was only 1,000 barrels per day, and even when Hayward



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subsequently took the “guesstimate” up to 5,000 barrels per day, investors—based on all of BP’s

prior representations about beefed up process safety efforts and comprehensive spill response

plans—could have indeed believed that BP was equipped to contain a spill in the amounts BP

represented. Knowledge that process safety reforms were not being applied to the Deepwater

Horizon rig, that the Regional OSRP vastly overstated BP’s ability to respond to a spill, and that

Suttles’s estimates greatly understated the spill amount, would have indeed altered the “total mix

of information” available to investors and, possibly, undercut their confidence in their

investment. Post-spill estimates of the spill amount are material because “[t]he omission of a

known risk, its probability of materialization, and its anticipated magnitude, are usually material

to any disclosure.” Lormand, 565 F.3d at 248; see also Basic, 485 U.S. at 232. Pre- and post-

spill statements providing false assurances to the market that BP had everything under control

could have, as Plaintiffs allege, kept prices artificially inflated until it became clear to

investors—through government, regulatory, and third-party reports—that BP was in reality

“making it up day to day.” (Compl. ¶ 217.) BP’s implementation of promised safety reforms

and representation as to its ability to respond to spills in the Gulf of Mexico—one of the

Company’s professed profit centers—goes to the heart of BP’s corporate value and financial

stability and is information material to investors.

       Materiality “is not measured by literal truth, but by the ability of the statements to

accurately inform rather than mislead prospective buyers.” Lormand, 565 F.3d at 248; see also

Isquith ex rel. Isquith v. Middle S. Utils., Inc., 847 F.2d 186, 203 (5th Cir. 1988) (noting that

“emphasis and gloss can, in the right circumstances create liability” under Rule 10b–5). The

Court declines to dismiss the Complaint on the basis that Plaintiffs are relying on statements in

BP’s public filings and statements that are not material.       “Because materiality is a mixed



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question of law and fact, it is usually left for the jury.” United States v. Peterson, 101 F.3d 375,

380 (5th Cir. 1996). Although on a motion to dismiss “a court can determine statements to be

immaterial as a matter of law,” the Court cannot say here, on the basis of Plaintiffs’ Complaint

and Defendants’ arguments, that each of the misrepresentations that Plaintiffs have sufficiently

alleged to be false and misleading are immaterial as a matter of law. ABC Arbitrage, 291 F.3d at

359.

                                       3. The Adequately Alleged Misrepresentations are Not
                                          Protected Under the PSLRA’s Safe Harbor Provisions

         The PSLRA provides a safe harbor for “any forward-looking statement, whether written

or oral, if and to the extent that the forward-looking statement is identified as a forward-looking

statement, and is accompanied by meaningful cautionary statements identifying important factors

that could cause actual results to differ materially from those in the forward-looking statement.”

15 U.S.C. § 78u–5(c)(1)(A)(i). If a forward-looking statement is identified as forward-looking

and accompanied by meaningful cautionary statements, the statement is not actionable and the

defendant’s state of mind is irrelevant. In re Enron Corp. Sec., Derivative & ERISA Litigation,

235 F. Supp. 2d 549, 575 (S.D. Tex. 2002) (citing Harris v. Ivax Corp., 182 F.3d 799, 803 (11th

Cir.1999)). “If the representation or omission is fraudulent, independent of the existence of a

forward-looking statement, the representation or omission is not shielded simply because a

forward-looking statement exists.” In re Blockbuster Inc. Sec. Litig., 2004 WL 884308, at *7

(N.D. Tex. April 26, 2004).

         Defendants contend that eight of the alleged misrepresentations are forward-looking

statements protected by the PSLRA’s safe harbor provision.30 (Doc. No. 150, App. C.) The


30
   The misrepresentations Defendants categorize as forward-looking statements are Misrepresentation Nos. 3
(Compl. ¶ 261), 5 (Id. ¶ 264), 14 (Id. ¶ 281), 15 (Id. ¶ 283), 25 (Id. ¶ 302), 32 (Id. ¶ 319), 34 (Id. ¶ 322), and 35 (Id.
¶ 324).

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Court has already determined that six of the eight statements Defendants identify as forward-

looking are not actionable. See supra Section I.D.1. In addition, while the two remaining

statements Defendants list—those contained in the 2008 Strategy Presentation and BP’s 2009

Annual Report, Form 20-F—are part of the documents containing actionable misrepresentations,

the portions Defendants contend are forward-looking are not the actionable portions of the

documents. See supra Section I.D.1.i. Thus, because the statements Defendants identify as

forward-looking do not contain actionable misrepresentations, the Court need not consider

whether the statements are protected under the PSLRA’s safe harbor provision.

                                4. Plaintiffs Have Adequately Pleaded Scienter Against Some
                                   of the Individual Defendants

       To adequately plead scienter and survive Defendants’ motion to dismiss, the Complaint

must state with particularity enough facts to raise an inference of scienter on the part of at least

one Individual Defendant with regard to at least one allegedly fraudulent statement, and that

inference must be such that a reasonable person would conclude that it is at least as compelling

as any opposing inference. See Tellabs, 155 U.S. at 326; Shaw Group, 537 F.3d at 533–34. “The

critical issue in a motion to dismiss based on insufficient allegations of scienter is whether the

allegations of fraud contained in a plaintiff’s complaint are sufficiently connected to each of the

defendants such that a strong inference of scienter on their part is appropriate.” In re Franklin

Bank, 782 F. Supp. 2d at 387. Thus, the Court must consider whether Plaintiffs have satisfied

the heightened pleading requirements for proving scienter for each allegedly fraudulent

misrepresentation as to each Individual Defendant.

       Defendants take issue with Plaintiffs’ repeated “group pleading,” i.e., that the Complaint

references “Defendants,” “BP,” “BP managers,” or “BP leadership,” rather than specifically

alleging actions or omissions attributable to each named defendant. (Doc. No. 150, at 37–38.)

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Because the Fifth Circuit has rejected the group pleading approach, Plaintiffs must “distinguish

among defendants and allege the role of each with respect to ‘each act or omission’ in the alleged

fraud.” In re TETRA Techs., No. 4:08-cv-0965, 2009 WL 6325540, at *3 (S.D. Tex. 2008); see

also Shaw Group, 537 F.3d at 533 (rejecting the group pleading approach to scienter in the Fifth

Circuit). While Plaintiffs frequently present only what “BP” allegedly knew in their factual

allegations, Plaintiffs do tether the majority of the alleged misrepresentations and omissions they

identify to one or more of the Individual Defendants and name the specific speaker or

responsible party. Therefore, although the Court must disregard group pleaded allegations in the

Complaint, Plaintiffs have distinguished among the roles of each Individual Defendant to a

sufficient degree to require this Court to undertake scienter analysis with respect to each

Individual Defendant.

         Plaintiffs name ten Individual Defendants. Defendants argue that Plaintiffs have not

made individualized scienter allegations as to six of them: Browne, Conn, Dudley, Grote,

Hayward, and Rainey. With respect to the other four defendants—Inglis, McKay, Suttles, and

Malone—Defendants contend that the scienter allegations are inadequate. The Court addresses

scienter with respect to each Individual Defendant separately below.31

                                                a. McKay

         McKay has served as Chairman and President of BP American since January 2009.

(Compl. ¶ 39.)        In 2007, McKay worked as the Senior Group Vice President of BP and

Executive Vice President of BP America. (Id.) According to Plaintiffs, these positions made

McKay responsible for BP’s negotiations on the settlements in both the Texas City and Prudhoe

31
   In their response to the motion to dismiss, Plaintiffs make additional scienter allegations. Specifically, Plaintiffs
allege that Hayward, Conn, and Inglis “reviewed copious information relating to safety deficiencies through their
membership on the Group Operations Committee (“GORC”).” (Doc. No. 186, at 29.) Because Plaintiffs did not
include any mention of the GORC in their Complaint, the Court does not consider this information in its scienter
analysis.

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Bay incidents. (Id.) Plaintiffs also allege that McKay communicated with the BP Ombudsman,

Judge Sporkin, regarding the concerns an EPA attorney, Jeanne Pascal, expressed about BP’s

operations.    (Compl. ¶ 133.)   Defendants concede that Plaintiffs did assert individualized

allegations of scienter against McKay, but claim that such allegations are inadequate. (Doc. No.

150, at 43.)

       McKay is alleged to have made two of the forty-six misrepresentations identified in the

Complaint, one in his testimony before the U.S. House of Representatives in February 2009, and

another at the Howard Weil Conference in New Orleans in March 2009. (Misrep. Nos. 23 & 27;

Compl. ¶¶ 297–99, 308–09.) Because the Court has already determined above that the two

alleged misrepresentations attributable to McKay are not actionable, Plaintiffs cannot

demonstrate scienter as to Defendant McKay. See Blackwell, 440 F.3d at 287 (explaining that a

complaint must specifically tie individual defendants to the statements or omissions, or it will

fail under the PSLRA’s heightened pleading standard.). The Court therefore dismisses Plaintiffs’

claims against McKay.

                                      b.   Conn

       Defendant Conn is BP’s Chief Executive for BP Refining and Marketing, and he also

serves as a member of BP’s executive management. (Compl. ¶ 42.) Conn is alleged to have

participated in three separate strategy presentations made to investors, one in February 2008

(Misrep. No. 14; Compl. ¶ 281), one in March 2009 (Misrep. No. 24; Compl. ¶ 300–01), and one

in March 2010 (Misrep. No. 34; Compl. ¶ 322–23). The Court has determined above that two of

these presentations contained no actionable misrepresentations. The only remaining actionable

misrepresentation is contained in the February 2008 Strategy Presentation conference call with

investors, in which Conn is alleged to have participated. (Misrep. No. 14; Compl. ¶ 281.)



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Plaintiffs identify some specific statements made by Defendants Hayward and Inglis during the

call, but they tie no specific statement to Conn. (Id.) The only actionable misrepresentation is

contained in the portion of the call transcript attributed to Hayward; the remaining unattributed

section contains no actionable misrepresentation. (Id.) Because Plaintiffs’ allegation that Conn

participated in the call is insufficient to connect him to any actionable misrepresentation, the

Court dismisses Plaintiffs’ claims against Conn.

                                       c. Grote

       Defendant Grote is BP’s CFO. He has held the position since 2002 and, in addition, has

served as one of BP’s directors since 2000. (Compl. ¶ 40.) Plaintiffs link Defendant Grote to

seven of the alleged misrepresentations. Only one statement is attributed to Grote individually.

With respect to all of the others, Grote is alleged to have participated on conference calls with

investors (Misrep. Nos. 2, 14; Compl. ¶¶ 258, 281) or signed BP’s public filings in his capacity

as CFO (Misrep. Nos. 5, 15, 25, 35; Compl. ¶¶ 264, 283, 302, 324). The one misrepresentation

attributed to Grote individually was also part of a conference call that took place in April 2007.

(Misrep. No. 7, Compl. ¶ 267.) Following this Court’s analysis above, only two of the alleged

misrepresentations involving Defendant Grote are actionable, Misrepresentations 14 and 35. See

supra Section I.D.1.a.

       Misrepresentation 14 is contained in a strategy presentation made during a conference

call in which Grote, along with Hayward, Inglis, Dudley, and Conn, allegedly participated.

Plaintiffs identify some specific statements made by Defendants Hayward and Inglis during the

call, but they tie no specific statement to Grote.      (Compl. ¶ 281.)     The only actionable

misrepresentation is contained in the portion of the call transcript attributed to Hayward; the




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remaining unattributed section contains no actionable misrepresentation.32                       (Id.)   Plaintiffs’

allegation that Grote generally participated in the call is insufficient to connect him to this

misrepresentation.

         Misrepresentation 35 refers to statements in BP’s 2009 Annual Report, Form 20-F, which

BP filed with the SEC on March 5, 2010. (Id. ¶ 324.) Corporate officers such as Grote cannot

be liable for allegedly fraudulent statements solely because of their positions at BP.                           See

Southland, 365 F.3d at 364–65. Corporate statements can, however, be tied to directors and

officers if plaintiffs allege that the officer or director signed the document containing the

statements or allege their involvement in creating the documents. Blackwell, 440 F.3d at 287;

see also Southland, 365 F.3d at 365 (explaining that a corporate officer can be connected to an

unattributed corporate document by pleading a signature on the document or “particular factual

allegations explaining the individual’s involvement in the formulation of either the entire

document, or that specific portion of the document, containing the statement”). Plaintiffs have

alleged that Grote signed the Annual Report.33 (Compl. ¶ 324.) Because the Complaint pleads

that Grote signed the Annual Report, the allegedly fraudulent statements in the Form 20-F can be

attributed to him. However, connecting the statement to Grote does not answer the question of

whether Plaintiffs have adequately pleaded scienter on the part of Grote with respect to the 2009

Annual Report.

32
   Plaintiffs also identify an additional statement made by Grote in an October 2007 conference call. According to
Plaintiffs, Grote told analysts that plans to reorganize the company were “designed to simplify the organization and
improve productivity and accountability, bringing up operating units to enable them to focus on safe, reliable, and
profitable operations.” (Compl. ¶ 115.) However, Plaintiffs do not identify this statement in the section of their
Complaint devoted to misrepresentations and omissions and, therefore, the Court does not consider it.
33
   Plaintiffs did not attach a copy of BP’s 2009 Annual Report to their Complaint, but the Court takes judicial notice
of the contents of this publicly filed document. See BP’s 2009 Form 20-F, Exhibit 13 (Certificates Certification),
available at: http://www.sec.gov/Archives/edgar/data/313807/000095012310021364/u08439exv13.htm; see also
Lovelace v. Software Spectrum Inc., 78 F.3d 1015, 1018 & n. 1 (5th Cir. 1996) (explaining that, in securities cases,
courts may take judicial notice of the contents of public disclosure documents that the law requires to be filed with
the SEC). While Defendants did attach the 2009 Form 20-F as an exhibit to their motion to dismiss, they did not
include the certification page relevant for the Court’s scienter analysis. (Doc. No. 150, Ex. G).

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       In alleging that Grote signed BP’s Annual Report, Plaintiffs are referring to the

certification furnished pursuant to the Sarbanes-Oxley Act of 2002 (“SOX”), which requires

senior executives of public companies to certify the accuracy of quarterly and annual financial

reports. See 15 U.S.C. § 7241(a). But a SOX certification, standing alone, is not indicative of

scienter. The Fifth Circuit has made clear that “a Sarbanes-Oxley certification is only probative

of scienter if the person signing the certification was severely reckless in certifying the accuracy

of the financial statements.” Shaw Group, 537 F.3d at 545 (quoting Garfield v. NDC Health

Corp., 466 F.3d 1255, 1266 (11th Cir. 2006)). “There must be, in other words, facts establishing

that the officer who signed the certification had a reason to know, or should have suspected, due

to the presence of . . . ‘red flags,’ that the financial statements contained material misstatements

or omissions.” Id. (internal quotation marks omitted). Although the Complaint nominally pleads

that “Defendants” and “BP” were aware of BP’s failure to make progress on process safety

following issuance of the Baker Report, not one of the statements listed in the Complaint to

demonstrate this knowledge is attributed to Grote specifically. Instead, the Complaint merely

states that Grote, as a member of BP’s executive management, was “responsible for the day-to-

day running of BP.” (Compl. ¶ 40.) The Complaint pleads no facts to support this allegation.

See In re Franklin Bank, 782 F. Supp. 2d at 376 (“Conclusory allegations that a defendant

‘should have known’ about internal corporate problems based merely on his position or status

within the corporation will not suffice to establish scienter.”). Accordingly, Plaintiffs’ allegation

that Grote committed securities fraud with respect to the 2009 Annual Report fails to adequately

plead scienter under the heightened pleading requirements of Rule 9(b) and the PSLRA. The

Court therefore dismisses Plaintiffs’ claims against Grote.




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                                       d. Browne

       Browne served as BP’s CEO from 1995 until April 2007, when he was succeeded by

Hayward. (Compl. ¶¶ 18, 37.) Browne worked for BP for less than four months of Plaintiffs’

three and a half year Class Period.      Plaintiffs attribute five misrepresentations to Browne.

(Misrepresentation Nos. 1–5, Compl. ¶¶ 256–65.) Because the Court has found that all five of

the misrepresentations are not actionable, Plaintiffs cannot adequately plead scienter with respect

to Browne. See supra Section I.D.1.a. Accordingly, the Court dismisses Plaintiffs’ claims

against Browne.

                                       e. Rainey

       Rainey is BP’s Vice President of Exploration for the Gulf of Mexico. Plaintiffs allege

that Rainey made one of the forty-six misrepresentations identified in the Complaint.

Specifically, Plaintiffs point to testimony Rainey gave before the U.S. Senate Committee on

Energy and Natural Resources on November 19, 2009. (Compl. ¶ 316.) The Court determined

above that the actionable portion of Rainey’s testimony relates to Rainey’s representation that

BP’s production facilities had the necessary contingency plans in place to respond to incidents.

See supra Section. I.D.1.b. By identifying specific portions of Rainey’s testimony, Plaintiffs

have adequately attributed an actionable misrepresentation to him. However, the Court must still

determine whether Plaintiffs have adequately pleaded scienter on the part of Rainey with respect

to the alleged misrepresentation.

       In this Court’s determination, Plaintiffs have failed to do so. The Complaint alleges that

Rainey misrepresented BP’s true risk profile by failing to disclose prior safety failures and

problems revealed in BP’s audit of the Deepwater Horizon, misrepresented the BOP’s system of

safety controls while failing to disclose that BP had removed redundant systems, and falsely



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represented that BP could conduct safe operations when BP did not have adequate controls in

place.     (Compl. ¶¶ 318(c)-(e).)            Yet the Complaint pleads no facts to support Rainey’s

knowledge of any of these facts.34

         Instead, the Complaint merely states that Rainey, as a member of BP’s executive

management, was “responsible for the day-to-day running of BP.” (Id. ¶ 40.) No facts are given

in support of this conclusion. Because “[c]onclusory allegations that a defendant ‘should have

known’ about internal corporate problems” based solely on his position within the company are

insufficient to establish scienter, Plaintiffs’ have not adequately pleaded scienter with respect to

Rainey under the heightened pleading requirements of Rule 9(b) and the PSLRA. See In re

Franklin Bank, 782 F. Supp. 2d at 376. The Court therefore dismisses Plaintiffs’ claims against

Rainey.

                                                 f. Inglis

         Inglis was BP’s Chief Executive of Exploration and Production and an executive director

from February 2007 until October 2010.                     (Compl. ¶ 38.)         Plaintiffs attribute six alleged

misrepresentations to Inglis. (Misrep. Nos. 9, 14, 24, 34, 36 & 37; Compl. ¶¶ 271, 281, 300,

322, 326–329.)         Following the Court’s analysis above, only one of the misrepresentations

Plaintiffs attribute to Inglis is actionable. (Misrep. No. 14; Compl. ¶ 281.)

         The actionable statement, Misrepresentation 14, is contained in a strategy presentation

made during a conference call in which Inglis, along with Hayward, Grote, Dudley, and Conn,

34
  At oral argument, Plaintiffs referenced, for the first time, additional allegations of scienter with respect to the post-
spill statements. Specifically, Plaintiffs asserted that Rainey acted as Suttles’ “right-hand man” in BP’s spill
response efforts. Rainey apparently worked as “BP Deputy Incident Commander from the Unified Area
Command.” (Transcript, Doc. No. 305, at 64, lns. 23-25). Plaintiffs claimed that, since the filing of the Complaint,
they have obtained “absolutely clear evidence, deposition testimony from Mr. Suttles and Mr. Rainey, that Mr.
Rainey was delegated by Mr. Suttles to prepare these spread flow worksheets every day and prepared multiple ones
every day. He spoke twice on the phone with Suttles and others every day.” (Id., at 73, lns. 5-9). Plaintiffs alleged
no post-spill misrepresentations attributed to Defendant Rainey in the Complaint and the Court will not consider any
of the additional information provided for the first time during oral argument.


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allegedly participated. (Compl. ¶ 281.) Plaintiffs identify as misrepresentations one specific

statement made by Inglis and two made by Hayward during the call. (Id.) However, the only

actionable misrepresentation is contained in the portion of the call transcript attributed to

Hayward; the remaining unattributed section contains no actionable misrepresentation. (Id.)

Because Plaintiffs have identified no actionable misrepresentations attributable to Defendant

Inglis, Plaintiffs cannot adequately plead scienter with respect to Inglis. The Court therefore

dismisses Plaintiffs’ claims with respect to Inglis.35

                                              g. Hayward

        Hayward was BP’s CEO from May 2007 until October 2010. (Compl. ¶ 36.) Before

assuming the position of CEO, Hayward was CEO of BP’s Exploration and Production business

segment, which “oversees exploration and drilling in the Gulf of Mexico, among other places.”

(Id.) He also served as an executive director from 2003 until November 2010. (Id.) Plaintiffs

portray Hayward as the driving force behind BP’s campaign to “turn the corner on safety,” and

they attribute more of the alleged misrepresentations to Hayward—nineteen out of the total

forty-six—than to any other Individual Defendant. The Court has determined that nine of the

nineteen statements attributable to Hayward are actionable. See supra Section I.D.1. The

actionable misrepresentations include: statements made by Hayward at the Houston Forum in

2007 (Misrep. No. 11; Compl. ¶ 275); portions of BP’s 2007 Annual Review, which Hayward

signed (Misrep. No. 12; Compl. ¶ 278); statements attributed to Hayward from a 2008 Strategy

Presentation conference call with investors (Misrep. No. 14; Compl. ¶ 281) and the 2009 General

Meeting (Misrep. No. 28; Compl. ¶ 310); a speech Hayward gave during BP’s 2008 Annual


35
   Defendants argue that Plaintiffs’ one specific scienter allegation with respect to Inglis—that former BP employee
Kevin Lacy communicated concerns about safety protocols in BP’s drilling practices to Inglis—is insufficient to
allege scienter. Because there are no actionable misrepresentations or omissions attributed to Defendant Inglis, the
Court need not determine the adequacy of the scienter allegation.

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General Meeting (Misrep. No. 16; Compl. ¶ 285); a speech Hayward gave at the HRH Prince of

Wales 3rd Annual Accounting for Sustainability Forum in December 2008 (Misrep. No. 18;

Compl. ¶ 289); statements in BP’s 2009 Annual Report (Misrep. No. 35; Compl. ¶ 324); a

speech at the Peterson Institute for International Economics in Washington, D.C. in March 2010

(Misrep. No. 38; Compl. ¶ 330); and post-spill estimates of the spill rate Hayward gave during

interviews following the Deepwater Horizon incident (Misrep. No. 45; Compl. ¶ 353). Aside

from the one post-spill statement, all of the actionable misrepresentations Plaintiffs attribute to

Hayward involve Hayward’s representations that BP was making progress in addressing the

recommendations of the Baker Panel Report and improving its process safety systems following

the Texas City incident.

       Defendants claim Plaintiffs have failed to adequately plead scienter with respect to

Hayward. They have not. Plaintiffs adequately allege scienter with respect to Hayward by

pointing to Hayward’s own admissions as to what his job as CEO entailed, including verbal

commitments revealing that he took responsibility for BP’s process safety efforts and was the

key individual tracking that progress. From the very beginning, when he succeeded Browne as

CEO in May 2007, Hayward committed to “focus on safety like a laser.” (Compl. ¶ 18.) As

outgoing CEO, Browne, too, stated that Hayward intended to “take a lead . . . by championing

process safety.” (Id. ¶ 75.) As CEO, Hayward implemented an “Operations Academy,” a safety

course for BP executives. (Id. ¶ 20–21.) Hayward attended the Operations Academy and took

coursework specifically focused on process safety. (Id.) Hayward claimed he was following the

implementation of BP’s OMS program and repeatedly mentioned the Company’s goals for the

program. (Id. ¶¶ 104, 279.) Hayward also had a hand in BP’s reorganization efforts; in fact, he

was the first to announce BP’s plans to undergo reorganization. (Id. ¶ 115.) Throughout his



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time as CEO, Hayward continued to tout BP’s safety improvements, even stating in 2009 that he

was “so bored with saying ‘safety, people, and performance,’ but I have determined that I’m not

going to say anything else.” (Id. ¶ 254.) Although not all of the statements are actionable,

Plaintiffs point to at least eighteen separate occasions on which Hayward spoke of BP’s progress

in process safety or its progress as measured since the Texas City accident in 2005. Hayward’s

own actions as the spokesperson and champion for BP’s reform efforts weigh strongly in favor

of the inference that Hayward paid special attention to BP’s process safety efforts or, at the least,

was reckless in not doing so while continuing to publicly tout improvements. See, e.g., In re

NetSolve, Inc. Sec. Litig., 185 F. Supp. 2d 648, 697 (W.D. Tex. 2001) (finding allegations of

scienter adequate where undisclosed problems should have been obvious to the company’s high

ranking executives); see also Abrams, 291 F.3d at 351–54 (explaining that a securities fraud

complaint may survive where plaintiffs have “alleged facts demonstrating that defendants failed

to review or check information that they had a duty to monitor”); see also In re Washington

Mut., Inc. Sec., Derivative & ERISA Litig., 694 F. Supp. 2d 1192, 1209–1210 (W.D. Wash.

2009) (finding a strong inference of scienter pleaded as to statement about risk management

where defendant was responsible for overseeing risk management). The competing inference—

that Hayward professed to be focused on process safety but remained unaware of actual process

safety concerns in BP’s operations on the ground—is far less compelling.

       In addition, Hayward acknowledged his failures following the spill. In November 2010,

Hayward confirmed that BP was “making it up day to day” following the Deepwater Horizon

spill and had failed to draw up sufficient emergency plans. (Compl. ¶ 217.) Hayward also stated

during an NPR interview about the spill that, “It is indeed BP’s responsibility to deal with this,

and we are dealing with it. . . . There is no doubt about that. It’s our responsibility – we accept it



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fully.” (Id. ¶ 350.) In June 2010, Hayward admitted that it was “an entirely fair criticism” to

blame BP for the poor cleanup effort because “[w]hat’s undoubtedly true is that we did not have

the tools you’d want in your tool kit.” (Id. ¶ 360.) Further, with respect to the post-spill

estimates, Hayward later acknowledged, about a month after he provided public estimates, that

the volume of oil spilling into the Gulf was far greater than BP’s initial statements indicated. (Id.

¶ 372.)

          Hayward’s admissions of the breakdowns in BP’s process safety plans further support the

inference that he was aware of inadequacies. See, e.g., In re Toyota Motor Corp. Sec. Litig., No.

CV 10-922 DSF, 2011 WL 2675395, at *4 (C.D. Cal. July 7, 2011) (finding that “the defects at

issue were simply too significant for it to be plausible that top . . . management was not aware of

the possible ramifications of the problem by the time the statements at issue were made.”); see

also Plotkin v. IP Axess Inc., 407 F.3d 690, 700 (5th Cir. 2005) (explaining that “an egregious

refusal to see the obvious, or to investigate the doubtful, may in some cases give rise to an

inference of recklessness.”); see also In re Enron Corp., 2003 WL 2148157 at *3, *15–16

(holding that red flags, along with the defendants’ positions within the company, were sufficient

to demonstrate scienter). The “number, size, timing, nature, frequency, and context” of the

misrepresentations are all factors that may “shift the balance of the inferences to be drawn from

such allegations . . . significantly in favor of scienter.” In re Fleming Co. Inc. Sec. & Derivative

Litig., No. MD1530, 2004 WL 5278716, at *11 (E.D. Tex. June 16, 2004). Mere weeks after

assuming the position of CEO, Hayward began promoting BP’s efforts to improve its process

safety program. The success of the efforts, in turn, were to determine the success of Hayward’s

tenure as CEO. Over the course of the Class Period, Hayward made numerous and frequent

statements about BP’s progress in the safety arena—so many statements that even Hayward



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admitted he got “bored with saying ‘safety, people, and performance.’” (Compl. ¶ 254.) These

statements, coupled with Hayward’s own representation of his job description and the

responsibility he assumed to spearhead BP’s safety reform efforts, make him more than a run of

the mill corporate officer.36 Hayward defined his position as CEO to include a special and

targeted focus on process safety. Taking him at his own word, the Court finds that Plaintiffs

have sufficiently pleaded scienter with respect to Hayward.37

                                                h. Malone

         Malone was Chairman and President of BP America from July 2006 until February 2009,

and Executive Vice President of BP until March 2009. (Comp. ¶ 45.) Plaintiffs tie Malone to

two of the forty-six alleged misrepresentations.                 One of the alleged misrepresentations by

Malone occurred during his testimony before the U.S. House of Representatives in May 2007.

(Misrep. No. 8; Compl. ¶ 269.) The second is found in a transcript of a BP press release issued

in October 2007. (Misrep No. 10; Compl. ¶ 273–74.) The first statement allegedly falsely

represented that BP did not take retaliatory action against employees who reported safety

concerns; the second statement concerned BP’s progress in safety following the Texas City and

Prudhoe Bay incidents. The Court has already determined that both of these misrepresentations

are actionable. However, the Court must still determine whether Plaintiffs have adequately

alleged scienter with respect to these actionable misrepresentations.



36
   In their briefing, Plaintiffs argue that the timing of Hayward’s resignation, in October 2010, provides an additional
indicia of scienter. While true that a forced departure is “another factor supporting a strong inference of scienter,”
the Court does not find that Plaintiffs have alleged a forced resignation with respect to Hayward. Kaltman v. Key
Energy Servs., 447 F. Supp. 2d 648, 664 (W.D. Tex. 2006). The Complaint merely states that Hayward held the
position of CEO from May 2007 until October 2010. (Compl. ¶ 36.) Plaintiffs have pleaded no facts to support
their suggestion that Hayward’s resignation was forced. Therefore, the Court does not consider this allegation as
providing further support for Plaintiffs’ scienter argument.
37
   For the same reasons discussed below with respect to Defendant Suttles, the Court finds that there is also scienter
with respect to Hayward’s post-spill statement providing lower estimates to the public than those BP actually
possessed. See infra Section I.D.4.j.

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       During his testimony before Congress, Malone claimed that BP did not retaliate against

workers. (Compl. ¶ 269.) In support of scienter, Plaintiffs allege that Malone had direct

knowledge of concerns over BP’s retaliation against employees through communications Malone

had with BP’s Ombudsman, Judge Sporkin. (Id. ¶ 146.) The fact that Malone allegedly

possessed direct knowledge of retaliation would be evidence of scienter with respect to Malone’s

representations to the contrary if Plaintiffs had alleged that Malone possessed such knowledge

when he made the statement. See In re Entrust Sec. Litig., No. 2:00CV119, 2002 WL 31968321,

at *5 (E.D. Tex. Sept. 30, 2002) (finding no scienter where “plaintiffs have pleaded no specific

facts that indicate at the time the alleged [misrepresentations] were made, the defendants had

actual knowledge of contradictory facts”). Malone testified before Congress in May 2007. (Id. ¶

269.) Malone is not alleged to have received information from the Ombudsman contradicting his

representation until 2008. (Id. ¶ 146.) Because “[a] plaintiff cannot charge a defendant with

intentionally misleading investors about facts the defendant may have become aware of after

making an allegedly misleading statement,” the knowledge Malone allegedly gained in 2008

cannot support Plaintiffs’ allegation of scienter as to his 2007 statement. In re Franklin Bank,

782 F. Supp. 2d at 376; see also Plotkin v. IP Axess Inc., 407 F.3d 690, 698 (5th Cir. 2005).

       Misrepresentation 10 relates to BP’s progress in the area of process safety following the

Texas City and Prudhoe Bay incidents. (Compl. ¶ 273.) Plaintiffs only allegation of scienter

relates to Malone’s knowledge of retaliation and does not demonstrate that Malone was aware of

any of BP’s failures to implement adequate safety protocols in the Gulf. Because Plaintiffs have

merely alleged that Malone “served on BP’s executive management team” and, as a result, was

“responsible for the day-to-day running of BP,” their scienter allegations are insufficient to meet




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the heightened pleading standard required under Rule 9(b) and the PSLRA. The Court therefore

dismisses Plaintiffs’ claims with respect to Malone.

                                        i. Dudley

       Dudley is BP’s Group Chief Executive but has only held the position since October 2010.

(Compl. ¶ 44.) He has also served as an executive director since April 2009. (Id.) Plaintiffs

attribute three of the alleged misrepresentations to Dudley.        With respect to the first two

misreprsentations, Plaintiffs allege that Dudley participated in two conference calls with

investors, one in February 2007 and the other in February 2008. (Misrep. Nos. 2 & 14; Compl.

¶¶ 258, 281.) The Court has already determined, above, that statements that were made during

the February 2007 call are not actionable. See supra Section I.D.1.a. With respect to the

conference call in February 2008, Plaintiffs attribute no specific statements to Dudley; instead,

they simply allege that he “participated” in the call. (Compl. ¶ 281.) However, Plaintiffs fail to

explain how Dudley could have participated in this particular call when he did not join BP’s

executive management team until April 2009, over a year after the call took place, and did not

assume his current position of Group Chief Executive until October 2010, over two and a half

years after the call took place and almost five months after the Class Period ended. (Id. ¶ 44.)

Plaintiffs thus fail to adequately attribute this second misrepresentation to Dudley.

       The remaining actionable misrepresentation relates to a speech Dudley gave at the Chief

Executives’ Club in Boston, Massachusetts following the Deepwater Horizon spill. (Misrep. No.

46; Compl. ¶ 355.) During the speech, Dudley allegedly portrayed the Deepwater Horizon’s

safety record in a false light and claimed that the rig underwent regular inspection and testing.

(Id.) As discussed above, Plaintiffs alleged sufficient facts to call into question the truth of this

statement; they fail, however, to adequately allege scienter.



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       Plaintiffs claim that Dudley failed to disclose “problems dating back to the 2005 audit of

the Deepwater Horizon’s BOP,” removal of the second blind shear ram on the BOP, and

intentional delays and postponement of routine inspections of the Deepwater Horizon’s BOP.

(Compl. ¶¶ 356(a)-(e).) The Complaint nominally pleads these facts, but does not explain how

this knowledge is attributable to Dudley. Instead, the Complaint merely states that Dudley was a

“member of BP’s executive management” and, therefore, was “responsible for the day-to-day

running of BP.” (Id. ¶ 44.) Yet Plaintiffs do not allege that Dudley joined BP’s executive

management until April 2009, years after the BOP audit (in 2005) and the removal of the second

blind shear ram (in 2004). (Id. ¶¶ 61, 94.) Plaintiffs’ broad, conclusory allegations as to Dudley,

based solely on his position within BP, are insufficient to meet the heightened pleading standard

enumerated under Rule 9(b) and the PSLRA. See, e.g., Shaw Group, 537 F.3d at 535 (explaining

that pleadings of scienter may not rest on the inference that a defendant must have been aware of

a fraudulent statement based on his position in the company). The Court therefore dismisses

Plaintiffs’ claims with respect to Dudley.

                                        j. Suttles

       Suttles was BP’s Chief Operating Officer for Exploration and Production from January

2009 until at least January 2011” (Compl. ¶ 41.) Plaintiffs have adequately alleged actionable

misrepresentations attributable to Suttles with respect to two post-spill statements presenting

spill estimates lower than the estimates BP actually possessed. (Misrep. Nos. 42–43; Compl. ¶¶

342–344.) Plaintiffs allege scienter with respect to Suttles by claiming that he was in possession

of the two internal BP documents providing different, and higher, spill estimates than those that

Suttles gave to the public. (Id. ¶ 346.) Suttles was “the top BP official co-managing the 45,000-

person spill response with the Coast Guard.” (Doc. No. 220, at 23.) Defendants contend that,



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based on Suttles’ position as head of BP’s spill response team, it is conceivable that he was

unaware of particular estimates at any particular time. (Id.) Plaintiffs argue the opposite: that it

is inconceivable that Suttles, who led BP’s media response effort after the oil spill, would not

have known of “BP’s very own estimates of the flow rate.” (Doc. No. 186, at 36.) Plaintiffs’

argument is more persuasive here. See, e.g., see also Abrams, 291 F.3d at 351–54 (explaining

that a securities fraud complaint may survive where plaintiffs have alleged facts demonstrating

that defendants failed to review or check information that they had a duty to monitor); see also In

re Washington. Mut., Inc., 694 F. Supp. 2d at 1209–1210 (finding a strong inference of scienter

pleaded as to statement about risk management where defendant was responsible for overseeing

risk management).

       Review of the complete transcript of Suttles’ interview on The Early Show, the interview

alleged to contain one of the misrepresentations, suggests that Suttles indeed was aware of the

internal BP documents when he gave the public an estimate of only 1,000 barrels. The relevant

portion of the interview from April 29, 2010, reads as follows:

       MAGGIE RODRIGUEZ: Thank you sir. This morning, we’re learning that the
       leak from the well is five times worse than originally estimated. Yet, we just
       heard you say in our report that you don’t believe this will change the amount
       that’s estimated to be released in to the ocean. I’m not an expert. But how is it
       possible that four thousand additional gallons leaking a day does not change the
       equation?

       DOUG SUTTLES: Well, Maggie. Let me—let—first, as you probably say, just
       like everybody, you know, our—our real focus and what we want to occur is to
       stop this leak as quick as we can. . . . But I should probably explain that on the—
       the difference between one and five thousand barrels a day and—and what we
       tried to explain is that, what we’re seeing through the remote-operated vehicle
       cameras on the floor hasn’t actually changed. . . . We think that the range has
       increased of what the estimate has been. So, I think that somewhere between one
       and five thousand barrels a day is probably the best estimate we have today.

                MAGGIE RODRIGUEZ: It’s a big difference though between one and
       five, isn’t it?

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       DOUG SUTTLES: Well it clearly is. Clearly there’s—there’s a difference
       between one and five. But in terms of our response, it actually doesn’t change.
       Our spill plan actually recognized these amounts and actually what we’re going to
       do out—out in the field, out on the surface of the sea actually doesn’t change
       based on that number.

(Doc. No. 150-30, Ex. Z.) Suttles’s interview suggests that he was indeed aware of BP’s

estimate amounts, even though in his opinion they did not affect BP’s response efforts.

Additionally, Suttles’s responses—all professing a clear knowledge of the estimates and the

rationale behind the estimates—belie Defendant’s suggestion that, as head of BP’s spill response

team, Suttles would be unaware of BP’s own estimates.

       The inference of scienter “need not be irrefutable, i.e., of the ‘smoking-gun’ genre.”

Tellabs, 155 U.S. at 324.     In determining whether the inference of scienter is cogent and

compelling, the Court must consider plausible, nonculpable explanations for the defendant’s

conduct, as well as inferences favoring the plaintiff. Id. BP’s internal document dated April 27,

2010, provided three different estimates for the spill rate: a low of 1,063 barrels per day, a best

estimate of 5,758 barrels per day, and a high estimate of 14,266 barrels per day. (Doc. No. 150-

28, Ex. X.) Even BP’s very first internal estimate, available on April 26, 2010, gave an estimate

of “roughly 5000” barrels per day. (Doc. No. 150-27, Ex. W.) Despite these two documents,

Suttles gave an estimate of 1,000 barrels on April 28, 2010. (Compl. ¶ 342.) On April 29, two

days after the BP document containing the low, best, and high estimates was created, Suttles

provided the public with a “best estimate” of “somewhere between one and five thousand barrels

a day.” (Id. ¶ 344.)

       Defendants argue that Suttles “acknowledged that the flow rate . . . could be 5,000 barrels

a day” and claimed that the difference between a best estimate of 5,000 barrels per day and 5,758

barrels per day is “not material enough.” (Transcript, Doc. No. 305, at 50, lns. 11–12, 25.) The

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Court disagrees, and, further, finds that Plaintiffs have adequately alleged scienter with respect to

Suttles. BP’s share prices began to drop the day after the Deepwater Horizon explosion. On

April 26, share prices fell more than 3%. (Compl. ¶ 340.) On April 27, they fell 5%. (Id.) On

April 29, share prices fell almost 7%. (Id. ¶ 345.) By April 30, shares had fallen another 4%.

(Id. ¶ 350.) Suttles appeared before the press on April 27, April 28, April 29, May 3, and

additional days thereafter.

         Considering the circumstances in toto, the Court finds that the stronger inference is that

Suttles, the representative at the head of BP’s spill response team tasked with interfacing with the

press, was acutely aware of BP’s spill estimates and the market’s reaction to the increasing

uncertainty shrouding the potential for a successful recovery.                       There is no equally strong

competing inference to explain why Suttles repeatedly gave a lower “best estimate” than the

estimates BP itself prepared. Plaintiffs have alleged that Suttles was head of BP’s oil spill

response team and that BP had prepared its own internal estimates that provided a spill range

with a worst-case ceiling of more than double what Suttles announced to the public. Here—

where every passing second affected (and increased) the total damage to the Gulf—Plaintiffs

have alleged facts sufficient to establish that Suttles intended to deceive investors, or was at the

very least reckless, in revealing a much lower spill estimate than BP actually possessed at the

time of Suttles’s public statements.38




38
   The Court is cognizant of the fact that Plaintiffs have included other allegations of scienter with respect to
Defendant Suttles as well, such as Suttles’ early retirement, his communications with EPA Debarment Counsel
Jeanne Pascal, and post-spill findings by the Presidential Commission. (Compl. ¶¶ 41, 133, 217, 245.) Because the
Court finds that the facts discussed above sufficiently support Plaintiffs’ scienter allegations with respect to Suttles,
the Court does not address any additional support the other facts may provide.

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                                 4. Plaintiffs Have Adequately Pleaded Scienter Against the
                                    Corporate Defendants

       Turning to the potential section 10(b) liability of BP itself, the Court can treat as having

been made by BP all the actionable misrepresentations contained in SEC filings, press releases,

and other reports issued in BP’s name because all of the Individual Defendants were executive

officers of the Company whose actions were intended to benefit the Company. See Southland,

365 F.3d at 366. In addition, all misrepresentations attributable to Individual Defendants are also

treated as having been made by BP, as “all of them appear from the face of the Complaint to

have been made pursuant to their positions of authority within the company.” Id. Thus, the

actionable misrepresentations discussed above that are attributable to Hayward and Suttles are

sufficient to give rise to an inference of scienter with respect to BP.

       However, the Court must still determine whether Plaintiffs have adequately alleged

scienter for the remaining corporate statements not attributed to any Individual Defendant. The

unattributed statements appear in BP’s 2006 Sustainability Report (Compl. ¶ 266), BP’s 2009

Sustainability Review (Compl. ¶ 334), portions of BP’s four Annual Reviews published between

2006 and 2009 that are not signed by or connected to any Individual Defendant (Compl. ¶¶ 261,

277–278, 294, 319), and the two press releases issued by BP on April 21, 2010 (Compl. ¶ 337).

The Court has already determined that the statement in the 2006 Sustainability Report is the only

actionable misrepresentation attributed to BP alone.

       In addition, three of the remaining actionable misrepresentations are attributed to non-

defendants; these include the IEP, Regional OSRP, and a presentation given at the Microsoft

Global Energy Forum in 2009. (Compl. ¶¶ 291, 304–06, 314.) The IEP for the Macondo well

identifies a “contact person” named Scherie Douglas of BP Exploration & Production, Inc.

(Doc. No. 150, Ex. DD.) The Regional OSRP lists Dan R. Replogle, “GoM EMS Mgmt

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Representative,” as the “Authority,” Earnest Bush, “Environmental Coordinator,” as the

“Custodian,” and Kristy McNease, “GoM HSSE Document Mgmt Administrator,” as the

“Document Administrator.” (Id., Ex. T.) The February 2009 presentation to the Microsoft

Global Energy Forum was made by Danny Williams, “BP Business Information Manager.” (Id.,

Ex. DD.)

       In order to adequately plead scienter as to a corporate defendant, Plaintiffs must link the

statement to a corporate officer who can be seen as acting on behalf of the corporation in making

the statement. Southland, 365 F.3d at 366 (“A defendant corporation is deemed to have the

requisite scienter for fraud only if the individual corporate officer making the statement has the

requisite level of scienter, i.e., knows that the statement is false, or is at least deliberately

reckless as to its falsity, at the time he or she makes the statement.”). General common law

principles support the logic in circumscribing corporate scienter.          Because “an essentially

subjective state of mind” is an element of a cause of action for fraud, “the required state of mind

must actually exist in the individual making (or being a cause of the making of) the

misrepresentation,” and may not simply be imputed to the corporation on general principles of

agency. Id.; see also Makor Issues & Rights, Ltd. v. Tellabs Inc., 513 F.3d 702, 707 (7th Cir.

2008) (“Tellabs II”) (“The problem with inferring a collective intent to deceive behind the act of

a corporation is that the hierarchical and differentiated corporate structure makes it quite

plausible that a fraud, though ordinarily not a deliberate act, could be the result of a series of acts

none of which was done with scienter and imputable to the company by the doctrine of

respondeat superior.”).

       The Seventh Circuit recently outlined the only way around this dead-end for unattributed

corporate statements, hypothesizing that “it is possible to draw a strong inference of corporate



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scienter without being able to name the individuals who concocted the fraud.” Tellabs II, 513

F.3d at 710. By way of example, the Tellabs II court cited a hypothetical announcement by

General Motors that it had sold one million SUVs in a given year when it had in fact sold zero.

Id.   Subsequent courts to have considered application of this potential roundabout have

underscored that it is narrow indeed. See, e.g., In re Dell Sec. Litig., 591 F. Supp. 2d 877, 899

(W.D. Tex. 2008) (noting that “the situation envisioned by the [Tellabs] court was one where the

false or misleading announcement was so dramatic [it] would have been approved by corporate

officials sufficiently knowledgeable about the company to know that the announcement was

false.”) (citation omitted) (internal quotation marks omitted).

       The only two statements that could possibly surmount Tellab II’s standard are those

contained in the IEP and the Regional OSRP. In examining corporate scienter with respect to

these statements, the “critical question, therefore, is how likely is it that the allegedly false

statements . . . were the result of merely careless mistakes at the management level based on

false information fed it from below, rather than of an intent to deceive or a reckless indifference

to whether the statements were misleading.” 513 F.3d at 709. In this Court’s opinion, it is a

close call indeed. On the one hand, the errors contained in the IEP and the Regional OSRP are

glaring and egregious. The Regional OSRP estimated the worst case discharge scenario for a

spill in the Gulf at between 28,033 barrels of oil per day up to 250,000 barrels per day. (Compl.

¶ 156.) The IEP estimated the worst case scenario of a spill occurring in the Mississippi Canyon

Block 252 specifically at 162,000 barrels per day. (Id. ¶ 158.) The Regional OSRP explicitly

stated that BP and its contractors could recover approximately 491,721 barrels of oil per day, or

more than 20.6 million gallons. (Id. ¶ 156.)




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       The difference between what BP was actually able to recover and what it claimed it could

recover is so great that the projected numbers in the IEP and the Regional OSRP appeared to

have been invented out of thin air. Over the course of the spill, over four million barrels of oil,

or more than 206 million gallons, spilled into the Gulf at a rate of about 60,000 barrels per day.

(Id. ¶ 5.) By June 18, 2010, forty-nine days after the explosion, BP’s recovery operation was

collecting only 15,000 barrels of oil per day. (Id. ¶ 243.) Despite BP’s claims that it could

recover nearly 500,000 barrels of oil per day, its “oil-spill removal organizations were quickly

outmatched,” even though the actual spill amount was almost a third less than what BP predicted

as a worst case scenario for the Mississippi Canyon Block and eight times less than what BP said

it could recover in the Gulf. (Id. ¶ 218.) In Tellabs II, the Seventh Circuit contemplated a ratio

of one million to zero as an example of a falsity so egregious as to give rise to sicenter even for

an unattributed corporate statement. 513 F.3d at 710. Here, BP claimed it could recover

491,721 barrels of oil per day when it could recover only 15,000. Taking into consideration the

added gravity of the fact that the numbers here refer to barrels of oil being spilled into an ocean

as opposed to SUV production (the hypothetical in Tellabs II), the erroneous estimates climb

very close to—if not exceed—the extraordinary nature of the facts envisioned by the Seventh

Circuit.

       Further, additional errors in the Regional OSRP exacerbate the misrepresentation. The

Presidential Commission found that the Regional OSRP “evidenced [a] serious [lack] of

attention to detail.”   (Compl. ¶ 219.)    For example, “half of the ‘Resource Identification’

appendix (five pages) . . . was copied from material on NOAA [National Oceanic and

Atmospheric Administration] websites, without any discernable effort to determine the

applicability of that information to the Gulf of Mexico.” (Compl. ¶ 220; Doc. No. 150, Ex. R.)



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The Regional OSRP also designated as a wildlife expert a professor who had died several years

before BP prepared its plan. (Compl. ¶ 221.) Perhaps most absurdly, the Regional OSRP laid

out concerns for “biological resources nonexistent in the Gulf—including sea lions, sea otters,

and walruses.” The farcicality of such glaring errors in sections of the Regional OSRP, sections

which the Presidential Commission determined had been cut and paste from nearly identical

plans prepared for other oil companies, sufficiently support an allegation of reckless indifference.

(Doc. No. 150, Ex. R, at 84.) The invented estimates and inapplicable paragraphs weigh in favor

of an adequate pleading of reckless indifference as such blatant errors seem to reflect BP’s utter

disregard for the potential magnitude of the damage an uncontainable spill could cause—and did

cause—in the Gulf of Mexico.

       On the other hand, both the IEP and the Regional OSRP name specific individuals

ostensibly charged with creation, or at least management and distribution, of the two documents.

The Regional OSRP lists the titles of three non-defendant individuals. These three individuals—

a “Gulf of Mexico EMS Management Representative,” an “Environmental Coordinator,” and a

“Gulf of Mexico HSSE Document Management Administrator”—likely occupied fairly low

positions on BP’s corporate totem pole. This could support a conclusion that the glaring errors

were merely careless mistakes.      At the very least, it raises a question as to whether the

individuals with direct control over the misrepresentations in the IEP and the Regional OSRP

occupied positions that would allow this Court to impute scienter to BP. Corporate documents

that have no stated author or statements within documents not attributed to any individual may

only be charged to a corporate officer, thereby imputing scienter as to the corporation itself,

where there are specific factual allegations linking the individual to the statement. Southland,

365 F.3d at 365. However, even Southland allows unattributed corporate documents to be



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attributed to a corporation where the statements were “made by its authorized officers to further

the interests of the corporation.” Id. It is unclear whether these individuals would have qualified

as “authorized officers” for purposes of corporate scienter analysis.

         Nonetheless, application of corporate scienter is appropriate here. The errors in the IEP

and the Regional OSRP are so egregious as to rise to the level of extraordinary and dramatic

falsity contemplated by the Seventh Circuit in Tellabs II. These statements, presented to the

MMS and the public as realistic projections for BP’s ability to contain a spill in the Gulf, were so

far from the truth as to support a finding of reckless indifference. Plaintiffs have therefore

adequately alleged corporate scienter with respect to the misrepresentations contained in the IEP

and the Regional OSRP. Plaintiffs have not adequately alleged corporate scienter with respect to

the remaining two unattributed misrepresentations—those contained in the 2006 Sustainability

Report and the Microsoft Global Energy Forum presentation—which do not rise to the level of

falsity contemplated under Tellabs II.39

                                    5. The Complaint Adequately Pleads a § 20(a) Claim

         Section 20(a) of the Exchange Act makes those who control others who violate section

10(b) jointly and severally liable “unless the controlling person acted in good faith and did not

directly or indirectly induce the act or acts constituting the violation or cause of action.” 15

U.S.C. § 78t(a). Thus, to prove a violation of section 20(a), a plaintiff must first prove an

underlying securities fraud violation and prove that the controlling person had actual power over

the controlled person and induced or participated in the alleged violation. Dennis v. General

Imaging, Inc., 918 F.2d 496, 509 (5th Cir. 1990). The Individual Defendants move to dismiss

Plaintiffs’ section 20(a) claim, arguing that Plaintiffs have failed to plead a primary violation


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  By the Court’s numbering system, these are statements contained in Misrepresentations 6 (Compl. ¶ 266) and 19
(Compl. ¶ 291).

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under section 10(b). Section 20(a) claims are subject only to the pleading requirements of Rule

8, not the heightened requirements of Rule 9(b); therefore, to adequately state a claim under

section 20(a), Plaintiffs need only provide the defendant fair notice of the claim and the basis of

the allegations. Abbott v. Equity Group, Inc., 2 F.3d 613, 620 (5th Cir. 1993). Plaintiffs have

adequately pleaded a violation of section 10(b) only with respect to Individual Defendants

Hayward and Suttles. See supra Section I.D.4.vii, x.

       Under the control person doctrine, even corporate officers who did not personally make a

representation or play a significant role in the preparation of a misrepresentation may still be

liable under section 20(a). See In re Enron, 235 F. Supp. 2d at 594–96. However, a plaintiff

must plead facts indicating that defendants not directly involved in the making of actionable

misrepresentations nonetheless “had the requisite power to directly or indirectly control or

influence corporate policy.” G.A. Thompson & Co., 636 F.2d 945, 958 (5th Cir. 1981). Such a

showing can be made by pointing to day-to-day control of a company’s operations, knowledge of

the underlying primary violation by the controlled person, or facts showing the defendant had the

requisite power to influence corporate policies. Id. Here Plaintiffs have alleged that all of the

Individual Defendants participated in the day-to-day operations of the Company, but they have

pointed to no specific knowledge or facts demonstrating such control. As a result, Plaintiffs have

not pleaded the requisite factual basis for their claim that McKay, Grote, Conn, Browne, Rainey,

Inglis, Malone, and Dudley controlled Hayward, Suttles or BP, or that they otherwise

participated in an alleged violation.

       The Court therefore GRANTS the motion to dismiss with respect to Individual

Defendants McKay, Conn, Grote, Browne, Inglis, Dudley, Malone, and Rainey and DENIES the

motions of Hayward and Suttles (Doc. No. 149).



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          II.    DEFENDANTS’ MOTION TO DISMISS THE CLAIMS OF BP
                 ORDINARY SHARE PURCHASERS IS GRANTED

                 A. The Allegations

          The factual allegations, including the misrepresentations alleged in the Complaint, have

been described in detail above. Plaintiffs’ proposed class includes both ADS Purchasers and

Ordinary Share Purchasers. The Ordinary Share Purchasers advance New York common law

and English common law claims, in addition to their section 10(b) claims. The ADS Purchasers

bought BP ADSs on the NYSE. The Ordinary Share Purchasers, a group comprised of U.S.

investors, bought ordinary shares on the London Stock Exchange (“LSE”). Defendants contend

that the difference in the location of the purchase requires this Court, before moving into the

substance of the Ordinary Share Purchasers’ section 10(b) claims, to consider preliminarily

whether the Ordinary Share Purchasers can bring Exchange Act claims at all in light of the

Supreme Court’s recent decision in Morrison v. National Australia Bank Ltd., 130 S.Ct. 2869

(2010).

          In addition to their argument that Morrison requires dismissal of the Ordinary Share

Purchasers’ Exchange Act claims, Defendants contend that non-Exchange Act claims asserted

under New York common law and English law should also be dismissed. Defendants argue that

the Securities Litigation Uniform Standards Act precludes both Plaintiffs’ New York common

law and English law claims. Defendants further contend that the Court should decline

supplemental jurisdiction over Plaintiffs’ English law claims or, in the alternative, dismiss on

forum non conveniens grounds.




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               B. Legal Standard

                       1. Review of State Common Law Claims

                              i. SLUSA

        The Securities Litigation Uniform Standards Act of 1998 (“SLUSA”) provides that “no

covered class action based upon the statutory or common law of any State or subdivision thereof

may be maintained in any State or Federal court by any private party alleging”: (a) a

misrepresentation or omission of a material fact in connection with the purchase or sale of a

covered security; or (b) that the defendant used or employed any manipulative or deceptive

device or contrivance in connection with the purchase or sale of a covered security. 15 U.S.C. §

78 bb(f)(1). The term “covered class action” refers to “any single lawsuit” or “any group of

lawsuits” meeting certain statutory definitions. 15 U.S.C. § 78bb(f)(5)(B)(i)(III). The term

“covered securities” includes securities “listed, or authorized for listing, on the New York Stock

Exchange.” 15 U.S.C. § 77r(b)(1)(A).

                              ii. CAFA

        Under the Class Action Fairness Act (“CAFA”), a court has diversity jurisdiction over

class action claims arising under foreign law where (1) the class exceeds one hundred members,

(2) the amount in controversy exceeds $5 million, and (3) there is minimal diversity. 28 U.S.C. §

1332(d)(2). CAFA does not apply to claims solely involving “covered securities.” Id. at §

1332(d)(9). “Covered securities include securities “listed, or authorized for listing, on the New

York Stock Exchange.” 15 U.S.C. § 77r(b)(1)(A).

                       2. Supplemental Jurisdiction

        Supplemental jurisdiction under 28 U.S.C. § 1367 may provide an alternative basis for

jurisdiction over foreign law claims. “[I]n any civil action of which the district courts have



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original jurisdiction,” the statute provides a district court with supplemental jurisdiction “over all

other claims that are so related to claims in the action within such original jursidction that they

form part of the same case or controversy under Article III of the United States Constitution.” 28

U.S.C. § 1367(a). The statute also permits district courts to decline to exercise supplemental

jurisdiction where: (1) the claim raises a novel or complex issue of State law, (2) the claim

substantially predominates over the claim or claims over which the district court has original

jurisdiction, (3) the district court has dismissed all claims over which it has original jurisdiction,

or (4) in exceptional circumstances, there are other compelling reasons for declining jurisdiction.

28 U.S.C. § 1367(c)(1)-(3).

               C. Analysis

       Defendants make three arguments in support of their motion to dismiss the claims

brought by the Ordinary Share Purchasers.          First, Defendants claim the Supreme Court’s

decision in Morrison v. Nat’l Australia Bank requires dismissal of Exchange Act claims brought

by holders of ordinary shares purchased on a foreign exchange. Second, Defendants contend that

SLUSA precludes Plaintiffs’ New York common law and English law claims. Third, Defendants

urge this Court to decline supplemental jurisdiction over Plaintiffs’ English common law claims

or, in the alternative, dismiss the English law claims on forum non conveniens grounds.

                       1. The Supreme Court’s Decision in Morrison Requires Dismissal of
                          the § 10(b) Claims

       By its plain language, section 10(b) of the Exchange Act prohibits securities fraud only

where it occurs “in connection with the purchase or sale of a security listed on an American

stock exchange or any security not so registered.” 15 U.S.C. § 78j. In Morrison, the Supreme

Court interpreted this language and determined that section 10(b) does not provide a cause of

action for “f-cubed” claims, that is, claims where foreign plaintiffs sue foreign defendants for

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misconduct in connection with securities traded on foreign exchanges.         Morrison v. Nat’l

Australia Bank Ltd., 130 S.Ct. 2869, 2888 (2010). Promoting the “primacy of the domestic

exchange,” the Morrison Court curtailed section 10(b)’s extraterritorial reach, limiting it to

“domestic transactions.”     Id. at 2884.     Subsequent courts interpreting the decision have

characterized the Supreme Court’s decision as one that “roundly (and derisively) buried the

venerable ‘conduct or effect’ test” previously devised by the Second Circuit and used by courts

nationwide to determine whether section 10(b) protections apply extraterritorially. Id. at 2879

(explaining that the Second Circuit had previously “established that application of § 10(b) could

be premised upon either some effect on American securities markets or investors . . . or

significant conduct in the United States”).

       Plaintiffs contend that Morrison does not prevent the Ordinary Share Purchasers from

maintaining their claims. They are incorrect. The Ordinary Share Purchasers’ section 10(b)

claims fall squarely into the category of claims that Morrison seeks to curtail. BP ordinary

shares trade only on the LSE. (Doc. No. 175, at 2.) The shares are registered on the NYSE, but,

as Plaintiffs concede, the shares never traded on a U.S. exchange and were listed on the NYSE

solely to comply with SEC requirements governing BP’s ADS program. (Id.) Because the

ordinary shares traded only on the LSE, Plaintiffs cannot point to the “domestic transaction,”

which must include a “domestic purchase or sale,” required for section 10(b) liability following

Morrison.

       Plaintiffs advance two arguments in an attempt to point to a “domestic transaction.”

Plaintiffs’ first argument hinges on the residency of the investors and the locus of the purchase

decision. Plaintiffs highlight that many of the investors in the NY/OH Plaintiff class, including

those who purchased BP ordinary shares, are U.S. residents. (Id., at 5.) In addition to the



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residency of the purchasers linking the shares to the United States, Plaintiffs claim that several

“pivotal aspects of the purchases”—including the initial purchase decision—were made in the

United States. (Id. at 6.) Plaintiffs’ second argument grasps at a technicality that Plaintiffs

believe works in their favor: the LSE rules allow trades to occur directly through third-party,

U.S.-based market makers. (Id., at 8.) Plaintiffs believe this raises an issue as to whether such a

trade occurs “physically” in the United States or in England. Plaintiffs’ arguments have already

been rejected by other courts, and there is no justification for a different outcome here.

         Plaintiffs first attempt to distinguish this case based on the citizenship of the investors

involved. But even Justice Stevens, who disagreed with the Morrison majority’s complete

trouncing of the Second Circuit’s conduct and effects test, acknowledged that the addition of a

U.S. investor to the Morrison scenario would be insufficient to create liability under section

10(b).40 In applying Morrison, a majority of district courts have found the citizenship of the

investors involved or mere “listing” on the NYSE insufficient reasons to extend section 10(b)

liability. See, e.g., Cornwell v. Credit Suisse Group, 729 F. Supp. 2d 620, 623–24 (S.D.N.Y.

2010) (holding that section 10(b) does not extend to foreign securities traded on foreign

exchanges even if purchased or sold by U.S. investors and even if the foreign issuer had ADRs

listed on U.S. exchanges); In re Alstom SA Sec. Litig., 741 F. Supp. 2d 469, 472–73 (S.D.N.Y.

2010) (holding that Morrison precludes securities claims brought by U.S. investors who purchase

securities on a foreign exchange, even where those securities are also “listed on” a U.S.

exchange); In re Infineon Techs. AG Sec. Litig., No. C 04-04156 JW, 2011 WL 7121006, at 3

(N.D. Cal. Mar. 17, 2011) (finding that “f-squared” claims are precluded by Morrison because

40
  “Imagine, for example, an American investor who buys shares in a company listed only on an overseas exchange.
That company has a major American subsidiary with executives based in New York City; and it was in New York
City that the executives masterminded and implemented a massive deception which artificially inflated the stock
price—and which will, upon its disclosure, cause the price to plummet. . . . [This] investor would, under the Court’s
new test, be barred from seeking relief under § 10(b).” Morrison, 130 S.Ct. at 2894 (Stevens, concurring).

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the location of the exchange where the purchase is made, not factors like the location or

citizenship of the purchaser, is the only relevant consideration).41

         Plaintiffs’ second, more novel argument hinges on the trading rules governing the LSE.

Plaintiffs explain that “ordinary shares can be purchased directly from a third-party market

maker over an electronic communications network that could result in matching U.S. purchasers

and sellers, or internally within a broker-dealer from its own inventory.” (Doc. No. 175, at 8.)

Thus, Plaintiffs dispute that that the physical locus of the trade is necessarily London, even if

ordinary shares only trade on the LSE. As Defendants correctly point out, courts have refused to

adopt as technical a reading as Plaintiffs would require for their section 10(b) claim to survive

Morrison. See, e.g., Plumbers’ Union Local No. 12 Pension Fund v. Swiss Reinsurance Co., 753

F. Supp. 2d 166, 177–78 (S.D.N.Y. 2010) (deeming shares to be purchased on a foreign

exchange even where the initial purchase orders were placed by brokers in Chicago and

reasoning that, for Morrison purposes, a purchase does not per force occur where the order has

been placed); Stackhouse v. Toyota Motor Co., 2010 WL 3377409, at *1 (C.D. Cal. July 16,

2010) (“‘[D]omestic transactions’ or ‘purchase[s] or sale[s] … in the United States’ means

purchases and sales of securities explicitly solicited by the issuer within the U.S. rather than

transactions in foreign-traded securities where the ultimate purchaser or seller has physically

remained in the U.S.”); In re Vivendi Universal, S.A. Sec. Litig., 765 F. Supp. 2d 512, 530

(S.D.N.Y. 2011) (finding that “foreign-cubed” transactions cannot survive Morrison where

ordinary shares are listed but not traded on a domestic exchange as a result of a foreign issuer’s

ADR program because such a technical argument runs “contrary to the spirit of Morrison”);

Cascade Fund, LLP v. Absolute Capital Mgmt. Holdings Ltd., No. 08-cv-01381, 2011 WL


41
  In connection with the motion to consolidate, even the Ludlow Plaintiffs argued that BP ordinary shares are not
covered by U.S. securities laws post-Morrison.

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1211511, at *6 (D. Col. Mar. 31, 2011) (finding unpersuasive “the proposition that a domestic

investor’s purchase of foreign stocks on foreign exchanges are nevertheless ‘domestic

transactions’ subject to § 10(b) if the issuer solicited the investments in the United States,”

“particularly where Morrison makes no mention whatsoever of the significance of the place of

solicitation.”). The most recent decision on this issue is directly on point, holding that claims

asserted by U.S. investors who purchased UBS stock on a foreign exchange were barred, even

though the orders were placed from the United States. In re UBS Sec. Litig., No. 07-cv-

11225(RJS), 2011 WL 4059356, at *5 (S.D.N.Y. Sept. 13, 2011) (rejecting “Plaintiffs’ hyper-

technical parsing of the opinion and find[ing], consistent with the overwhelming majority of

other courts to have addressed the issue, that foreign-cubed claims asserted against issuers whose

securities are crosslisted on an American exchange are outside the scope of § 10(b).”).

         As one court recently explained, “the conduct and effect analysis as applied to § 10(b)

extraterritoriality disputes is now dead letter. Plaintiffs’ cosmetic touch-ups will not give the

corpse new life.” Cornwell v. Credit Suisse Group, 729 F. Supp. 2d 620, 622 (S.D.N.Y. 2010).

Following Morrison out to its logical conclusion requires us to adopt the reasoning of the other

district courts to have considered this issue.42 Plaintiffs would exclude from operation of the

Morrison standard securities traded on exchanges abroad if the purchase or sale involves a U.S.

investor or if some aspect of the foreign transactions occurs in the United States. But the

42
   During oral argument, Plaintiffs urged the Court to find that all subsequent decisions interpreting Morrison were
simply wrong. The Court cannot discount the jurisprudence of the Second Circuit—a circuit with extensive
securities experience—so easily. However, the Court is cognizant of the potential for legislative action on the
horizon. Enacted last year, the Dodd-Frank Wall Street Reform and Consumer Protection Act (Dodd-Frank)
directed the SEC to conduct a study and issue recommendations to Congress as to whether private rights of action
under section 10(b) should be extended to “conduct within the United States that constitutes a significant step in the
furtherance of the violation, even if the securities transaction occurs outside the United States and involves only
foreign investors.” Dodd-Frank § 929Y. The period for comments has already closed, and the SEC is due to submit
its report to Congress in early 2012. Although there is the possibility of legislative action directly addressing this
subject, a number of contingencies prevent the Court from delaying this case to await such a possibility. Not only is
the speed of any such action impossible to predict, but the Court is not aware that such action—even if it were to
benefit similarly situated plaintiffs—would be retroactive.

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Morrison standard, “promulgated to govern the application of § 10(b) in transnational securities

purchases and sales[,] does not leave open any of the back doors, loopholes or wiggle room to

accommodate the distinctions Plaintiffs urge to overcome the decisive force of that ruling on

their § 10(b) claims here.” Cornwell, 729 F. Supp. 2d at 622–23.

       The arguments Plaintiffs advance here “simply amount to a restoration of the core

element of the effect test.” Id. at 624. Similarly, carving out an exception for the purchase of

securities on the LSE because some acts that ultimately result in the execution of a transaction

abroad take place in the United States would be to reinstate the conduct test. Id. Post Morrison,

the only relevant inquiry is where the transaction occurred, i.e., whether it was a “domestic

transaction.” 130 S.Ct. at 2884. Regardless of their U.S. residency and the LSE trading rules,

the Ordinary Share Purchasers bought BP ordinary shares on the LSE, the only exchange where

BP ordinary shares trade. Because Plaintiffs cannot point to a domestic transaction involving BP

ordinary shares, the Court must dismiss the section 10(b) claims brought by the BP Ordinary

Shareholders in the NY/OH Plaintiff class.

                       2. SLUSA Precludes Plaintiffs’ New York Common Law Claims

       In addition to their section 10(b) claims, Plaintiffs assert common law fraud claims under

New York law. (Compl. ¶ 399–406.) BP argues that SLUSA bars these claims. SLUSA

precludes a securities action if: (1) the action is a “covered class action”; (2) the claims are based

on state law; (3) the action involves one or more “covered securities”; and (4) the claims allege a

misrepresentation or omission of a material fact “in connection with the purchase or sale” of a

security. 15 U.S.C. § 78bb(f)(1). The parties do not dispute that Plaintiffs’ New York common

law claims involve a “covered class action” and state law claims. However, the parties do

disagree as to whether the action involves “covered securities” and whether the alleged



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misrepresentations and omissions were made “in connection with” the purchase or sale of

securities.

                              i. BP ordinary shares qualify as “covered securities”

        Defendants argue that BP ordinary shares fall within the definition of “covered

securities” under SLUSA and that Plaintiffs’ New York law claims are, therefore, precluded.

Plaintiffs dispute this, arguing that Defendants are attempting to “have it both ways” by arguing

that BP ordinary shares are not a “domestic transaction” under Morrison while simultaneously

arguing that the same shares are “covered securities” for SLUSA purposes. (Doc. No. 175, at

10.) Plaintiffs contend that the definition of “covered securities” under SLUSA requires shares

to be registered or listed and traded on a U.S. exchange since mere listing is insufficient for

section 10(b) liability post-Morrison.     (Id.)     In sum, Plaintiffs argue that the “trading

requirement” of Morrison must be applied in the SLUSA context. (Id.)

        The definition of “covered securities” under SLUSA is straightforward; it includes

securities “listed, or authorized for listing, on the New York Stock Exchange.” 15 U.S.C. §

77r(b)(1)(A). In the Complaint, Plaintiffs state explicitly that BP ordinary shares are listed on

the NYSE. (Compl. ¶ 33.) Indeed, Plaintiffs rely on this fact to counter Defendants’ argument

for dismissal under Morrison. (Doc. No. 175, at 4.) Despite this clear definition, Plaintiffs urge

the Court to look to the subsection heading of the statute, which refers to the “Exclusive Federal

regulation of nationally traded securities.” 15 U.S.C. § 77r(b)(1). Plaintiffs claim the inclusion

of “trading” in the heading implies a trading requirement for qualification as a “covered

security,” even though the definition portion of the statute, which follows, makes no reference to

trading. (Doc. No. 175, at 10.) Plaintiffs’ reliance on the heading of the SLUSA subsection is

misplaced. See, e.g., Penn. Dep’t of Corr. V. Yeskey, 524 U.S. 206, 212 (1998) (“[T]he title of a



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statute . . . cannot limit the plain meaning of the text” and is “of use only when [it] shed[s] light

on some ambiguous word or phrase.”); see also United States v. Hoang, 636 F.3d 677, 681 (5th

Cir. 2011) (finding reference to a subtitle “unnecessary and inappropriate” where there was no

ambiguity in the subsection).

       In addition, other courts to have considered the issue have refused to read a trading

requirement into the definition of “covered securities” where the plain language of the statue is

clear. See, e.g., In re Toyota Motor Corp., 2011 WL 2675395 at *6 (refusing to exercise

jurisdiction over plaintiffs’ Japanese law claims where Toyota’s common shares were listed on

the NYSE and therefore were “covered securities” ); In re Metro Sec. Litig., 532 F. Supp. 2d

1260, 1298–99 (E.D. Wash. 2007) (“The plain language of SLUSA illustrates that a security

need not actually be traded on a national scale in order to be considered a covered security.”).

Plaintiffs’ New York common law claims meet the third element of the SLUSA preclusion test

as the ordinary shares at issue are clearly “covered securities” for purposes of SLUSA.

                                ii. The “in connection with” requirement is satisfied

       Plaintiffs further argue that SLUSA does not preclude their New York common law

claims because such claims are not made “in connection with” the purchase or sale of covered

securities. In support of this argument, Plaintiffs contend that their non-Exchange Act claims are

“separate and distinct” from violations in connection with the ADSs (Doc. No. 175, at 11.)

Because the Court has decided, above, that the BP ordinary shares are covered securities for

purposes of SLUSA, the allegations Plaintiffs advance in their Complaint (all of which are

pleaded identically on behalf of both the ADS Purchasers and the Ordinary Share Purchasers) are

clearly in connection with the purchase of BP ordinary shares. Therefore, the Court need not

decide whether conduct “in connection with” the BP ADSs alone, which both parties concede are



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covered securities, creates a link between the ADSs and the ordinary shares sufficient to preclude

the latter under SLUSA. Because the BP ordinary shares themselves are “covered securities,”

Plaintiffs’ New York common law claims, founded on allegations of misrepresentations and

omissions advanced in connection with the ordinary shares, are precluded under SLUSA.

                      3. Plaintiffs’ English Law Claims Must Also Be Dismissed

       Plaintiffs have raised several claims under English law, including claims for alleged

violations of the Financial Services and Markets Act of 2006, common law fraud, and negligent

misrepresentation and misstatement. See Compl. ¶¶ 404–19 (Claims Three, Four, and Five).

Defendants argue that Plaintiffs’ English law claims must be dismissed for lack of jurisdiction or

on forum non conveniens grounds.

                              i. The Court does not have original jurisdiction over the
                                 English law claims

       Plaintiffs assert that this Court has original jurisdiction over their English law claims

pursuant to CAFA. Under CAFA, a court has diversity jurisdiction over class action claims

arising under foreign law where (1) the class exceeds one hundred members, (2) the amount in

controversy exceeds $5 million, and (3) there is minimal diversity. 28 U.S.C. § 1332(d)(2).

CAFA does not apply to claims involving solely “covered securities.” Id. at § (d)(9). CAFA

looks to the same definition as SLUSA for the meaning of the phrase “covered securities”;

“covered securities” thus include securities “listed, or authorized for listing, on the New York

Stock Exchange.” 15 U.S.C. § 77r(b)(1)(A).

       Because CAFA and SLUSA look to the same definition of “covered securities,” the

Court’s analysis with respect to CAFA tracks its SLUSA analysis above.            Plaintiffs have

conceded that the BP ordinary shares at issue are listed on the NYSE. Yet, once again, Plaintiffs

contend that BP ordinary shares are not “covered securities” for purposes of CAFA because they

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are only “listed” on the NYSE, not traded. Courts have refused to read a trading requirement

into the definition of “covered securities.” See, e.g., In re Toyota Motor Corp., 2001 WL

2675395 at *6 (refusing to exercise jurisdiction over plaintiffs’ Japanese law claims where

Toyota’s common shares were listed on the NYSE and therefore were covered securities under

CAFA). Just as they were “covered securities” for purposes of SLUSA, BP ordinary shares are

“covered securities” under CAFA.         Therefore, this Court lacks original jurisdiction over

Plaintiffs’ English law claims.

                               ii. The Court may not exercise supplemental jurisdiction
                                   where it lacks jurisdiction over Plaintiffs’ securities fraud
                                   claims

       Plaintiffs also urge the Court to exercise supplemental jurisdiction over their English law

claims. A district court may exercise supplemental jurisdiction where foreign law claims form

part of the same case or controversy and arise from a common nucleus of operative facts. See 28

U.S.C. § 1367(c). A court may decline to exercise supplemental jurisdiction over a claim if: (1)

the claim raises novel issues of state law; (2) the claim substantially predominates over claims as

to which the district court has original jurisdiction; (3) the district court has dismissed all claims

as to which it has original jurisdiction; or (4) exceptional circumstances or other compelling

reasons exist for declining jurisdiction. Id. Because this Court does not have jurisdiction over

the Ordinary Share Purchasers’ section 10(b) claims, the Court cannot exercise supplemental

jurisdiction over Plaintiffs’ English law claims.

       III.    CONCLUSION

       It is ordered that Defendants’ Motion to Dismiss the ADS Purchasers in the NY/OH

Plaintiff class (Doc. No. 149) is PARTIALLY GRANTED to the extent that the Court

dismisses claims against Individual Defendants H. Lamar McKay, Iain Conn, Bryon Grote, Lord



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Edmund John Philip Browne, David Rainey, Andrew G. Inglis, Robert Dudley, and Robert

Malone. The motion is also PARTIALLY DENIED: the Court finds that Plaintiffs have

adequately pleaded section 10(b) violations by Defendants BP plc, BP America, BP Exploration

& Production, Anthony Hayward and Douglas Suttles, and adequately pleaded control person

liability pursuant to section 20(a) with respect to defendants Hayward and Suttles. It is further

ordered that Defendants’ Motion to Dismiss the Ordinary Share Purchasers (Doc. No. 153) is

GRANTED.

       IT IS SO ORDERED.

       SIGNED at Houston, Texas, on this the 13th day of February, 2012.




                                     KEITH P. ELLISON
                                     UNITED STATES DISTRICT JUDGE




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